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                                         EXHIBIT A

                                   Form of Approval Order




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                             THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                   ) Chapter 11
                                             )
                              1
    W. R. GRACE & CO., et al.,               ) Case No. 01-01139 (AMC)
                                             ) (Jointly Administered)
                     Reorganized Debtor.     )
                                             ) Re docket nos. 929655, 929657, & 33305
                                             )
       ORDER APPROVING SETTLEMENT AGREEMENT RESOLVING STATE OF
       MONTANA’S CLAIM FOR OPERATING UNIT 3 OF THE LIBBY ASBESTOS
                                  SUPERFUND SITE

             Upon consideration of the Reorganized Debtor’s Motion to Approve Settlement

Agreement Resolving State of Montana’s Claim for Operating Unit 3 of the Libby Asbestos

Superfund Site (the “Motion”); it appearing that the relief requested is in the best interests of the

Reorganized Debtor, its estates, its creditors, and other parties-in-interest; the State of Montana

having had a sufficient period of time to conduct a 30-day public comment period, and having

provided any public comments received and responses to the Court; based upon information that

the Reorganized Debtor and the State have provided, the Court having determined that the

settlement is fair, adequate, reasonable, and consistent with the goals of the Comprehensive

Environmental Response, Compensation and Liability Act, as amended, 42 U.S.C. § 9601 et seq.

and the Montana Comprehensive Environmental Cleanup and Responsibility Act, Montana Code

Annotated (“MCA”) § 75-10-701 et seq.; the Court having jurisdiction to consider the Motion and

the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing




1
      W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor
      and Case No. 01-1139 is the sole remaining open chapter 11 case.



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Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; consideration of the Motion and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b), and considering that this Court may enter an order

consistent with Article III of the United States Constitution; venue being proper before the Court

pursuant to 28 U.S.C. §§ 1408 and 1409; notice of the Motion having been adequate and

appropriate under the circumstances; and after due deliberation and sufficient cause appearing

therefor, it is hereby ORDERED that:2

1.         The Motion is granted in its entirety.

2.         The Settlement Agreement, a true and correct copy of which is attached as the Exhibit to

           this Order (the “Settlement Agreement”), is approved in its entirety.

3.         The Reorganized Debtor is authorized to enter into, and take all actions contemplated in,

           the Settlement Agreement on the terms and conditions set forth therein.

4.         The Reorganized Debtor’s Request for Partial Allowance and Partial Disallowance of the

           Claim by the Montana Dept. of Env. Quality (“MDEQ”) for Environmental Remediation

           at Operable Unit 3 of the Libby Asbestos Superfund Site (Substantive Objection), the

           State’s Response and Reservation of Rights of the State of Montana to the Reorganized

           Debtor’s Request for Partial Allowance and Partial Disallowance of the Claim by the

           Montana Dept. of Env. Quality for Environmental Remediation at Operable Unit 3 of the

           Libby Asbestos Superfund Site (Substantive Objection) [Docket No. 33102], and the

           Reorganized Debtor’s Reply in Support of the Reorganized Debtor’s Claim Objection




2
     Capitalized terms not defined in this order shall have the meaning ascribed to them in the Settlement Agreement.


                                                          2
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           Requesting Partial Allowance and Partial Disallowance of MDEQ Prepetition Claim

           (Substantive Objection) [Docket No. 33110] are dismissed as moot.

5.         The mediation scheduled in the Stipulation and Agreed Order re Mediation of Contested

           Matter re Claim No. 18496-1 [Docket No. 33124], as supplemented by the Joint Stipulation

           and Agreed Order Selecting Mediator in Contested Matter re Claim No. 18496-1 [Docket

           No. 33126], and as amended by the Amendment to the Stipulation and Agreed Order re

           Mediation of Contested Matter re Claim No. 18496-1 [Docket No. 33144], has been

           completed.

6.         The Reorganized Debtor shall direct its claims agent Rust Consulting, Inc. to record: (i)

           the Allowed State Claim as an allowed, non-contingent, and liquidated claim on the terms

           and conditions set forth in the Settlement Agreement; and (ii) the State Claim (Claim No.

           18496-1) as disallowed in all other respects and expunged.

7.         Notice of the Motion as provided therein shall be deemed good and sufficient notice of

           such motion and the requirements of Fed. R. Bankr. P. 6004(a) and the local rules of the

           Court are satisfied by such notice.

8.         The Court shall retain jurisdiction to hear and determine all matters arising from or relating

           to the implementation of this Order.

9.         This Order shall be effective and enforceable immediately upon entry and its provisions

           shall be self-executing and shall not be stayed under, as the case may be, Fed. R. Bankr. P.

           7062, Fed. R. Bankr. P. 6004(h), Fed. R. Bankr. P. 9014, or otherwise.




                                                     3
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10.        In the event of any conflict between the terms of this Order, the Motion, or the Settlement

           Agreement, the Settlement Agreement shall govern.

 Dated: ____________, 2023



                                                 _________________________________________
                                                 Honorable Ashely M. Chan
                                                 United States Bankruptcy Judge




                                                    4
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                                    EXHIBIT TO ORDER

                                   Settlement Agreement




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            Maria~er~ieiit Corporation, GN f Iolc~irz~s, 3ne;, GPC 'I'l~azn~st~sll~ Ccit'p.=
            CTlt~tzcester Ne~~ Cc~trimunitie~ ~ot~~~any, Int;., G~•~e~ A-~3 Itxc:, Grace A-B II
            IIIG.a Gi-~c~ GEtemacal Ccii~~p4iriy ~f Cufaa, Grace culinary Syste~iis; Inc., G~•ace
            Drilliz~~ C~za7p~riy; Circe En~r~y ~~~pnratian, Glace E~iv rc~nn~ental, Inc.,
            Grace ~;uro~e, Inc., Grace ~-i-G Ins., Grace H-Ci lI Iz~c,, Gz•ac~ ~c~tel Se~vie~s
            Cor~~r~tion, brace Intej-~~at anal Hc~ic3ings, Inc: (f/k0a Dcarbci~~r► In#e~~ationr~l
            E~oldiilgs, In.c,}, t~.ri•ace t7ffstx~re Ca~n}sany, Grace. -PAR ~ti~~~~ratic~ri; Grace
            ~etraleu~n Libya Incoipcar~~tedz ~~~ace Tarpon Investa~~s, Irjc., t:~race dentures
            Copp., trace ~~asl~in~ton, Inc., W. R. G~-~ce Capital Gc~r~aoration, ~V. R. brace
            Land, Cc~a-~oratic~n, Gr~coal, Ir~c., ~raco~l II, Inc., ~uaaiic~-C~ribe Land
            Develt~pment ~t~i-~~oration, Fianc~v~i` Sc~uai-e Cciapc~ratioii, Hc~inc~ Inten~atio;lal,
           -Inc., Kc,~te~lai Qevetapm~i3t Co3a~tgany, L $ .Realty, Inc., Liti~;~tion
            iVlai3agei~ient, Inc. (tlkla GHSC Hc~ldiii~, Ii3c., G~`ac~. J1~H; Inc.,.. .Asbestos
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           ~viar~a~eineiit, Ine:~, Ivlonoltlg E23te~~~rises, Iaxc~z~~or~ted; Mnn~cie Street, Inc.,
           ~rI12A ~~cr~dins Cc~z~~. (~IkJa Nestor~BNA Hciclin~s CorpciratiQn~, i1fiRA
           Ian#erznedct~, ,~n~. (ffkla N~stc~r-BNA, I~~c.), BRA ~taffi.ng Systems, Iiic. ~fll to
           T3riti~h Na~rsi~ig Assaciafiozi, Inc.}~ R,enicdiucii Garoup, Ina. ~(~'fk/a Eziviror~nentai
           i~iak~ilif~r ~► ilana~~;t~7ei~t, Inc., ~&~ Z:iquiciattn~ Cflrp., Eme~'son ~ eucnin~, Iiic.),
           SautE~ern OiI, Resin ~. I~ib~rglass, 1nc., W~#et- Si~-eei Ccsr~~csratian; Axial Basin
           12.an~;}} Gom}~any. CG Pai~.ners. {f1k1a Grass. Cs~t~ntry Sta `frog); Hayc~~n-Gulch
           West Coal Caiia~aaiay; at~~i H-G Coal Ccianpany:.

               (~~)   ``Distrik~utio~" or ~`~3istK~biit`tons" sl3all me~~ p~y~n~nt(sj by a trust~~ fi~c~~z~ a_
~iz~ax~c:ial ;assurance Trust:

               (~}         `:DNR~G" shall i;yea i the Viantan~ Depai~m~:nt of N~fuial Resciuz~c~s anc~
Conse~~vati~n, the gz~~~;~`n~t~entaZ t~eparEnz~nt th at has the statutory responsibility for mple~nen~ing
a~~i3,~az- ac3rnir3isteririg the D~'RG's T33m Safely T'ra rai3. ~n the euetii sf a re~rgai~iza#iazi; ~~aiiie
c}iang~, ar c~tl~~;r rest~vcturin~, DI~iR~ s3iall mean the s~ccess~r dep~i-tnient l~ea~ied by a: cabinet
level c~f~cial a~g~inCecl 6y tii~ Gaverrit~r wit3~ t}~e fore~;oi~ig st~itiitary responsibility for
i€-t~~fenleF~ti~~~ a:ld~c~c ac~r~~ r3isterit~~; DNR~'.s L}at» Safely: Prc~gr~rn.

               (~~     :`D~+IRC'~ Mani Safety Pra~r~n~" shall iris ait the r~i~ram, ~vitl~iii the DNR~G or
its successar ageiYcy, ~vittx fiiie,legal au~iic~i~t~r tta issue ciaan perl~iiis and r~g~1l~te the co~iseruetian,
i~~ei~atic~n, ar~ci maintenance of I~rtcintana's darns to prriteci Izfe -and I~i'operty from ~ainages clue fo.
failure unci~r the Mantan~3 Daa-ta safety Act; Gt1 ~ 8~-15 as ~~~ay tae a~~~encled or,su~ersed~i from
tine tci ti~~ie, and inctuc~if7g:an~tf sc~ccessar pra~grat3i to ire D1~iEiC's iQaria Safety Probrat~~.

             (q~       "DNRC Ditectc~r" shalt mean the Montana cabiz~e~ lev~t offeiai appointed by
tie Gc~~reriioz- t4 direct ~l~e DNk~G; ar, in t ie event of a reoi`~anizatic~n or otli~r resti-ucturin~, -such
go~~e~-nrnenfal de}~ai-tiiient thafi has- res~onsi~i~Iity ~'ar in~ple~nez~ti~~ ancifor aci~ninisferi~3g tl~e
DNRG'~ ~~~i~i~ Safi~ty Pra~rai~~, oi° its eq~i~valcn~, purs~~~nt to tl~e i1~i~t7tan~:Darn Safety Act, I~tCA
85-1 S-1~5, et se~~., as ~z~ay tie ~rr~ezii~etl c~i• ~~ipez~sei~ed from time icy time.

             (~-)     ``EPA" s3~all inea.ti the t1a~iCeci States ~a~viroa~-r~ental Protecticin Agency.

            (s~     "~inanci~il A~surat;ce T'iv~t" "Financial Assiaraiice 'Tn~sts „ "Tnist~," car
"Trusts" ~1~3tI mean the ICI~~~7 t~e~:1V~ ~'~rfc~rmance Trust anci :the IC.DT.D Spili~~ay Replacement
Tn~st; individually or c~Ilectivc:Iy as tl~e ease may be, anci at~y ae~;oi~nts ~stabt~slie~ ~witliin eift~er
T~-~ist.

             fit)    "T'ur•c~ r'l~rr,~e~rr~c Condition" sl-~al] me~t3 a sifperiar or irresistible fc~rcc such as
air pct cif hod, v~hicl~ is beyanel the. control of-fhe Gi•~ce Parties ~iic! catild i~t~t lie ~~=aided by the
exercise caf reasonat~le care.

             (u}     "Grace" shalt have -the m~ar~irtg set forth in the €ntroduciary paragraph of this
Se€tle~l~ent Agc~eei~3ent, and its successors and ~a~uftzt a,ssign~,

           {v)        "Grace Pa~~ty" ar "Grace Pat~ti~s" shall n~ea~~ Czrace, KDC, and 1~I.R. Grace ~.
Co.-CQnr~., aa7d ttaeir res~cet ve of lia#es anti successnr~ with interests of any kind as io C7U3,-and



                                                        5
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fil~eir respective officer, directors, inaziagers, si7~rehol~ers; inetnk~ers, g~artn~~~s, cansulta~~ts;
+~~1-~pioyees, ~~ents, acid attQrrieys.

             ~~~v}      "Ineiaid n~" s1~a11 #lat be reari restF~i~tively, and shall i~~teai~ i~~cluding but nat
limited tc~, ui-~less c~tl~en~vise exF3z•~.ssiy stated.

              {~.}    "KDC" shall r~lean the ~ ~iot~i~ai I3eveltiprrient C:t~izi~aany, ~incl its successors aricl
latvl'iil assigns. KDC zs a Ivlantan~ doii~estic fink ~a~o~t ccim~any in b4oc~ sta€idin~, ~vllieh is tI1~
oti~ner of land ~F~ithin dU3 ~~he. re the ~CDTI~ x~ taca~erl, and is the 1i~Ic~e~- of a permit ft~~` ~~~;ra# tin
t~f the ~DI~ issued try the DNR~.

            (Y)    "k~DID„ shall i~t~ea~i tlae Kootenai Developnierit I7np~ii~zadment Dai~~, incluclin;
t}~e I~DID S~iliway.

               Viz)    "KVIID t~QerafiQn Anil 1Vt~~x~tei~a~i~:e'' ~r `' .DID tQBcIvI" s~iall t~~ean the routine
isis~~eetia~~, t~~onitoring, a~ei~atianz rriai~~teiianee, repair, and athe~- activities per~iirzx~~d p~rit~clicalEy
b}~ KT~G consistent ~i~itlY a dim safety opez~ati~~g hermit issued ui~cier the Mantan~ `Dann Safety Act;
RIGA ~ ~5-1 S-1 tlS, ei,re~~,,, a~~c1 i~r plerrientin~ regu[atians, ar~d ~a~Yy st~~~erseciin~; daai~ safety Iaiv aiici
i~e~i~tatio~i. KdID Spilli~ray VJ~r1~ is n it "KL~I~ E)~~];' fc~r purposes of either this Se[tle~tieni
Aat~e~~n~itt ~r tf~e KDIL~ ~3~:M Pei fc~t ~ncc; Trust:

             {aa}      "I~DID Q&M P~rf~rrnan~e T~~ust" shalt lave tine ~neac~ ng set ~e~rtli in Section
4{l~) h~rec~f.

              (fib}    :'KQTD Sp~tI~va~`x shall mean #lie er~azided sti-i~ct~~i-e that is t~nr~e~- constt~ueti~r~
in or abr~ut t ie year 2t~22, ivilh a ~esigrt file of a}~proxiriiafely~ 1{?~ yea~~s, fc~i' tli~ ii~tcz~ded ~iui-~ibses
cif allo~~~i~a; cnntrc~lled release t~~ excess sur~tace i~rater to fLo~~~ fast tll~ K:D,.I~ and ~iratectin~ t1~e
struciurai ic~teg~~ty cif'tl~e DID_

           ~ce~     `:K.DID S~ilt~~fay Re~~tceirterit Tf~tzst"shall mean tine ti~ist established to p~•o~.<zcle
funds for ~utur~ pnssii~le I~DID S~izlit~vay. ~~ork after 2Q72 as-set faith in section ~(c) Iie~~eti€.

             (rid}     "K.I31D S~~iltti~rav work'' shall ~neat~ ~vor~ that ~t~ay }aeco~xae re~ispnably
nec;essar~ to uncleit~nke aft~~- Zt~7~ for ~~eplacei~~et~t of ttie KI)II) pi1lFv~y, gar for significant i~epai~-
tl~er~of likely to ~:xtenci tE1e life of`the KDID Spill~~s=ay; as Z is}r b~ dete~~~~iitiecl ~y t1~e L~I+IRC Di~-ectaz-
or detegee in cut~iting? in accrirdance wifh tie ~p~li~ak~le I~~v anc~ regul~tians ~# M~ntana.gvvernirz~;
cian~ safety ire farce at thy: time of ally suc~i deteF-~~iinaticin. K:t~II~ Spill ray work does nat include
work cin a►ty as~e~i trf i17~ ct~nsiriiction cu~'i~ently undcn~ay oaf tlae F:DID S~xiltway as cTescz~ibect iia
{bb} above.

             (ee}      `:Lzb~iv Asb~stas Stipez•Cti~xcl Szte 'shalt mean the f'atYnef• Zonc~lite ivii~~e anal alt
a~~eas (i~iclutling any stnzcfure, ~t~it; ai~~} ~v~ter, ~ecliin~rit, nr receptor} in ar~d near Lizicc~ln fount}y,
i~loi~t~n~, t~iat have E~eei~ contatnin~ted by natural or huina~; :caused- releases or tni~rat an of
i7azardous su~stai-~ces andlcirpollutaaits or cantamia~~nts aYcir fi•c~rn the Zonoli#e Iviine. For purposes
of this Settlement A reeL~lent, and v~tittic~ut lin~it~tiora, file Libby Asbestas Supe~-fur~cl Site i~lcl~tdes
OU3.
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             (f#~    "Ivt_ TaE{~" sh~ii mean #lie Nlcintana I~epartmer►t cif En~rironti~ental Quality asid
successta~~ agencies and pro~r~n~s.

              {gg}      `"MIJE~ 2410"1 Claim" shall Have the itYeai}ink set fc~~-t1~ i~x tie Reei~al~ hereof.

              (f~fi)    "ivlt~~~3 ~Otl~ ~rd~rx' s}~all 1~~ve tine itleani~~~; set forfix in the Recitals hereof.

              (ii}      "MDE~3 R~~azise" s1~aI1 have the i~ieanir~g set forth in the Recitats Ilereof>

              ~jj)      ~`l`vIDLO 2fl0~ Stipul~tioi~i" sh~itl hue the nlc;aning set f~rtl~ in the- Recitals
l~~rec~f.

               (kk)      "N~turai Resc~t~rce Dacha e~" or "NItD" shill rr~ean any etampettsatc~ry relieF
alai{Ur ~fi1~er natural f•~sources ~1ama~es; ~iicludirig the reasc~nabl~ cots of assessing ~ucti ciama~es
anti c~tP~~r associated coasts, that are reca ~erablc pursuant fo an}j State ~x~ ~et~et~ai la~v, o~~ a~n:ez~dn~eilts
tl~erefic~, zn~lu~iiii~ but i~c~t Iii;iiteci tc~ ~ect:~n 1[}'1(a}(4}(C) of GETtCLA, 42 U.S.C. . 9fi{~'~{a~~4~(~},
c~i- ~"eci tin 3l 1(f~ of tl~e Clean ~iVater Act, 33 J.S.C. § (321{fj, oi~ MCA ~. 75-10a7I5(?~{b}~ ar state
or federal t;ra~~~non law, by zi~~ Sta[e, for c~jury tt~, destruction of, lass. €~f; ot- loss ott~se of 1'~attiral
Resources oz' reaource set~i+ices resi~Iting directly car indirectly froth releases car tlu•~atenec~ reteases
of ~~~zaz~ilc~us cap- deleterious substanc~:s fia, at, ar from the Lil~t~y Ast~estc~s Sra~e~•~und Site. I~tatural
Resource Daiiza~es incline, i~~ithout Iitnitation: i) the ct~sis of ~e5ta~•atic~rx, rel~abilttaticin,
replacenienf ~r accju sition of t~~~ ~c~uivalenfi; ctf allegedly injured or last I~&atural R~~out~es o~
z~at~iral resaua~ce services; ta} ass~ss~i~zezit casts; izi) the posts ~~ ~lani~ing and monitoring such
restoration activities;-.and iv) a~t~ninistiative, pri~gr~tn, teg~l, technical, anc~ ail other related costs,
ancl, {v} any other cvmp~nsatiaa~ far dit7~it~tttioil iii w~Iue or hiss of use nr pion-use values.

         {1I)      "N~tural Resaurc~s'~ stall hau~ the t~~eanirt~ pro~~ic(ed ire ~ecti~n IOf{IS} of
~E1ZGL~; ~€2 L1.S.C;. ~ ~6~1i{16}~ ar~d 1VIC~1,~ 75~1(~-701(lZj.

             {~ni~i} "`I~Tatural Resocirc~ Datz3a~z Prn tarn" ar "t~RDP" shall mean the I'ro~;ram that
is adzniz~ist~~atiye~~: attached to -the iltiantana Departra~ent of Justice anri _acts can ~ael~alf cif- the
GovemoF~ in his c~€pac l~ as the State's Nate}ral f~esource Da~~~ages Tt-Eistc:~. i~~it43 res~ie~t to Natz~cal
Resouice I7aana~es ~natter~, anc~ shalt inc_Irade. success~~- a~cfx~ies arx3 ~~~~a~rams.

           ~z~xa}  "~idn~ei-£ormance Detei~nination" sl~t~li ha~a~ tl~e r,~eaninb set #'a~~t~x in sec#ion
5(d~ hereof ~A~~~ss ta.Trt~,st Frzi~cis, Mate Access try `I`rust Fu~~cls):

              {~a)     ``1VRI3 ~'ui~~s" shall ha~~ the meaning set forth in section ${a} hereof.

            {P~a)     "~lperabie Unit 3" i~r "C3tJ~" sl3all n~et~n gro~ea-ty in car a~-a~inc~ tl~e 7~a~~c~lite N1ir~e
osvneci ~y C'ri•~c~ rat• Grace-a~vn~ci stibsidia.ri~s (excEudin~ t}U-2,~ and any- area {i~~cludii~g airy
sfiuctur~, sail, air, water, secliinc;nt ter receptc~r~ 'ti3l~iact~d by rile release aticilt~r release and
su~sec~uen# at1igi~at`ron of haz~rrlQus subsC~rnces andlor pc~l~utants. or contaminants fz~a~n such
property, inelu~l'rn~, but hat l,iinited ta; the mine propert}~x the Kootenai. Ri~£er and tllc sediments
there n,'Rainy Creek; ~2ainy Creek ~t~~d (sa~n~ti~nes referi~eii tt~ as Kait~ey Creek acid Ramey Creek
Roar!), and areas izi `~vliicli tree. bark is contat~ii~iat~d with s~ic}t h~~:ardt~tts substances at~dltar
p~lIutants orc~ntarr~iaaants.



                                                          7
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             {cry)    "Pa~-tiat Allc~~~~ance NlotititY" sliail have the zi~eanii~~ set fai-tti in t~~e R~cita~s
hereof

            ~rr~       ^~rt~l" ar "P~rties°, s~ta11 have. t ae ~neanin~ set forth iii tt3e ntroducta~y
                     `~P
paragra~lz of this Scttl~;~nent ~reerne~3t.

             {ss)      :`Plan" :shall mean ille First t~,~xtei~c~ed Joint Plan cif Rear~anizat on tJnrter
Cliapie~~ 11. oft}3e ~ai~lc~~a~tcy bode ~fZ~~ R. Gz-ace & Co., et a1., the C3~cial Coi}~~iaittee c~£As esf~s
Pers~~~a( Ixljury Gl~ii~a[its; tl~e ~sbestas PI ~'i~ttire C{aix~~ants' ftepr~se~~t~tive, and the t`~fficial
Go~n~n tt~~ of Equity Security I~~ilders as Mad fed Ti~rr~;i~l~ ~3ecernbe~ Z3, 2t1I0 [nc~cket t~~~.
2G3G~~

          {ttj        "~'~~~-~fl~2 T~I~ID C}~atiorz anci iYlaintenance Perfoi~r~a~iee Bc~nti" ~r ::SureE
Boni" shall ha~,fe ilte i~a~aniri~ sit far~th iri ~ecticsn 4(a} lierec~f.

             (i~u)    "Post Rernedv - Q&~ Costs" -shall Dave ii~e ri~e~niri~ set fa~~ih in S~eCion 7
hereflf.

             (vv)    "Reor~niLeci L?e~ta~•;; ~r "Reor~a~ii-r.~ci De}~tars" SIl&II I3c1V~ ~Il~ iii~r~Illfl~ S{%I
far~l~ in the Plan, which far the ~vaic~anc~ c~fc~oi tit provides that:

           "Reorganized Debtor," "Re~rg~nized Dekstc~~°~" or "Itcai~•;~nized Grace" shall
           mean tt~e DebtQr(s~ frc~u~ a~ld afte~~ il~e ~Ffectzve Date.

            {~~~v) "R:UF'S" sha(i xneari t1ae Re~~~edi~l Ia~vesi~atinn/T'e~siblity St~cl~~, as cie~n~cl by
ttie National Coiitit~~ezlcy Plan ~t ~4} CFl2 ~ 30Q,5, aiid ~.ii~ther d~scril~ec~ ix~ 4D CSR ~'~Q~}.43~.

             (~ c~     °<Setflet~~e~lt A i'ee~t~nt" shalt refer to -this agreement as ciescri~ed i~► .the-
int~-odtictory para~;~~ap~ hereof.

            ~YY)     "Settlement A~reeinetit EfF~ctiv~ ~at~~' ~l~al1 be the date ozi r~vl~icli t~~e. vr~er
approving; this 5ettfement tlgreement t~ec~anaes #inai anci nQ~~-appealable as descr bed t~~ Sec:tic~n 3
herecaE`.

           (zz)      ;`S1ate" s~lall r~~~an tli~ Sta€e of Montana, and inctad~s z~ritlin~~t lirt~i€anon its
Govefnor, Aitt~rn~y Gen~i'ai, ML3EC~, NRD~'; i~I'+IRG, anal a~~y ciilier cie~~a~~iciit;nfs, a epic es, anc~
prpgrains of Elie Stag of t~Iontana, atld t~~eir respective e~-n~l~yees, a~;en[s, and atio~-neys,

             (aaa} `;State ~l~i.ii~=, sl~~ll i~i~an III ~tainis ~~-ising frc~rn ~r related to tI~~ Libt~y
Asiaes~ras Su~ierEun~l Site that ttie State teas, car could have, asse~-~eci in the Chapter 11 Cases. ~'i~r
tt~~ avoir~~nc~: o~ cic~~ai~t. a) Stag Claim does iaot inclurie claims, c~~s~s cif ~ctic~~x; ,or tatter rights or
~oti~~rs that. either are nc~t Claims ~r .c~tliei-~vise co~i[d ~~ot have taecn asserted by t}ie Stag an the
~}~a~tei- 1 I Gas~~; and b} tl~e St~it~ Cl~itn sh~il ~e de~meci to include: i) atl claizi~s, liabilities;
abligations, causes c~~ pct c~nJ and rich#s to pa~mer~t set forth in, ~s$c~~te~i iei, arisix~ fi-ozr~, reserved
in, a~- otheric~ise r~latetl to eac~i of the ~hapte~• l l Gases; Claim No. I$~96-3; the UIDEQ 2~(?&
Stipulatiaii asap€~oveel by tli~ iviDEQ 2#~0~ Oi~cle~•, and t1~e MI7EC~ Response; ii} all ether actual -and
p~tential~el~i~s relating ta; ~~t~u~ecteci to, r~r arising oiit, of OU3 or the Libby t~~be~tos Supe~~i.~n~
Site that ~cr~re nr c.u~.ticl I~a~~e been asserted in thy, Chapter 11 Cases;- and (iii} any atxt~ atl ctaims,
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IiaE~ilities; abti~ativns, ar causes of actir~n by the ~tatc; ~f any kind car nature tl~afi it l~aci, lips or i~vill
h~~+e in the future for NK.~3 at ter related to QtJ~ o~- the: Libby ~sbestas Superfund Site; ~ro~ji~lec~;
l~o~vc~alet-. teat: tlYe Mate Claim do~:s not it~clucie a~ay Stag ~teserved Rights; a:~ d~~rled belatro! in
SQctiUn ~bbl~). "I'1i~ "~tat~ Claii-~ "does riot ncicrde tlzcise clams se# fart}t sn Exi~i~it ~-!

             (b~b~ "Mate Reserved ~z~tztsY' .stall nlr;a~r the ri~l~ts reserved in Section$ G{d){~i}
{State Consultative Role}, b(d}(iii) (CEI~.GLA § l 2I)>.6(g~ (effect of ~inan~ial ~S:sst~~-ance}, ~iid fi{h~
(Gatastrc~phic Failure Reseiv~tioi~) tie►eof, In ~dditior~, the State Reserved Itigii#s incl~~d #~~e
Stat~'~ ri~1X~s to et~fcii-ce this Settleii~e~~t Ag~~eetnent against any of the Grace Parties (including
~7ght to any payment} or. seek r~:~ief for a breach iher~:~~; inciuciing under Section ~~i) (Stt'~utatecl
F~nalty for ~a lc~t~e:tes R~IaI~e Section ${a} Payrnents)~

             {c~c}      `<I{}°f4 Gcist Share'' shall l~avc the ~~zea~iing set fa~•fh in S~ctian ? li~r~r~f:

          ~_      ~e#tIement .A~re~n~en~ Approval P'r€~~ess and: Effeefive I?ate. This S~ttle~nent
 A~reeinent shall becorr~e effective after tie ~rci~es~ ~les4r beci in t#~is Section ~ c~~t t}ie data i~~~ circiei'
 ~P~~•c~cfin~ this aeCttemerit f~geeetiienf E~ecorrtes find end nan-a~ip~alable (:h~ "Set~le~~~ent
 A~fr~en~ent`Effective Date"},

               (~~      t.Tp~,n executign,of #his ve~zle~~~rene Agi~cetnezti by..alt ~'arti~s, h~ Parties ~~all
confer regar~iir g tl~e'znotian iii ttie. ~ankr~ ptc}# Court, pursuant to Fed. it. Bankr. ~'. 9Q19, ~ 7~=1t}=
~Oi, et s~r~., _MCA, and 42 LT,~,C. ~,9~D~ ~,~I~i~l ~~rac~ s~~all :file, seeing entry aE tl~~.;11,pprn~al
C7rder. '`~'#a~ Parties agree tl3at the fi~xm of prnposed Approval Llyd~:r ~ttac~Zi:r1 her=eto as E~l~ibi~ 3
Shall` b~ attacIxetl it~':th~ motion seeking e~~t~-y t~iereof, 4T~ithin ten (I O} days of tlie: filing i~f t ie
~iiotiort; tl~e State sliaii ~ubIisl~ ncit c~ ai~~i a b~•ief-ciesci`iptiait {as tc~ ~vl-~ ch tl~e Parties stial cflnfer
~eft~t~el Vinci} in ~ newspaper of genera3 c rculatir~n in I:incoln Jaunty, and p~'ovitl~ a 3(}-day dub[ e
coznzz~ent,p~riad c4aiducted by the State, ~~vl~ ct~'slaall take dace ctincti~n~ent with the judicial approval.
~roce~s co~it~iz~piateti hzreia~, Tie Mate resei•~res tFic right to ~~+itl~drat~ car vvitl~lYold its cansezit to
the S~it~e ent r3.~reeinent if tie ~i~iblic coi~~azents received disclose facts oi` cons`ttIerat runs t~aat
indicate-the Se~tteinent Agx-eenn~ixt is i~~~pprc~priate, im~ri~~er, or inadequate. After the cc~u~lusifln
cif the public cr~n~r~~~ lit perio~, tli~ Parties ~haEt confer re;ardi~j~ the St~te~s ~•es~c~t~se to the ~~iotic~ii
filed ley Grace,:~t~d ~vithi~ thirty ~3~}) days after ttie c€~~~clusion ofthe ~0-d~ypublic co ~~unent perio~I
the State shall file its ~~espons~ and ~rrnvide the Court tier th ct~pies o. f alI comal~eri~s received -and tl~e
State's respo~~ses tl~er~to.

              {b)        If~ublic ~onunents reeeivecl do not disclose wets or considerations tha~:ind cite
that tt~iis S~itleiza~nt Agre~nient is z~appro~r ate, in~a~~~j~er, a~~ ~~aciec~uate, ttie State agrees tci su~~iart
prompt: entry c~f'ttie App~Qva1 ~t~der ley the Bail .z-~iptcy Ca~irt.

             {c}       Thy: Parties abree to take such other action as triay t~~, r~quireci tt~ siz~~az-t ~r~iiipt
ent~~y of tht ~.~~~arc~vai Qrder lay tfre Ba~~ka-u~tcy Court.

              iii)       The Paf-ti~s acknotEried~;e: and a;~~ce that tale terms and cont~.iti.cans Qf this
Settlement Agreetnen~ are ccinclitiaiied, its ~Il z-espects, an the a~p~~aval gf ~iis Setticrnent Agreement
by t13e Bay -uptcy Co~.~it. If tltia Settlement A~ree~nent is not app~•ave~ by the :Bankrii~tcy Court
for any reast~n, it and. any underlyi~~~ a~~~eennents iii principle, including any tcrnl sheet, will h~
it~zi~7eciia#ely Mull arzd v~icl anc~ of nc~ fi~rt~iei• fflrce anii ~ftect.
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        4:        ~inarxcial Assuz-a~zcc -. F~~tidin~: Grace shall_ provide t~Ilci~ved Fiziaiicral
Assura~ic~ as deserit~ed herein tc~ address fide poteeitial that the etin~i~iue~l presence cif -the KI~II7
c~ulci resuii iia State fin~nciai obli~;atic~iis; ~aiher fQr ~itYbc~ing KDII3 OR.Ivt c~i- far a.~ossitile future
need tc~ reeonst~~uct the spilltva~ structure in 1 Otl years anciloa• ~t~~ez~ Spiil~~ray:Wai'~, The t~lloi~jed:
Fina~i~ial ~ssuranc~. is to p~~civide fnai~cial asstirar~ce tca t1~~ State far Grace's perfornlafice'
al~ligatians iii ~annection ~~vith ~t1~. 'Phe Aliotivc:~i Financial ~;5sui-ance inelucies the ~'re-2(342
KDID .t~~cz•atic~n and Maintenance Pef•fcaz7~~a~ice Bond t~z~ci t}~e ~'izzaiicial Assux•ance 'I'zusts iri the.
atndunts, under tl~~ pro~er~ures; ~nci fv~- the purpr~ses s~:t forth bel~~v.. The Financial. P~ssu~~aiic~
Tz-usis ai3d the Su~`ety Bo~~cl pr€~vct~ ri~;Iits to fiazids far the State tci pe~~fc~ni~ certain rc~}uii`ed u~or~C
{S~DID t3c~;1~1 one! Sp Il~~ray'Wt~rk},.but only as set fnrtfi belo~;,r. Grace.or ADC' may draw u~~n fI2
Fir~aneiat Assu~~at~~e'1'rusis, but only under the prncedures as s~i fort~i be~oi~~:

           {a):       Pi`e-2042 KI~I£3 O~eratic~~ aaic~ ~I~it te~atace P~rfiarn~tanc~ Bard,

                   (i~     G~~ace shall obtain a surety bond siibstanfiatty in tl~~ fond ~itaclied_ to fh'is;
               ~ettlei~~ef~t Agreement as Exhibit 11 to assure,pei-f~t7~~arice cif KD.ID .U&!fI far e~cl~
               cif ~~ie neat ti~e~~ty~ years (2f)~3 tl~resugij ?042) (tfie "Pre-2042 ,I:~DID O~~rafion and:
               ~ait~tenance Performance ~4nri" cap: "~urcty Bond"). grace shall ~cc~uire the ~nrt~~l
               Surety Bond; in the amount of;~3,50[},f}(3~ within 9(1 days; a~te~• tl~~ Settlement
               Agreement Effective Date,. anct renew tl~ie Surety Boni each year ciniil 2 42 ~.~ritIi
               declin ~i~ ga}=n~.7t .an~c~ur~ts as iclent fiecl i« I'~ragra~l~ 1 of ~xhit~it B (S~rety Bc~~icl_
               ~1.~nat~nt Scl~ei~taie, sha~vii~~ ha~~ t ie atiioitnt ~f the regiiiretl surety ~~~ill decline ea~~~
               year ta; i•~flecf t7ic a-educed rc~naining tine peri€rd ft~a- perfc~rrrlance},

                    iii)' 1'he s~~ret}~'s payment oil the Surety Boni intci the Pte-2042 KI3TD (3&Iv1'
               .account with t~-the KDID 4&ivt ~'erfc~r~nar3c~ Tn~st ~uaulc~ lie tri~g~r~d anly yt (I. ~
                L?~RC I}irector's issu~~zcr; of ~ Nc~rt~~e~~tc~et~~anee T~~tcrniistatitan`fcsr #'ail~►~•e tip ~ci•fa~•in
                F~DID ~&ivy 11~3t is uncurcrl, in accc~~~dance ti<rith Sections ~~d}(i ij; ter {~} non-
                replacemer~t'af`the 5u~~eiy:Bcs~~d ~uitlzizi forty-five X45}days of ~i~rety's ti;,~ritten natiee
                cif cancellation.

                  (iii) If su~~cty's ~3ayn~e~~t an t ie Surety Bond is tr•i~~ei~ed as clesc~°ibec~ ~bt~~c;:tixe
               suref}! will pay thy, ~~raceeds snt~ a Pry-?042 K~IL? C.~~iVt account tai hip the KDTD':
               Q&iV1 erfot-~~xance ~'nist, ~t.tl f~inc~s in the }'re-2042 KDID C3KM accciunt shad be
               icsed or~Iy fez` tl~e s~estz•icf~d ui~ose ~f KIND CJ&iVI. Grace, KDC, aiid the State, may
               ~Eitairi fu~xc~s f't~arn tt~c; Pre-2t~~2 I<_DIU tJcYcl~1 aecoun~ :ittx~ler t}~e ~ai~acec~iiz~~s and
               cc~n~ii~ions set fo€~th belo~~r in Section 5 coiiceinirig access tc~ Trust F`unds:;

                   {i~~) If surei~~'s paytiient oig fhb Surd}~ 8o~ici is tri~~ereci as desct~ibed iz~'S~cfian.
               4~a)(ii~(2j ab'ntire {ftii~ nt~ri-replacejn~nt cif'tl~e Surety Bond) at-any time prior f~ 2442;.
               the~~ ~~vifl~c~ia~~~ls prior to 2(?~2 fi•c~n~ the K.DII~ £~ScM Pea~forzYiance Tn~st by trace ~~-
               ~ DE' shall be litnrieci try amounts that do.nt~t decrease the i~alanct; ~f I~DIII C7cS'~M
               1"er#'c~rmanee Tr~~st fi>>~ds at a~~}7 time c3uri~r~ a-given year; E~elo~.~ tl~e "h~l~sxin~~~in Suns
               iif Bcind ~~nc~~~t~t in Give►i Default Year" for tl~e fc~Ila~vin~ year, as refl~ctecl Qn i~te
               Suz•eiy Bend A~~lo~int ScI~et~ule, aitacl~~ci hez•ete~ as xliii~it ~.




                                                          iD
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             ~v~    As of I~ecea3lber ~ 1, 20 2, if any tun~is are present iii the Pre-~{~42 KDID
        O~cM acco~~t~:t, ai] s~~clt fi~~~ds snail be trazisterr~d to o~' F~ecz~i~~e part ~f tby virhze of
        thi< tertninatir~~i ~f the Pre-2{l~2 I~~IT.~ 08 ~ ~c;cou~t ax cither~vise~ 13z~ ICDID Q&M
        Perfoi-~nance Trust fo~~ use Pcr~i-2fl42, at3~ such a~~xounfs shalt be zfi ~idditiiin tip the
        iui~d n~; of tt~e ~:L~ID C)8i1~+~ Perf4rn7ance T~~,~st ii~~~ier $ectior~ ~{b). tea suc13 #rt~nsfer
        €~~` funds fi~ozi~ #h~ Pre-20 2 KT71I7 ~& accnunt to the .i'cist-~0~~ KIND fl&IvI
        ~'erfor~nance Tnast shall affect the obligations desc~•it~eci in Se~tzau ~(b~..

  kb~         Piast-242 KDID O&I~~ Perfarma~ice Ttiist:

           (i)     ~'ste~blicl~rrzerit: (mace shall esCablish, ~viilxizi 9t3 days after t1~~ S~ttle~~aent
        Agreement Effective- gate; the KDID C}&TvI Perfonnanee: Trust, .with the' foi~ri of
        insfi~u~nent substantia[ty its tt}e fc~r~~~ attacI~ed tti t12is Set€lenient Agrf;e~~ent as exhibit
        C, tci b~ mat~~ged 6~ a ~'e~utat~le t~~i~ki~ig ~r fi~~anci~I instilutit~n.

            {ii) I'rrr~nse c~rrcl~ceess, Funds. in tii~ KT~ID t~&M Per~'cir~x~anee Trust sli~Jl h~
        used Ur~ly Ccir ~}~e restricted ~i~.i~pose off' f~.a~di~i~ YDIL2 t~cYcivl a~~d i3~ay be ~vailal~Ie
        cii~iy as provictecl uzide~~ Sectian S ~~~ces~ t~ fi~3~st funds}; EurtI~er funds frog tli~:
        KDT.L3 {~BcM Perfnrn~ance Trust shalt nQt ~e available b Foxe January 1; 2143 (except
        far any Funds that. i~1ay tie ~le~~ositeci in tlae Pre-2042 T~.DID Q8iIv1 accaurit unZier
        ~e~;tion 4(~}, subject to tl~e lien fat erns in 4~~~{iv)}.
           {iii) e~'artrclirtt; rif'tlae liDI1~ Cic~.tVl Pcrfarxr~arrce Tr-cist. Cxrace s~tail fund the KDID
          &M ~'er#'armance Trust in fen equal aiu~u~l ulstall~iient~ of i~ti;L?OQ, with ttie first
        ins#alltnent rer~ui~~td ~vithiri 90 days to#` tl~e Sc:ttlemet~t A reezixe~~t Effective I1ate.
        Each instaltinent ~~ill ~~ placed rota tl~e S~.~ID ~~,M Perfonnan~e'I'rust>

           {iv} I.~crrcrtiora rcr~cl Fizral fJisfril~zttic~ir: '~"he KDII? C}M Perfc~~- ance Trust s~3aI1
        remain in full ford. acid effect until its F'uzids are depl~te~i v~ the-year X122: I~ ~`ixz cls
        ~~einain iiz tl~e DID C)&~jt PerfQrin~tice Trust:in #die year 2l 2~, t~i~ '~'u~ids shall be
        used ~~~cl/~r dista~it~uted p~.irsl~anf tc~ written a~reeti~~ttt bet~~een t~i~ State at~d Grace,
        Qz iii tl~e ~l~serice of such. an ag~•eetneiit, divided bete~,re~n ~rxace-and t3xe Sta€~ equally
        a~~ iv~~i-ch i 1, 212 .

  (e~         KDID Spil:(~+~ay Re~~lacerr~ent `I"z-ust.

       (i}    ~rtn7~lisltrrr~trt. Grace shall estal~lislx, wztlxin ~(~ tiay~ after ~~e S~ttletnent
    f~~r~,etnent Effective Date, the. KDID Spilttivay Replacen~ecifi T~~tist tvitii tl~e fo~~m of
    tnstriainent stEbstacitiallyhi the fc~r€r~ attacl~eci ~a this ~ettienaez~t Abreeinent as ~~li bit
    D, to ~i iia3na~,ed by a reputable banking a~• ~t}uncial nstitutioT~.

         {ii} ~'iir~ivse t~~rrl Acces3. Funds- in the I~D1D Spil~~vay Pt.eplaceuien[ Trust s~iall
    be used c~~~ty for the z~estricted puz~ao~e cif' fun~iiz~g KDI:I~ Spilievay 'Wa~~k, including.
    as the restricted pu~pas~ ~aiay tie ~3ior3i~ed tinder Sectian ~{~j{iii}; azid n~~y !ie
    ~vaiiahle oily as grovided under Section 5 (Access to'1'ru~t ~iincis~, ~'ui-thei•> funds
    Fi~c~a~~ file }C.DID Spillway Replacezr~eni Tn~st s1a~1~ nat k~e available before January I,
    2120, exc~~t as pi-ctvidc~i under S~;c#ion ~(c)(iii) oY~ Seckzon S(e.) (~;csvel~ning earky
    access}, belo~~~:


                                                lI
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                     (iiiJ Tfc~rrsr~n~~~~l~: r'~lorli~crttici~i c-~f IZ~st~-rc#er! Purpcis~ ~~c>r- ~t37~~, After t.#te yeai
                2(172, nothing i~z t1-~is Seitieinent A~r~~rr~e.iit precludes tlie. Parties f`r~i~Y a~reeii~~ in
                tivi-itill~, zn consie[~~•ation of all v~` Tlie relevant cir~:uri~"stances in c;aistence at the tiii~e
                ~incluc~ing the v~l~ie t~f tie I~DID Spillway Riplaccn~ent Trust versus tl~e cost of ~
                re~alacement spilllvaY), that funds iti tl~e KI3II~ ~piilway Replacetineni Trusf slier tld
                b~ used for a reasonably aiad ~ruden~ ~t~rpas~ related tt~ th I~I?ID 5pillcvay cif` tii~
                K.~7TD lather than replacement c~i- signi~~ant re~3~ r of the KDIi7~ Spiliz~ay: A.ny si~~h
                writ#en a~r~ei~ietit shall be subniitt~d tt~ tl~e trl~stee, a~iti shall c~inskit~zte ~Ite k~asis fcrr
                paynie~lts b}~ i~-ustee;

                    (ivy Ftrr~rlirig of the k'~I7~ Sj~ill~vcr}j Re~~lct~e~ r~rtt Ti-trst; Grace shall fund the
                I~llID S~ill~vay IZe~l~c~~n~zit'Cnis~ iz~ tez~ egcial ~r~ixual.ins[allz~~enis cif l f~6,0~~, ~~,=ith
                t~~~ firs# insiallrz~ec~t rcc~uirecl vrithin 90 days after t}ie Settlen~en€ A;reerrient Effectiife
                I3~te< Each u~stallmer~t will be placed intn the K.I3ID S~i~I~~v~y Ke~alace e~-~t'I"rust.

                    (iJ)   ~tir~crtiort rrrrtl .F'r`rrcil Z~istribz~~ior~. If funds ~ezn~it irk ih~ K~TD S~ill~,vay
                t~ep~acemen~ TrcYst in 213:2, -any-re~~ainitX~; ~iiz~~is steal( ~c i} used andtor distributed
                p~rsuar~~ to ~vrittc;n agreet~lent behveen tf~e P~rtie~; Qr if~icr su~l~ agreezt3ent is reac}~ed
                bef4r~ June 30, 2132; ii) distributed tc~ Grace, pr o~li~l~d; l~~~slei~er, su~~x ~x~anies must
                lie ~se~ safely fc~r purposes i~el~ti~i~;.t~ the K~}II7: Tl~~ K~3TD 5pill~vay RepIacemecit
                'I'iust shall ~'~naai~~ icl full. force. ar~d eff~ct:u2~tit such t ii~~ as its funds,are depleted tiz-
                tite }year ?132, ~v~iiclieve~` is jai-liar.

              ~ci}      T`ailure. to make Financial ~ss~arance Tt~ust fiin~lit~~ ~ayment~ as ~•ec~r~ serf by this
Sec#ic~ia 4 ~fTei~ notice aiad ail tippc~i#unity to c€ire, is ~ tnaf~i-iai breach ofcltis Settl~iiieni Agr rr ent-

           ~.       Access. to `I`z~ust l~unr~s. A!l ~~c~s~ eo tt~e ~'uiids in the F~naiicial ~ssurance'I'~2isfs
 and all I? stributions Pram sue~~ T~~stss are subject tea the pi~ivisioi-~s, prc~cedure~ and regui~-err~~~its
 set fai~tl~ in this Section 5.

           {a~         Distributions frtitn tie .~'i~iancial,.~ssurance Ta~usis sEia~l ~i~ fc~t_ :K:DID C?~~i or
KDI~? ~~ailhYray ~~Tc~rk, a-~spectively. ~'arties shall ~a~it ~e~k o~ use funds fion~ any Fin~nciat
Asst~rance'I'rust ~'o~• uses autsicl~ of the i•elevar~t irt~st's t•~strictecl piirpcise, except as provided under
Section 4(c)(iii) (:~errrarac~bl~ t~~arliTcratiQr~ cif Restr~ictc~cl Pt~r~ose ~r~er~ 20~`2~.

               ~h) _      7`►~rist Dist1°r`brrtir?ras ~ -Docirrtretrtrrtior~ 12~c~~~it~er~ret~~s, "I'he f~lfot=,~in~
dc~urn~z~fatic-~~i is required fal• all Dist~~i?~iti~tt~ froi~~ ~itzancial Asst€rance'T'rust~: Eaeli Pai~t}~ sha11
send tlxe ott}er a copy of ail st~bnlit~als t~ a tntstee, as ~rc~vic~~d in Section 13 (I~T€~tice}, Qr in tli~ tine
-and ~i~anne~- pis atlaez-~vise agreed fo tl~e parties. In. aclelitii~n #o o#(per documentation that n ay be
requ~steci by- trustEe(s), thy. Pasty see~ii~~ a DisErit~~xtian (race ;ar~dlor IfI?G, o~' ~~e Mate} shall
sut~t~~it tl~e foilc~~visi~ to the trustees};

                   {i}     A. certi~catian that the Distribution .that is sc~ugltt is fir ~u4~-~C w #lain tt~e
                restc`icted ~~uc~oses of tine Fii~a~~eiai Assurance Trust fi~oi~~ which t}ie Distribution is
                sought;




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                   {ii) for• caiii~ilet~;d i~~rl~ -that 17a~ already t~eez3 ~~a cl f~~` kiy tl~e Party s~elcin~
                Distribution, tl~~ isiv~ices acid r~~e pts sufficient to cie~nonst~-ate thaf, work {csr the
                z~et~vant poi-tic~n ther~a~} bias been }~er~onne~i ~nc~ payi~~ent I~as been made; ai~~l

                   {iii) Foi` Distrlbi€tion dircctIy tt~ a cvntractar or vendi~r {~~titl~out ac~~ance
                ~ayineiYt by the Tarty seeking D stribut ari), the contract bet~~veen the ciintf`actoz~ or
                v~~ici~r a~Yd the Marty se~ki~ig ~ stribiitian ~`or the e~-#'or~~ianee. of` tl~e i~ork,
                accc~~~lpaned by the:r~tevaiit inyoice(s) for payszient clue: tc~ th~;;speeifieti contf~acfoi•
                iJT` V~IIC~bE'.


                {c}       Gt•r~~~ .recess to 7'r•~fsi Cirricls. ~ stributir~z~s frQxn the inane al t~.ssurance
Trusts sl~atl be t~iacie tc~ brace +~r I~DG (or tl~~ir ~.ontr~ctprs) upon request ts~ the trtaste~ cai3sis~eiit
v~ri~l3 ~1~e rest~~icteci`pur~~ses cif t13e "inanciai ~Assu anc~ Trustst exce~at that ~~ prevent fun~in~ from
the Ti°ust for dtplicafive u~a~-k, no Cirac~ l'~rty nay rer{iesC ~7istributi~iis For specific;cvc~rk ti~~t lias
keen hilly iaerforrn~c~ b}~ tti~ Mate after a Nonperfonn~nc~ Def~t-~Y~inatic~n.

              (cif     Stale ~cGess to 7`~-~rst I~'tt~rcls:. Distributions f'rorn t~i~Financial assurance "Trusts
shall be made to the. State (cax• its cnntzactaF~s if sa di~~e~ted by the State) upt~n Sate -ec~ues~ to-the
€a~ustee cc~n~ stmt with the r~stricte~ ~i~rposes of the ~izlat~ci~l;Assura~tce Trusts; bUt ciz~Iy in the
event of air it~cured NQn~ae~-farnYanee Detei-zt~iFzat o~i by the Di~1RC I~irzc"tor'ft~r KDID t~~.1~ or
I~ID Sp lliva~r ~~Vorl:; respectively, #`t~z~ ~rer~'orn~a~ ~~ ~f t~~e work desc~~ed in the ~zi~l
t~onperfai7nance Deten~linatioi~. The ~~at~ shall also lxave acc~~s to t~~:Financial ~s`u~~ance Tz'iists
 ~' the ~;~renCs described under Se~tiar~ 6(e} {Gessatit~n of Grace) ~ver~: to occur. T}~~s Set#Ieinent
A~r~eii ent does ~ cat t~~adifv o;~ ~tilend its ~n}x`~vay t~~IR.~'s <~i~tharit}~ end po~tvers-r~r. re~u[a~ory
~r~cess p~~r5u3nt to tt~e tvlc~ritana Dam Safefy Act:ar t~~e U~~tC's L~asn Safety Prc~grai~i, as'tl~ey may
be amezided car supecsecied #'i-flz~~ t ime ~o t ~~ie. The.pracedures in Secficin S{d) end (e) solely lay out
t ae proeess to ~e follc~eved'f~r the Slate tc~ access funds in the Financial Assurance Trysts.

                   Vii)   Nar~pei~oi~r~~c~rrceI.le~etrr~i~Yrrtiori. AI~Fonperfarmanc~L)~tern~ix~ationine~ns
                a ~~~al ~a~rztteri cietez-ra~inatiani by tl~e DNIt~ T3ir~ctt~i• ;that specifically: x} describes
                substaniial anc3 inatc.rial ci~nperfari~iartc~ ley K_DG of ~I~I~ flBcIVI tir,KDID Spillway
                ~'t~r~;-and y} ~statitishes t}~at il~e fallo~vin~ conditions precedent have Eieen n et. Tie
                DNkC Dire.~,tor is the only State c~f~cial «?ht~ znay issue a I+Ic~nper~'~i~-niance
                Deter~l~inatic~n. All Nanpei•foz•maiice Determination(s~ are stab}eet to the follo~.fin~
                Londiticans pr~cecient, end sit~ist~ntive grid pY~t~cetlurat ret~uiremezifs:

                   (ri) C~iiza'itar~r~:s° Pr-ececlerrt to' r~ta~r~aerfcrnl~rrce Detexrtitxczt~orr. ~o
                Non~erformartce Determination fc~z• BID O&Iy1 ar KDII~ ~~itl~~vay Work may lie
                issued s~ithout f rst providing to Grace ar KDC:

                          {A:j       ~t~ritt~n ~ciu~t notice by Clie I3NRC 1~irec:tor car DI~~C's ~3a~7~ Safety
P~~ngt~am t~iat specifcalty: i} describes. the i1aork {eaitier. KDID C)~.tVi ar KDII) Spillway Wc~rl~}
ally#wily ~ic~€ sul~sEaz~tially as~c~ materially perfoi~i~ed; ~tc~ ii) identifies the prevision{s) iii ttie then-
applicabie Uper~tinb p~rnli# oa~ oilier sticii }permit or license f~tz• dam ope~`atioil under tl~e U~IR~'s
Dai~i Safety Pragt'a~ii (and associated en~incering re~csrts; if ariy} requiring; suc~~ war~C

                          {B~         ~ relsonable o~pt~rtunit}J to confer with the ~?NI~C Dii'ectcrs~ to
attempt tip resc~ive tiie z~~~tte~° i~Y ~Qc~c~ faith; an€t


                                                       i~
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                         (G)     An t~p~ac~rtsanity to cure within ninety {~fl}days after` receipt by G~~ac~
or KDC alb the ~v~~ittei~ actual notice; unlzss ~ Icai~ger ~e~-ic~~i cif tit~ze tea stare .is a ~~eed to in ~,vritii~g
bythe I7NR~ Dir~ctc~r car delegee.

                   (iii) C'rrr•e, -Grace Parties ma}r cure an alle~eci substantial and iiiatei-ial
               nnl~i~icrf'atniaigce cif KDID Q&12 a~rork or KDID ~pillevay Work hy: x} provi~an; to
               the Di~1R~ DiY~ct~r or c~s[egee inft~~-matic~n d~~»onstt'~ting tl~~ -tlie subject r~orl: I~as
               i~een ~erCc~~~~~ed; y) ~er~a~i~~iri~ tie subject ~cfc~z-~; or ~).~tabinztticlg 't4 the T_?N~Z
               Director car dele~ee ~ flan .far perfotxn~n~e of such,tivoz~c accorclin~ to a scIieciule ghat
               ~iay ~~eco~n z~ trine for ~tive►-nr ieiital ~ppi~ovals, seast~iial c~z~dititins iilclu ink: ire
               and #i~•e restrictions;., tiveather, t3eec3s £or cnz2~ple~c engia~eeriti¢ p1anF~in~; a~i~ z~uve~v,
               and other fact specie cc~nsiciera~ tins. T~~e Parties ~~rec and.~ckt~o~vle.d~e thafisatne
               I{UID t)&M` ~v~"t~~ anti so~sie I~DII.~ S~i1li~vay ark mad require dears of plaruiicig
               end ini~ilem~rat~tioii. If tarace ar I~.bC exhii~ is ;t~t~d fait€~ it~itent to ~erfti~~zri sucl}
               ~vcirl~ anci ~iernc~nsfcates r~~sanable dilzge~ce, iY skull be prtividecl ii nt~ to ~~erfonn
               ~vi[hc~ut aizy ~donperfia3~mar~~e Iaeten~~inatic~n, and a~a~ra~riatc extensions of time to
               ctii~e shalt ~Qt be rinreasc~nabty ~vithhelr~'by t~~e D1~IRC Dir~ctc~r or cielegee:

                   {iv) I'a~~ce ll~lr~jeifr•e. Prt~vicle~l_th~t eiatic~ is timely given in ~vritizxg t~ the ~IZ~RC
               Director oc dele~ee ~vit[Zir►-ten X10} days of disct~Very ofa F`orc~ ~~~iij~ Et•e Condition;
               Ca~•ace and I~~3C shall be tenzpt~rar ly ~:xc~sc:d from nonperfcirn~ance arisir~~ out c~~ a
               ~'c~r•c~ tl~fcrjecif-~ C~iiditian lio~~eve, in no event shat! :a ~°tir-ce Mcrjeirt•e Cc~txditiaii
               excuse non~ec~fa~-~nance for a perit~d ref greater tha~r csne }~undred tu~e~ify (I20} days,.
               a~se~~t agreen~erit iri ~vrit: i~ ~ihat t~~ay t7e ~y electroziic con~xniinicatians s~~cii as
               e~7zail} tiettveen the Pari e~. Dui' ng such: perit~t~ cat a F'Ut~cc EI~I~~errr-~r C`onditio~3 as
               cIc:scribed in ihzs subsection, no ~i~n~e~-fcsi-manc~ D~~erz~aination nay iss~ze. A
               t~tonpc~~f~ann~nee D~t~~~minatiaii naav issue, subject. tv all ,tither - i~equ a~einexzts Foz`
               ~t~io~~pe~-fc~rc~ance Detertninatioi~s, after t~lu ~x~iiraiiozi cif~i~~ Iiuridi`cd ttveniY {iZU)
               days, ~ak~s~r~t c~z~itte~i ~g~~ee~nenF ~et~~cen the Parties to extend such period.

            {e}        ~crt-ly ~tcc~ss tv F~irr~lti~~orrx tli KID Spill~vrry R~plrreeriteraF Ti~rrst 13c~;ittni,ag
err Z~7Z. Funds fz~c~ix~ the KDID Spills~,ray Replacement 1"rust i ray be available betcve~n January I,
2(172, and 7~ece~~zbe~'.~ 1, 2I'~5, fcrr ~CS~~I~ 5~i11~3jay Wt~r~C in t11e etFent cif the follawing.~ancl suE~ject
tc~ Section S(a} th~~r~trgl~ (e} exce~5t as ~1rc~vided in ~(c)(ii) beloi~r}:

                  (i):    F'crr-1}~ Ti`e~arrir nr• }~i>~Icxcc~r~r~~iit L3eter-rt3iitc~cl ~>y ttrc~ ~314fR~ C)ircc~tor- vt~
               Dele~ie. A v~~ritten. deteririination by t~je ~NR.C:Dir~~tor or ~ele~~e that ~lesc~'ibes a
               repair or re~~laceinent that is KT)II~ Spillway ~~ork r~as~z~abl~j n~c~ssary to ~er£c~r-ii~
               before 212 , E~ith the engiii~erzng k~asis f'cir such tle.te~~nina#i~ia. Iii advance, cif atiy
               such tleteinainatic~n; the DI~tRC Dtrectt~i~ ai• de~ege~; and Grace sl3ali cc~nfef•, ~nci if,
               during s~ich advance eonFeiz•ing, t ie K ID ciai~t~ safety ~ia~ineez- of recaa~d (or
               ec~uivaie~lt) identifies i~~ ~~r~~ztin~.ar~cl specifically pz'ovitles the ~n~ineering bases far.
               ar~y cc~ticer~~s, tt~eii !tie cletei~ninati~n !roust be'supp~rted 1~y air explanation frairi a
               certified ~rt~fessic?nai en~;i~~eer a~lciressing each of the conc~r~~s icientifiect try tiie
               I~~ID da~~3 safetyr engineer ~f t•ec~rd. Cc~nsitieE~ing the engine~s-ing: infoi-n~ati~n, the
               I)~iRC ~irectc~r or ~ele~ee shall determine ~vl7etller the deseribe~i re~~air car




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                  re~Iaceine~it zs I~DID Spillway Wc~~~k that is ~•~ast~2-~ably ~~~cessary to ~:~ei-forn~ ~~fore
                  2I26; ot=-

                     (ii}   ~r~a~r~e~ic~l Res~c?rrse l~istr•i~trtior~s to the Strrtc~. The State; inay access tl~e
                 Spilliriay Itcplace~Y- ant Ti•t}st for casts tt~ r~spon~t tc~ ot• adcli-ess an en~~i~gen~y,
                 consistent ~uii~i the ~rc~cedi~res a~~ei'sta~~►elar~ls cif.~hc Dar► S~~ety ~-1ct, iYtCA 8~-15-
                 21~ ar any superseding 1a~v. ~+tcihvitlxstandin~ Section. S~d~, na ~dQnperformance
                 Detefzninatian r€~;arti n~ tie emer~eney response at el e`I~DID Spit#u~ay is requited
                 as a prerec~uisi#e for Distriliiitians under fl~is Seetit~ri ~~e}(ii) to the State ~pcci~cally
                 :for and limited to an em~r~~ncy consistenf'~~uith Iv1CA ~5:-15-215:

             ~f}        .F~~cc~r~ll~~eprri~- crrtctPer-iaclic~lce~tiritir ~: Tlt~ Patties anc~ I~L3C ii ~.ist maintain
copies of records ~~~f~~-e~~ce~ in Sect otz 54b}-~d~? i~~clud i~g all a•ec~uests fo~~ Disti~ibutictr~ and
I7 siributic~ns #`ron~ any Financial l~ssurance TruSf and assc~ciat~cl d~cuanentatian, for a pe~~iod cif'
ei~tit ~8~ yea~~s ftsllc~iv n~ such Distribution. Such r~c~rcls refefei ceci ire Sectiran S{l~)-(d} :hall ~e
made: ~vaiiable to'.eitl~er Party ~~rit£iin sixty (6Qj ~3ays af:w~uteri ~ec~r.~~st; (.mace sha31 ~rrari~e C~z• air
a~rival ~tat~tilei~t ~nic~ rp~ratin~ such infc~f~i~~atiori to ~e provicie~i to eaciz Paa~ty by t1~e tt`u~t~e acs ai~
before iV~ay i of the cal~i~da~: yeas• folla~vii~g tl~e yeas cov~red;~iy suc}x statement.

           ~i.      Fin~~2ci~I'~lssur~~c~ -General 'I`erins.

              (a~         Nc~rr-U tplzc{ttiv~r of l~"trar~~trrcr7.~lss~r~~rrrce ~i> t/r L~~ Rec~irYi-errrczjrts. Tl~e ~'~~-ties
~~rish to avciid re~und~ncy to ttie ~i~tfEst e~te~~t ~~c~ssi~Ie, ~v t~otzt defeating the ~t~r~ose of the
~Il~~ver1 Fi~3azlcial tlssuraiice cc~nt~ined herein a~ dec~•easir~~ #lie sct~~3c and value raf the At1Q~~~t
Financial Assui-~i~ce ~a~7~szait~rt~rits< Ttz~ Pa~~ties further`Yeco~ni~e that EP A inay request or reglkire
financial assurance from brace rar ADC ~s park o~"a dz~aft or f nax SPA agreem~~~t, decree csz- ~rcier
~zertaiiiin~ tc~ t.l~e CJU3 rernecty, a~~rl that it is possila~e tl~~t financial assurance fc~x- KIIIL~ CJ&M ~ancllor
I ~3ID Spilt~;vay Vc7ciF~1~ cou~t~ b~ a p~a-t oaf thy: ;ft~~r~cial assurenee re~uesteci. ~r Q-equir~d by ~~/a:.
Accordingly; the following te~-r~~~ apply:

                    (i)    tJptin ~-ec~uest off' eit~ier Party ta. t13~ other: the Parties shall coc~~erate in
                 jointly expressing try EPa iri r~~~itirt~ that they have negotiated t.l~e Surety Bc~~id and
                 financial Assiieance `T`rus~s regarding KI)ID Q&~r1 anti/or KDID Spilhvay Wnr~, that
                 aziec~uately ~~~ovicie .financial assurance z~e~;ardin; K.~ID t~&M ancIf~a~ ~.D~D
                 S~ill~uay V4'ork, e~vitl; tl.~e intent that ESA acce~at as sufficiene the ~ria~icial assurance
                 established iii this agreement fc a• purposes cif €~DII7 U&ICI anti/car KDID ~~ilE~~ay


                     {ii) If a~~cI only i~'EPA so r~quest~ anti ~~e.c~~ai~~~s; t1~e Parties abree that ~,Pt~ in~~
                 be inad~ t~~e p~•iina~y t~eneficiaxy cif`tlxe at~rety Bo~~d uz• rtlet~a3it FinanGial .r~ssurance
                 Trusts estat~lisi~e~i by this $etklement A~r~~m~nt and #fiat, ifsa, the Pa~~ies ~YIII JOIF7II~
                 s~equest that the;State be idenii~eci as ~ secanclary hene~eza~-y of tine Surety Bnnc~ or
                 relevac~# Fir~aiie ai Assurance Tt-ust. The Parties ~~r ll implemc~it tl~~se beneficiaxy
                 tlesi~natie~ns promptly ~~~heri EI'~ agrees to tl3em.

                    (iii} Ta the ~xtelit ghat SPA declines the oppoz~t~nity tc~ become a p~•iin~ry
                 t~ene#`iciary cif the Suret}> Bon~1 or Financial ~ls5urance Trusts, -and requests aid
                 requires, a~ie! a Grace Warty ~i~ovi~I~s, finai3cial assurance for Ki7IL? QB~~vI and/or


                                                              IS
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                KDI.D Spillway ~Vtirk as p~i-t of ari agr~:~i~ie}it, decree, car Qrcier that exceec~~ the value
                alid scope of the Cinancial as~~~~~ance provicieci i~Y it~is Settlen~ez~t A r~ecnent forKDID
                C}&~1 at~cilor Kl~i:~ ~pill~v<t}J WUrk, then .the financial assurance obli~~~ c~i~s fci~•
                ~CDID Q&M andlor K.I)ID Spiii~.~ay Wo~'k; ~~~specti~rely=, shill terz~~inate and the
                balaaice of tale gust sci te~mir~ateci shall b~ retained to ~iace iiilmediatety. Irr s~rch
                c~s~,, Grace shill ~Y•~~rose #}iat ~Y`A ~itai~cial assurance (to tine extent it covei-~ I~I7ID
                ~7c~Nf az-tcilc~r I~~ID SpilltiTay ~~ork r~s~~etivily) desi~i~at~ tt~e S#ate as a secondary
                be~le~cia~~y, ~nct upofa EPA concurrence. sf3a11 inctude the Sta€e. as ~ secondary
                benefcia~y irc such ~P11 financial assuraiiee: The value of fii~a~~cial asstii`ance fcai-
                KDID fJ&P~ consists of~ } average azinu~i p~ymc:~~ts c~~ ~175,OOOlye~x in ~El2l dollars
                fpr 2(3 jrears fcir a ~~t~l of~4:3 nnill on forpre-2f~42 KDID.D&Ivf:(des~ribed in sect"sora
                4(a)); ~i~-~d ii} [en aruivat instatiinents t~italing ~-1.56. iniIiion foY' pt~st-204" I~i~tD
                U~1~I {described in Sectit~i~ ~(b~),.

                     (iv) N~i~v~t}~sta~iding anytlais~g ca Elie c.cintrar~~ I~erc;in, nca financial assurance
                priivicte~l tii~d~i• this Settletrient A re~rric:n~ small to rinat~: by virtue of a Grace Pai-~y
                ne~otiati~~ financial assur~ric~ ~yitt~ EP~-1 f~r~- IlID O~~iI andlar KD1T3 Spill~~sr~y
                ~Vtsrl~ under t~f~n~ ~~valtilitib a lesser val~ie 4~• sct~}~e, ar~~i t~ncier suci~ circurt~stances,
                tt~e financial ~ssuran~e c~bligati~n~ 12erein sl~atl i•etTiain in fi~il f~z~~e anal effect absent
                ~t~rr~itte~x, a r~emenf ft~oni ~1~~ State to #Pie coca#racy.

             (b}        ~}joic~ti~icc cif,L~iittt~t~ 1'~ecc~i~er~x. Iftl~e State obtains Distrit~i3tior~ of T~u~t funds,
it i3iay nat seek tct require a Grace party ~c~ ~erfc~rm or seek: t~ reco~rer tt~e costs. fir ~erfc~r-niance cif
tlie: dame ~~~i~k far- v~hic}i a I3isfri~t~kii~n ti~ra~ rnac~~ in a~cordanee wi#h the pt~r~ose of the Tivst,
~~nless:s~icti fiends leave. ~a~en used ~'ar tixat ~ur~os~, e;Yhaus eci; acid fiietl~er Mork is ~~equ 3•ed,

             {c}       AddiiiQiial Terms ~iovernin~ Boni..

                    (i}    13urac~ Iss~rer~ I~ctlitrg. A,n issuer .of tt~e bonds descrih~d a~c~ve must, at the
                time. cif the ar ginai issuance, ~e x~clude~ an the ~Initeci States '.I're~ssury '~'-list
                (I~e~at~t~~~et~t Gii-~~ilat- S70). If ar~y issuet-'s:,ratin;s leap E~e1o~~ a ratiii~ cif t'~- from
                A.11~: Beni, t~iet~ the bpnrt mush be r~plac~rl b~= Gt•ace tvittjin GO c~a~~s of Gt~ace's receip€.
                of notice of s~ioh a ati~igs i3to~a.

                   {ii} Irtitirrl ~'orrcl ~'ltrrrlrtag. Faiture t~ acq~iire anti maintain ir3itiat siii-ety }~c~nciiri~
                as rc ~i~ir~€3 by this. Se#tlert~e~~t !~~reernen€, after notice and a~~ oppartunit}~ ~o cure,
                ~vitk~in rtin~ty ~9D} days, is a ~rialef~ia7 bieaelx of this Settle~nei~t AgreeF~ie3i€.

             (ei}      ~'e~i-rnninat'iot~ of Cii~ace Financial ~`~ssura~xee Qbligatiar~s_

                    (i)     Tet•r~iiitrrt vrt. If the ~►IQ is f~equi~=e~i to Eye refnc~~.~e~l, stGbstaritaally or
                ~Q;ii~let~ly, ~ti~n G~~~c~'s c~ntinuinb obli~atiot~s fa p~~r~vsde the ~uz~et~ ~3c~zld anti
                ~'~-ust~ l~ereuritiei• till iznn3ediatcty tet~~zinate ~i~d aF~j~ funds pf-ar~ided by Grace to any:
                Fi~r~~ieial Assurance 7'iust }iereunder 4uit1 be retur7led ley tt~e tiustee fr4in t ie Trusi to
                ~ra~e in i`utl, inelurling any interest e~riiin~s and return on investment, if any, tlieil
                k~~ld in su~t~ Tz-u~t. -The tennii~a~i4zi of any_F~i~~anci~l Assurane~ Tnrst or surety Boni
                iii accordance tivitll this stirbsectiat; 6{tl~(i} sha(1 have: nc~ e(`fect ors G~•ace's payi~~~f~t
                obl aticans in section S l~e~-ein.


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                     (ii) S'trite C`or~si-ittutiiJE I~olc~. N~€t~ii~~; its this Settienient Agreer~lent still lii~lit
                 t~~G Stafe's participatit~n iii a ~:o~ siilt~itive role ~~rith EPA rc~;ardi~7~ OU3 to Life extent
                 pa~avided by Ia~v;

                    {iii} C~'P~Ir1's~ 1?1; 'i`he Mate preserves L~l~ateve~- }-igtits it in~y }gave ~iui~uant
                 to Section 1? 1 ~f~ER.C~.A ~s in ef~`ect on the S~tttei~~en~ A~~•eement f£ecti~ve Date,.
                 the exercise cif w~~icl~; y) s~ial! Piave no beari~~g on the rights and cibli~ations of the
                 ~'artie~, ~~ce~7ti as pxovided in Section 6(c[), aaic! L} sE~aEI not gi~re rise to any'~laii~~ oi~
                 cause ~i aetian by the State against Grace ~'acties. Grace Parties reserve all of their
                 ri~;iats and defe7~~~s.

            {~)      C~~ssrrtiot oj~Grcice: If at a~iy time aftez~ -the Settlen~~ait ~greei~ie~~t Effective
Date, brace<{aizcl a~~y ~~~~~•geci ter st{ccessoi• ~ntit}f t}~at ~ssu~~~es Grace's obii~atiar~s tc~ the State
tie~-eund~r} cases Yo exist cir #azls to ccintiriu~ to o~~raf~ a5 a going cai3c~1`n; iEpon nonce tli~reoF,
ace~Ynpaniecl by dc~ciinaentati~z~ c~F the Basis fai• t~~e i3otice, to t}~e trustee(s~ and s~u•eties of t~~e
Financial Assiirunce Trusts anrtlor ~ ~rety Bt~ndg est~blisl3ed ~ieaeunclera al! scicl~ Trusts ~nrl Sut•ety
F3ancls shall inure coin;3letely ~o t~ie'~enefit flftl e Mate far use for tf~e T1~ust purpt~s~s and i a}r is
accessE ~ lay the State cc~z~sisfe~at «pith Section 5 (l~.ccess to Trust Funds}, ~~.}# i~~itixcsut. ~ rerec~c~is to
fc~r ~ I~onperfana~ance Det~ri~~ini~tioi~:

            (f~~`     tlto CJtl~ej• C'lcrr'itts fc s~ Firtrrrrcirrl ~ss~rr•crric~. Thy State agt~ees that in
consideratinn ~f tl~e ~S.11~r~~ed ~iz~~tz;vial Assurazice prodded hez~eir~, :the State sl~ali lave n~ ~lain~is
ter causes of actic~~i of any tune ~g~iz~t a Gy-ace ~'~rty for ~r~an~ial assu~•a~ice izi connection ~vz#~i
KDID C~~~I oi; KI~I~ Spill vay Work.

              (~;~      Ef~~ct r~j`',~' ~ter7~ciccl ~ss~rrcrr~ce. Neit~~e~• the provision ~~ the Allt~~~eci ~'~nancial
Assuraric~; rior any tern~inatzan therec~f~~~z•s~iant to Seckion b(d)(i};shill er.pand, lizx~ t, ar attxen~vis~
affect any obli~atic~~is, ~•i~hts, ~sz~ rexnetiies Gracz~ Pa Eies ~nA~r ~r i~~ay nat Piave ~.~ritli aspect to (~?~13
nc~~~ sir in the future, excepC';Co est~biislz by;a~reerri~~it the Qi~ly ~s~azi~iai ass~~ranc~ tip t ie ~~ate ~'or
I~DID C)I~i,~i aid KDII1 Spillti~ray ~~f'ork. ~xcc~if as expressly provi~le~i iii This Settten~ent
.~~reement, tl~~ ~rcivisic~i~ ~ffrnanciat ass~ia~ance liereia3 shall zxcit altez~ cir li~~iit ttie x•~~ulatoz~y gr~~vers
rights; or r~riieeli~:s otI-~~t~wise avaitabte ~c~ tl~~ State:

                 (i~)     ~c~tcrs.troplric F`cr~~'tr~•~ I.'ese~-~~ntr~r2. Thc: State reserves ct~m~ leteiy anal v~ th4ut
tia~3itafiic~t~ ~,vhatsacver, anc~ does not release iii ariy ~aay, airy claims or causes of actian t~f'a~iy kind
that it inayliave aris:in~ gut of flr in ct~r~ecYiaz~ ~arit}~ the ~ccurre~~ce oC a future ~pc~st-A,~~t't~yat
C?rtler~ catastrap~ic failure cif the..~DID far its integral campr~l~enfs thai results ifi: a subsf~ntial €~i~
com~alet~ failure o£ tlae KDIL3 stn~cEure and the ~iQ~~rnstrearzl r~iigratio~~ below the current location
cif the Mill Prand o~~ a~~ubstantiat ~iiirtic~ai of itn~~~undecl taiIiligs. The parties agree t]»t such aboi~e=
desc~~ii~ecl catascrophii :faiiur~ off` the I~DID Qr its ii~te~ral cQm~anents does nest describe any
cc~riditicir~s pi-esezat as-cif t~~e Settlement t~.~;reeznent effective Date.

             (i}        +Grace IleseriTctli~l~~. Grace reserves c~~n~aletety and bvithc~ut li i3 tati~n
4~rhatsaever ~#11 of its- ri~,hts, clair~is cQunttr-claims, and ci~fenses as to any r~servec~ Mate claim or
pause cif ~ctic~n:

         7      ~esalutioai of ~~IQa~tana Claim for Contin e~3t C~:RCL,~', £3U3 hosts. The
 Parties acknc~~viedge that ndef- S~ctian 1{}4(c)(3} of GEFZCLf1, 42 LT.S.G. ~ 9G04~c}(~i), before


                                                           17
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 EPA can in~~lein~rit an SPA-sr;lccfecl re~a~edial actiois at a ~ER~LA site usi~z~ feci~ral Su~~e~~fttn~i
 ~~ioney, ii~ro coriditic~ns must be i~iet~ u~ni~ request try EPA; {1}tae State n~~:st a~r~~ tci day 1C1°!o of
 fire casts of tE~e SPA se(e~ted remedial ~ctica~~ costs (tl~e "1 ~?"/~ C't~sfi Shane");and {2) the State naiist
 ag~•ee to ~~y 1(1fl%o nf`t13~ host=remedy n~~:ration anci z~~~inte~ia►~c~ ccasta t31~t are.cies~ribe€~ in the
 ~~'A kecord of Decisit~i~ {"~'ost-Refi edv C)8cA1i hosts"}.

              ~a}     'I'o prnv.ide fob- tine cc~z;tin~;er~cy under ~~rhich 1I~e State agrees tt~ pay tl1~ IU%o
host Snare anti the Fast-Itei~iee~y D&tit ~'c~sts for E3U3 for the purpose of enabling EPfI
i pieine[rtati~n of ari EPA-sele~.t~d t~e eclial a~ti~~~ at (JU3, clue Settlei~~ent ~l~r•ee~neni prc~~ides
fof• an ``~llt~~~~d Ccintin~ea~t'Q~.J3 Mate share Clain2°' as defined bela~af in this S~ctiari `]..

                    Vii}      "All~Eve~l Cc~nting~ent (3U3 State Share C is n~" shat'. nZeai~ t3~~ l OGfu Cost
                S~~are -for C3~3~ Itetiledy and. l Q~% of tl~~ Fost-RezYietiy a&~1 ~~sis fog- OU3, in c~c~
                cage s~zbject tt~ aiiy ri~►tts to ~halles~ e EPA's incuri•~n~~ ar iriipositioi~ af'ati~~ stack:
                ce~sts; and any G~~ace ~ai~ti~s' ri~tits; claims, ci~untei•-claims, a~~ci. tlef~n~es.
                iV~L)t4Y1~I15t7I3t~113~ the foregain~ sentence, ct~e Eilita~vecl Cai~iin~~zit t~~3 State share
                ~laitn does riot include clait~ls f<~r'~C~I.D C)8cPv1 and KDII~ Spiil~vay ~4~o~~k that fa11
                ~~jitlti~t rite ~1'~-usts' purp~s~s as sc~ fortis above.

                    iii) }~.lthau~h tl~e Allaeve;d ~antii~~~nt UU3 State Sliai•e Claim rer~~aiz~~; a
                c~antir gent cl~i~n t~iat is fiat no~v lic~iiidated, it is "1~.11oived" iii the ~e~~se that Grace:.
                ~} is ~vaivirig ~t~y ri lls to recjuire .the present 1ic~uitiat ozi t~f suc11 Clairi~; and y~ is
                agreeing aild ~tig~ilatcs thafi the ciischa~~~e sef forth iii I l U.S;~: § f 1 ~ 1, the P1a~~, ~s~d
                ttie Ct~~i~f-rnation Order s~iall not-apply to any !~1(o~veci ~ontir}~ei~t OU3 ~ataie S~tar~
                Claim< l~fnnet~ieless, in connection ivitl~ any State asse~~zoz~ of an_y ci~i`trsY yr cattier
                right tc~ relief abainst a ~r-~ce l'az-ty, tine E'a~ties a;ree that t e~uriscCict on of any court
                or adjudicative t~oc~y ci~Ter lic~c~itlati~n cif the AIl6~~~ed Contii~~ent O'E;I3 Mate Sl~~re
                ~lait~n, should li~u.irlatit~ix ~vei• be sou~l~t, is i~oE cteter~nined key this Set ler~~ent
                A;re ~nenY; an~i, except as expi~essiy ~vai~eci in the ~recec~ n~ sente~~ce, t~~e Parties,
                fc~r iheinselv~s anti at1 Grace Parties, reserve and a~etai~i all af' their rights, claims,
                itiur~te3~-cia rris, and t1~F~~a~es .~-~gat-din~ i) jui~s~liction, iii} Iiquidatinn =anc~ iii}
                f-ennov~~ of c~ntin~en~ies as to tl~e A[las~red C~i~tin~~nt 4T.13 Mate Share ~Iairr~. [n
                a~iclition, Grace ~'as-ties t'eserve all ~-i~3~ts, crass;is, counter-Maims, anti clefet~ses.
                relating t~ Evheti~~~- rise AIIa~~~ed ~o~atinaent ~JU3 ~tat~ S3~~re Clairr~ is capped at ~~U:
                iT11~~iOTi.


             (b)      The P~1-tie~ agree [hat tiie Allowed Cc~ntingetlt C7L'3 State Share Ciainx c4uid
 arise only if EPA itself u~er~ tc~ ca~~scn~ct tl}e sel~cterl C~U3 ren~edi~~l ~~:titin i2sin~ fe~le~~al Su~et•fu~~d
 mar~ey-and ttY~ Slate were tc~. provide to EP~1 tale t~ec~r~isite agreenxen~S ut~de~-42 U:S.C- y ~6Q4{~)(3).
 Tlie Parties agree that i~eitlx~~- such event has oceurrecl as of't7te Sc;ttEcment ~~ceement Effective
.Date.

             (c)      I~I~i Grace Party steal! ~e fiable tc~ pay, car inc~emni#~y the Staf~ far; any annrar.tnt if
ttie State I~as received paynnent from at~y other ~ocirce for tEie Allar~ved Cc~a~fi~~gent QU3 State Share
Clain.
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          8:       t'dafu~•~I Resaurcc Darn~~es.

                (a},       ~C.~rae~ shat[ ~rc~vic~c a tot~I of $1~.5 i~~iltio~~ ;~"I~IRD ~iznds") ic} pa}rriacnts to t1~e
I~iRD~ in n series cif i istalli~ients. The first payn~~r►t of ~S ~~iilli~n will. b~ laid ~vithi~~ 180 days of
tl~e Seitlemc;nt .Agreerrient effective Date, Sx4Fithout irit~rest being clit~: Tile re~a3~zniti~; batarice o
  13.x; ~~nillic~n will vicar interest at a rate of ~.I9°lo .per a~~3uc~ (beginning on the Settlement
.Agrez~~~ent Effective Date}, end sizail b~ paid to NRT3P aia iii ie {9) a~~nual`insT~lliiYents of $1.S
i~~'rlli~sii plus in~ec~est ~~iitll tl~e ~rs~ installment paid within one (I.) year of tlxe Settte~ent A~r~enxent
Eff"e~tive Date: Tl~ese.paytnents constit~ite c;ai~sicieratiQn f~i- the State's a~r~ernen~, as to t(~e Grad
Parties, tt~ z~eteas~ its interests in NRD claiai~s anci fiitiy ai d filially t•e~olve ~I'~tl~ clai~~~s ley the Stag
as ~~re~videcl its ~~c~ioa~s 9{a) and 9(b}{ii} ~ierein.

               (b)       Priytrr~rit~rrstr~arct~arrs, .E~ II payments made ~c~. t ie State pursuant to Section Sija)
cif thrs Setfteine~rk ~.~;rceiner~t, i~iclu~lir~g interest, shall ~e ~~zade by .electrcrtiic funds transfer iz~
a~corc3arie~; tivith ii~sti~uctions iri Ex~iibit F (state ~~Ticiiib Instructians~. Grace sl~atl caratact the ~~~ief
Financial t~f~cer af. tl~e Cezitra~ Services L3ivision of the ;Iv1o~1#ana Uepar~~ient af: Iustice
{dt~ja~ci~~mtar~ts~i~if ~ov~:~~ least ~$ l~r~it~•s pz•zcir tc~ izt tiati~~g a transfer tti ~ravzde notice of tlzc ciafe,
t a~tc; arit~ asiaount c~f'~h~:ex~ecte~i:irarisferr Grace must<e:opy h~ NRDP at :the e~rnail a~Idr~sses
pruuicler3 in Secti~ii t3 ~Notice~ I~tIZD~' shall deposit the p~y~rienfs recei~~ed; attd aii~ subse~uetlt
interest: and eat7~ii~gs; into ~ Stafe s~cc~l rever~u~ ftt~d {z~on-buclgetecl)` to b~ ~st~l~lis~ed iii...
~ccordancc: ~x~ith Sc~fxs~n 1'~-2-102~1~(t~~{~, ivICA:

                     Vii)     This account shall be ci~erate~i and maint~ine~i by the I~iRT31' as set fc rtEi iri
                 f is Settlement A~reei~~efit~ A3c~ pt~rtiozi of fire amounts c ~positec~ ui~d~r kris
                 S~tclen ent ~.~ree~i~ent,, or .any interest `ar ~~rnings thereon, is to fie, tr~atect as State
                 Geii~ral Fund it~at~r }r, nar is aria portion to Eye caz~~>erted oa~ ~ransfe~-red ~c~ the Mate
                 ~area~et•a1 ~uncl or zany rather find. The monies paid to t}~e ~tat~;. and the interest anc~
                 e~-nings thereon, s1~alI be availaE~le o~zty far t~~e putpos~~ describ~.ci in this ~etilem~i~t
                 ~~reernent and -far no i~tl~e~~ ~3urpc~se.

                   {ii) any payments c-eceivcd by tl~~ Stale after X4:00 ~3~i ~vtnut~tain Stanc~~t~~l ~`itnt:
                s~iall be cre~titeci r~ti f~ae next- busiziess I~ay.

              (c}      The funds in the ~il~c~ve-descritaed accdunC and ilie intef-~~t as~ct;ea~ni€ids tliere~n
,small b~ used safely to restare, replace; ~~e}~aliilitafe; pi' acc}ui~L the et~t~ivaleiit cif`injured zl~tural
 resources end s~~-vices in cix related to ~U3 cir the.- LincaIn County area, ai d su~i~ort't~i~refoa';
  ncluciin~; costs far State. .restoratit~n filar c~eveio~a~i~ent az~ci mpiernentation,; and a ~rnin strati~~e
 ~i~ag~~ain, legit, technical= anc3 alt other related casts,. to the extent 1a ~vfiit ts~gder ~ER.CLA or
 CECRA; which slaall;not be fi~t-ttaer recoverable fi-~m Grae~ Parttes.

               (cl}      The r~p~rt entitled ~lle~ecf Irrjtrry nr2cl .C:~:a~rrpler of 1Zestarfiti~r~ t~~t~r~ii.~ tci
.~t~1r~ress ,~1legecl State lv'l to t~L'3 is attac~ied as ~~ibit E.. - The Parties a~re~ that #1~e ~iet7e.fits
 froiiY projects sini'iiar tt~ the exe~nptary projects identified in ttie report are intended and anticipated
 tca provide natural resaurLe_anc# offer benefits in ~U3 az~d etse~vh~re i~~ tt7e general vzc niky; E~hibif
 E t~eseribes klxe zlature of tine allebed injuries, types car examples of potentzai resisaratioz~ ~az•Qje~t~,
criteria f"or selecting prt~je~ts, anal the types off' ecological values to be provided. ThG restflratio~~
projects to Eye in~~Iem~nteti ~v tai the NFZ~Q Funds should ~r~~ de substantial aquatic; riparian, and



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terrestrial ecningicai se~~~rices. tip zctdition, the ~~`c~ject~ should enhance reereatic~r~ and Thus prravicle
hu~~x~ra use ~ienefits.

              (~;)      T~~e Stag has nat conducted a natuz•aE i•esc~urce danna~e assessment at Elie Libby
Asbes[t~s Superfurict Site, but it leas been at~l~ tc~ ~oz-~~i a positicin on I~RD suf`ficieni to resolve the
matter usin available n.f'cinz~ation and tlae data dev~it~ped during t~~e RUFS: Tlie P~rtiestaeiieve
that i}xe i~~fpn3iatinia ~~therect indicates ttaat the settlem~iit amou~~t. is s~:ffzcieiit to restore;: replace;
~~ehabilifiate, anti/ar aec~ui~~e the equivalent ~ inju.rez~ ii~t~yral resources under-the State's tc~i~ste~shi~~,
end tlierefare wilt coi ~~ensate tl~e j~ut~lic for the State's claim ft~i~ alleges in~tiries tti t~atura~
resau.i~ces a'esutticlg ~"rozn tl~c zel~:ase ofhazardous sut~stances. 'The ~'a~~ties fur~~~er sei~t~latz -that they:
t~~lieve that ~Eie settl~zneni is a coin~ranlise and: cnnst tutu a. final, ~ai~~, anti x~easaii~t~l~ resoli~ti~n
of all aft~ie Sta~e.'s ;~dRD ~t~ims, past, present, an~i future; a;ai~lsf Cr~~ace; and is i~~ the put~~ie: intet•cst
anct ct~nsistent ~~ritl3 CEIZCL~ ar►d CECRt1.

            (f~::     Tl~e Stag ca~i7~nits io ~~r ci~~itize prci~jects at sites ~~ thin Lincalra County; subject.
to the°State's ~~equi~~ed aciit inistraiii~e decision-making processes.

            {j         Irra~alenier~tcrtirm_ Restc~ratiori prc~j~cts i~Y €JtJ3 ~~e ~ut~j~et tv tl3e foi~t~~~ing:

                   {i~     Des~bn and cor3structton of any:restoratac~~~ p~~c~jects ~~ C~t:T3, if any; may not'.:
                begin unfit EI'A has c~i-izfed cs~rript~tic~n a~'all reirtedial action cc~nstriiction iti ~.U3,
                e:~~~pt fir prr~jects tIi~t tt~e St~t~, EPA,. and a Grace T'~rty agree t~ inte~f•atc i~ith
                reiriedia! action.. Initial rest4i~ation ptaz~z~ ng ~t~ay begin eas•lier,

                   (ii) l~Ib restoration project irz OI13 rrta~r f~tnder, int~~•~'ere ~r~ith, ~due~-sely iin~~act,
                or ir~creast, in any tivay, tl~e cast (iz~ctudirig ap~ratian and mairieenai~ce cosh) csf any
                remedial action i~Jc~rk c~i~ structure, KD~IL7 ~? t!~I, tl~e, K~3ID Spzll gay, ar~ mine
                reciaz-~iaticiii ~ctivitii:s iii t~U3,

                    (iii} 1'~o r~stcrratian ~raject in C?U3 tYZ~ty binder, intez~fere t~uith, c~~• ac~verseiy
                 iiip~cf rase; acid ei~jc~ymenk of.C~U3 px•~~~i~y, a~i~l

                   (ivy As tc~ z~estc~~~atian ivarlc t}~at is nc~t in OI13, Eris ~etlle nez~t .Agreenietit sllati
                ai~t littiit wL~atever rights the State tnay Have tb cflne~uct ~tzcilai• iinpiezz ent such ~~~ork:

             {h)     'T"tie "Aliotiv~rl s~~ah~ral Resource ~3~ti~a~es Claim°' ct~t~sists of the I~dRI7 Finds
to be. pail i~n~er Secticin 8(a}).

               (i~`       Stipulated Penalty for Fail~~~~~ tti i`vlatce Se.,tzp~~ 8(~~ Payments: If Grace
breaclxes t ie payn~etit o6li~afioi~s i~~ Section 8(a}, oxen G~ac~ s~3~s1t ~~ay, as a stipulated penalty, in
actditir~ii to t ie i iEei~est rec~uirerl by SectiaFi 8{a~, p~~~alties iii ilie ~mou~zt ~f ~~,OQO per ~~y fc~r the
I sl tl~rc~~rgh l~tlt clay Qf ~uc1~► t~reach, X6,500 peg` clay ft~r t~~~ I ~~1~ ttu'au~l~ 30th day of such breach;
~8,5~€~ per Clay for ~13e 31si ~iay cif such k~react~ oriel i~eyond for so long as payment of ail ainc~uaits
clue u;~tie~• Section S(a) and 8(i} aF-c unpaid. If' the state prevails ire: a~i action tc~ enforce this
~eCtlert~~nt ,Agi`een3eil~ foi~ #txe ki~~ez~ch of tl~e p~y~i~ent c~blig~t"tons in Sectio~i ~(a) ~~1ct 8{i); the State
(ancl t~iily the Suite) sl~atl be ~ei~i~bursec~ by Grace. fc~i- alb costs ai d expenses assc~ciatcci w i[ such
claim, i~icli dingy att~irt3ey!'s time a~~d fees. Tl~e stip~.~lated ~~exialties cjnder this Section S(i} slat~ll ~e
in aciciition is any other ret~~eciies avazla(~1e tc~ t13e State.


                                                         7Q
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         9.           Se~~flcnxet~t.

              (a~       Iii ct~nsicler~tic~n of tl~e actin;is ~ertornaed and #a b~ }~erfoi~z~ed by the Forties
~inc~ file fun~li~~ ~3~~~ivicted and tca b~ ~raviilecl ~y Grace as d~scrit~ec~ liet~ein, the Parties agree t~aat,
upon the Scttlei~~enl fi.greenient effective Date:

                       {i~    T3ie State shall be deez~aeti to lave the A11~1vetl- State Cl~ini u~icie~~ the Plan
                    in fu11 and ca~n~letc satisfaction t~f #t~~ Stag Clain,

                   (xi} The Allowec! State ~;tai~n is an .Allozvecl,Enviriinnietital Claia~3; as the Piar~
                defitzes that term;

                      viii)   The State Maim is disalio~v~~ i~~ alt atl~er r~spec:ts;

                        (iv} The State liar i~o ~~emaanii~~, and shad lave »~ other, Clazzn its Etas CIra~ater
                    I 1 Cases; arici

                    (v)    Tl~e State Clai.t~~ and ~tiy az~t1 alI t~flier Clais~~s of tl~e Slate (~~fliicl~-.far the
                av~iicianee of c3aubt ar•e claims-that ~vere:or coitici hate been ~sseriecl in the Ch~~itei•
                1 l Cases az~e disc~~~rg~d, ba~~reci, and etijflinecl pursua~~t to the Plan, the Gonfismation
                t~rdea-, 11 U.S.C. x_524; at~t~i 1 i LJ.S,~. ~ 114I in ex~~~an~e far. ft~e Alin~ved State.
                Nairn.

              (b)         Couen~nts loot tc~ S~i~:

                    {i)     State's Cav~.nant i+ia~: tci Sinew E:~cept as reserved in t~ze ~ta~e Reserved
                Rigl-~is, tl3e Stzte is fnreve~• ba~-r~d, estopped, and enjr~anet~ frt~rrt a~serttng any causes
                ref actir~~i or ~'elicf against Elie .eor~lF~izeet Debtors under. GECRA; G~RCLA, atty
                catl~er sta~.it~, comt~lon l~~v, or and catl~er th~ax~r cif liabilify aris.iiyn frt~nt a~• r~latetl to
                releases, it~reatened releases; or n~igratic~~~ of hazardous or deleterious sut~st~r~G~s;
                pollutant~sa c~7` cvzztai~liixant~ at or' £'rom .the ~,ib~y ~s~esfcas Su~ei~func~ Site. ~'he
                ~re~eciin~; sentence dots not bar, ~stc~p, or enjo ~i Stafie caia~es +~f ~etic~n ni- z~~Ii~f:

                          (x} ~'c~r a release t~f a I~azardous substance o~~ solid waste i~~sul~tzng fz~citlz
                          Re€~rga~ti~ed l~ef~#ors' ciperati[~n of ariy poi~Ei~in of the_ Libby Asbestas
                          Superiund Site; oi° fi~a~n tll~ i• ransport~~iaz~; tr~at~ie~~t, storage; ~z° tiis~~osat~ or
                          the arranben~en~ fc~i-- the traizspcirtatic~n, h-eain~erit storage, oi` ~isp~sat, t~f ~
                          Hazardous su~istai~ce cii~ m solid ~~aste at or from the Libby Asbestos Su~erfund
                          Site after the_Settlement r~~reemeni ~l~ective Date (except, for rnacl, darn, ter
                          mine tnaii~tenatace, forast mana~enYeni, car similar prc~~ierty tZ~an~~e~tie~at
                          activities, eaL}i in c~tY~~ltat-►~e ~vitit ~•e;uiatoi`y ~egtzirei~3ents, ar as provided try
                          any SPA R~cgrd of Dccisic~n oi• .~iT3~e~': final ~~"A decision tl~~uznez~i; or in
                          ~;n~i~~~liance i~~ith airy ad~ninisfrative order, setttet~~enT a~;~'e~~n~i~t, t3i~-eeti~~e,
                          so~~emn~ental p~rsnit, ox- gaver:~cment aFPrc~val, ~•es~ectively, by SPA oi~ tli~
                          State}; Qr




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                         {Y) aa~isit~g fi~~t-t~ the disposal t~~• reie~se ot- threat- cif relc~,se of a I~a~ardt~u~
                         substance, pcill~itant, or ct~nta~zniriant outside of the ~ibby Asbestos Siiperfui~~3
                         Site.

                    iii) State's Coven~r~t blot to due foi- ~RI7 Claim. The SEate is forgiver barred,
                estapped, ac~cl enja Pied fi-oiil assertiri~ az y atici tionat NR.D claims; end dill ncit
                ptirst~e any other or additional N~tD elaims; against Gr~ice Parties ~t. oz`~-el~tii~ tc~ tlxe
                Libt~y Asbestos. S~iperfund bite; excepti ,~s r~s~r-v~ci in S~atinn G(It}{Cat~straphic
                F`~ilttre Resei-vatioii}.

                    (iii} Effect rif .Reot,~„nizect T3ebtors Su tip: the State of I1~~iitana. If ttte
                Resrganized T)~htors;~ue t}ze State of ~,~Iontana for any claim az• liability arising frc~nl
                oz- related to'rel~ases, #I~rcafened r~leas~s, or tnigratinii of hazazdc~t~s<c~t' ticiec~rious
                sut~sta~ices; ~ollutants~ or eonta~ninants of or fi~on~ tl~e Libtay A~k~estos Sup~rfu~~c~ Site,.
                then notivit~~~tazlc~iii~ ~nythi~~g its t}ie contrary its sect on.:~{b}(i~, t}ae Mate resez-ves
                cam~~let~ly anct zvitli~aut li~n.itatian ~vlia€soever ill ~~its ri hts, ciazms, ct~u~iter-el~in~st
                ~ncl defenses sus io any such claim brouglit`hy Grace against tt e 5t~te: ~totl~ing iz~ this
                S~~tic,n 9(b)(iiz~ alters. nz- afi'ects tl~e respective .rights Uf the Parties tee enforce tEie
                terms of this Set~te~~x~nt Agreement ar ~Trztlz zesp~ct t~. tt~e ri~~its i~e~et-ved in ~ectic~n
                ~(It).
              (c}      Notl~in~ in this Settl~zncz~t Ag~~eemeiit clues ar is intended tcs revive cir rric~~tify
the }~ric~- disallo~v~n~e or ~xpungeinez~t ~f certain Stag; Clazi-~~:~ {~.~., ,ree ML)E.Q 2D08 Order and:
I~IDEQ 2008 ~tipulatio~i); car e1trriin~t~ ter ditriinish tl~e efficacy a tl~e Reor~~~nizeci Qebt~rs'
dise~la~.~e iz~ju~action ~~~-itix ~=es~ecc tlae~•et~r._ T1~e treatment prcavided in this Settlement A ~~eezz~e~~t
with: re5pect.ta the .AliQt~i~d St€►te Claim shall lie in lieu ~~any treacme~~t pravidecl ~nt~e~- t1~e Plan
~vitli res~sect to the AIIc~~ved State ~Iaiti~.

             {ci)      i~o€hirig iii. this Settlement .~:~°eemei-~t s~~lt t`clease oi: ciischar~e the Stake
R~se.rvc:cl Rz,~hts or the rights set forth z~~ Scctiar~ 9(6)(ii ), acid foi~ #l;e a~oid.arice of cioi~bz, tt ~
reservations iii t13e S€ate Reseiv~d Ri~1~ts and Section 9(b}(iii} rho z~tot ~:c~nstituie dis~har~;eri Claims,.

              {e}      The ciaiins dentifie i itl xl~it~it H are . Ito laa~get• ~en~i n~ a ainst t~t~
Reo~-~~nizecl Debtors, a~7ii tl~e SettteE~3ent A~~•eer~~ent does Welt sjlted t1~e ~'far~'s ti~eatrY~en# pf, ar
cicl~ei~vise ~Ffect, those ct~i~ns.

          IQ.      Other Costs under the Il~eniarat~cttrnY of Aareer~~~nt,

              (a)       As of the dafie a#` it~~s S~ftlem:ent Agc~ee~Yi~nt, Grace li.as reimbi~rseci i~ie 5~ate,
~ctrsuant to a 20?~ ivlernorandum of ~-1~ree~ner~t {``t~1C?A."), fot- approxiinatel}r X1,000,000.
1Zeim~urse~nent of documented State costs piirs~.xant tc~-that t'~C?A is p~irt cif the: ovei-ail value fa the
Siatc uncler~ this Sett(e~ner~t Agreen~~nt. tJn~er ibis Settlex~lent A~ieement; with tx f~Q dayls t~~receipt
cif an invoice fo~~ the fc~lloG;~ing Gz~~ce will reirriburs~: a} f«rther futc~.re cysts pu~~suant to the i~~O,A
(including those incurred after t~pril 2t32Z and atl ~r~~~ rusty re~ectctl invoices r~r poi~tians of
i~tvaices and invoice items #'i•c~zn the date tt~'tEte tLIC3ia to tl~e S~ttt~znei~t ~greem~n# Effective elate}$
and b~ rei~nbu~~se t'i~lly tl~e un~aait~ 25°/u t~f'csasts s~it~mitted pF~eviously: end in xhe fu~.zre ~3ut-suazai tt~
ttie Iv1{)A, until ih~: Seale;Went Agrce~neni Ef£ecTi~~e Date. Noteitltstanding anytliin~ tip the contrary
Mated iii this ~aragra~~l~ 03- the: NiOA, the ebst reirr►~urseiiie~~t~.~~uasuant tci t1~e M(~A shalt ~~ot eXceecl


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a cumulative tcstal of ~I,SDO;Ot~O, and the State small nc~i subt~~it irivaices to Grzice after tale
Settle~n~;nt Agreement ~tfe~ti~~e late. U~}aii ~a~ment lay Grace of invoices subaz~itte~ ~~irsuaG~;t to
t~~~ MO~1 on ot~ hef~~re tie SetticineiSt Agreer~i~ixf ~ffec~ ve date up tci a tna~;iinuin ctitnulative totat
u~lcle~- tl~c MOB of I,Sf}Q,Q00 paid tee the State, rl~e I~iC~A shall ter~~iinate.

            11.      Cnc~peration in I~nple~ent~ta4ii end Distziite Res+~liition.

             (a)       I'h~ Parties a ree that each E:~c~uld benefit f o~n a ~ooper•ati~r~ and colta~c~ratiue
«ranking relationship and will encleavot- tc~ jointly dete~7ai i~r: gays that this mi~hC Eye aceoi~iplislled
in the fiziure. Tl~e Parties agree- that i2 -may ~S~ r~easotiable aricl ~ppro~riaie to ~ched~zlc ~i~r c~die
niectings between tix~ p~:~ties to discuss the impiementati~n of iltis Settl~i3i~iit Agreem~nt~ ~~°llicIi
eilhe~- Party i~1ay z~eque~i;

              (b)      Tile Pa~fiies agree that, except`in un:it~ue or c:xi~ent ciictr~nstat~ces that :~~ake it
in~pr~cticakt(e or i~tipossztil~ to dci sb, prior"~o fling a la~~suit or otlle:i-~uise seeing judicial r~vie~~v
cif t3iis Settlement A~~~~e~n~nf, ~~ritie~~ nc~ icy sliail b~ p~~ovidec~ . tt3at iden~:i~es ttYe disp~ite anc~
rec~uestec~ t~esalut on. t~iaiy dispute ~.~;ard n~ tE~ s Settlement Agre~nYeni pr its inplementaticat~ shall
in the first instance be fhe subject of inform~l.negotiat ons he~vee~~ t1~e.Parties; iaicl~iclin~ elevation
tc~ the tnacia~e3~ietaE:levels oftlte ~~~s~ective Parties. The ~'arti~s ~4ree tt~ cansitler of the tune ~~hett~er
t(1e clis~~ute is amenable to x•~solut can thra~.~~h mediation or ci[~er ~iternatrvc dispute resolution
znechat~isms;

            12.      Itepresentat~ons an~i'4~'arranties,

             {a?      Eac~i iintiei~s.i~ne~i ~~Epreseritative of a Part}~ ce~`tifie~ tli~t sire or lie is fit31y
aulhoz~izeci t~ inter icito ~he:t~ rms end cc~iiditians of'this Set#le n~nt Agee;iient and to ex~eute anc~
le~aliy ~ii~d such Party to this S~ftieia~ent A~re~ixaeni.

              (b;)   TI'►~ State re~res~nt~ and ~=iai-~°ants- that i) i€ has full authc~~~ity ta'erite~- into tl-~is
Settlei77e~~t A;~~e~menf; and ii} t1~e State has- not stile, transferred, or` assi~neci the State Claiiu to any
oihe~- persan or entity:

             (c)      Grace.. represents. ar~d ~~ai~~ants that i~ it tras full ~uth~rity tc~ enter- into- this
Setticii7ent ~hgreerztent; az~d iz~ Grace has clot sold, t3~ansfert-e~i, or assi~neti any rights car ol~l fat Q~zs
estal~lishe~i by the Settlement A~n~eement.

              (cl)      This Settict~~ent A~reej~zer►t is stalely on Ia~hal~' cif the State ~n~i tl~c~ Grace
Ya~-ties.

         13.      Nance: Each nofice and atl~er cc~~ninunicatic~ri ~~equirec! hereuFider ~,v it tie in ~vriti~i~
 anti viii be sent by email and ~itlier: deliv~~~ecl in person; sent by certified ri~aiI, r~tr~rn iec;eipt
 regt~es[ed; o~° de3ivered ~ y a ~•eco~n ~eci ~Ielivei•y service tivitl~ acknai~ri~dgement 4f s-eceipt, attci
 will ~e deenicci tU l~av~ been gzven tan tl~e date cif its deliveryr, if mailed to eael~ of -the Pai~ies




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thereto at the fali~ti~ting r~spevtiv~ acicla~esses or such other address ~s inay be speci~ect irz any.
notice delsvered ar ~naileci as set fc~~~tl~ be(ci~v;

        GRF1C~

        Vt~. R. Gr<~ce ~: Co.
        7500 Grace D~~ive
        Cc~ltt~~ibi~ MD 21044
        At~e~~tion. General ~c~~~nsel


        KDC

        Kootenai Devetopinent Campany
        7500 Grace Drive
        Col~imbia 1u1D 2l OQ4
        attention; Rexi~e~:lzativn Manager
        Pvick,Rt~i~~es~ri«~i~ztce.~o3~~

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        STATE.

        i~ic~z~~~aia De~az~ment of Environmental (Quality
        PC} Box 204~~01
        Hel~~~a, IVIT 59b2~-0901

         Atte~tic~z~: Aaz~y Stein~~ziet7

        ~1rlontana T~tatui~al Resource Damage T'ro rare
        ~.Q. Ii~x 2Q1~25
        ~~elena, MT 5620-1425
        Attention: Lib~iy Ast~estos Supe~-fu~~d Site Seiileine~lt A~re~~~~ei~t


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        '~'IZe above-listed ccsntacts may be changed by ~ivir~~ notice of a ~han~;e to the other Parties
         ~~x writing.

          14.       Ida Admissions• Fair- anc~ Reasaiiabte Settlement, Neither• ~'ai•ky rz~akes aa~y
aciznissic~ns, and Grace denies all allegations of liability in conneeti~n ~,vith azty acid alI St~tc Claims
ter causes of actican tli~t it ilas a~- nay ass~:rt for rernediation, respans~, natz~rat reso~~rce damages,
a~~ a2~y cattier it~attur, actioai, oa~ relief:- {race assents that there ~~e ;~iinit-~ial or na NRD at or ~-~Iateci
tti OU3; the Slate asse~~ts chat tliei~e are NRD in t1t.13. This Settlement Agreement z•epresezzts a
cnmpror~~ise resnlutia~l that cc~i~~pensates fihe State for tiam~i~;~s thai it all~:g~s in exchange for a


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 rel~~se of all. Qf #1~~ State's NRD claiiiis against Grace in at• related. to the Libby Asbest~as
 Sr~~ei-fuz~d bite. Boct3 Parties acl:n~~vtec~~e and ag~~e~ that tlzas S~t.tet~~ei~t ~~~ee~i~ent is fair,
 reast~i~al~lr~, iz~ Tlie ~~tblic i~it~z-est; -and consistent ~~rith CE,RGLA acid CE~RA. Nothi~ig iz~ this
 5etilei~ei~t Agree~3~cnt, r~or entry: in c~ this Settlement ~~rczii~ei~t, shall ~st~blish ~r be inteip~~eted
 to establish any liability of airy ~t•ac~ Pa~~ty, or be used as evic3erice iii'aity such liability can Pile part
 caf airy C3race Party, in cnnnec;tion with an3r ~~iatte~~s related tc~ tl~~ Libby Asbestcis ~up~riiind Site
 ar reie~ses or ttii-eatezicc~ releases ~f tiaz~rtivus ~1• deleterious substai3ces ~herefra~n.

           1 ~.      ~cceteiatiolt of ~'~vnrents, ~1oti~ii~jsfanciii~~ anything to the contrary fi~rein,
 Grace ~zas the night tQ accelera#e_fiind ngr ~vitl~out pay~neizf of untnatuT•ed izzt~r~st, ~f and payl~ae~t~
 set fca~-~h in tl~ ~ Settleznez~t A.bceemez~ts upon thirty (30) clays cvriEten notice to tt~e State

          16.      rissi~IlITipi1~. Gr~~+~ ~3as t17e ri~;ilt to ~ssibn a-igt~ts, vbli~ations; anti interests herein;
 u~ac~n t1~it2y (3~}) bays ~v~-itfen nciti~e to the Mate;; to the ~n~x ri~u~i~ e:~#er~t p~~~n~issible !~~ lati~,
 p~•c~vde~i that suc~~ assagn~nent ~li~es a~c~~ n~atei-i~lI~ impair fiiffiiliz~ent ~f`the pay~nei~t oblig~tic~ns
 ii3i~osecl on Grad Herein. I~~ it e went that an assignee fair tb fulfill ariy ~bli~atioc~s of tills
 Settte~nezit A ~~en~enfi., any unfulfilled ~sbligations ~•e ain an ot~li~,atia~i of C:~~~ace tli~t is
 enforceablet~nderthis iettles~lent.A~zee~nent:

           I7.    P~i~ties Bnund. This ~greemc~rit binds acid iaiur~s to t~~e bec~efit of tF~e 1'~i~ties ~n~i
 Plxeir successoz•s and Iati~fi~I a~si~ns.

          18.      Cure P~rio~i for- Ir~votun#~~ry Delav in I'avments, An a~pi cable deadline ~iy
 ~v~iich a payi-~~ei~t a~Iigatioi~ o~Cx ace arises €ender tY3i~ Settlement Ag~-~er~ient dial[ be suspe~ided
 tennporarily Cc~~~ a period ~f sixty (60} days if

             (a}        Grace. i~ ~~~-ectur3ed frc~z~a making az~y such payt~~~nt due- to {a} a failure of
electr~zizc ban. systems ~les~i[e rea~~inabic efft~rts taPtlie Cirae;~ Patties u~~clei~ the cir~uinsia~~c~s, or
{~} a Far~c~ t~Icrjecrr-e Condition; aalcl

              (~i}    Grace ~ro~T~pt1y notifies the Mate ~vitlun ten (i~J~ cia~s of suc}i event pursuant to.
tl~e ~~vti~e ~rovisians .of this ~ettle~nent Agi~ee~nent,

             fie}     Grace s~iatl e~ideavc~r in ;good faiti~ to ~7~~ke any such paymenC as sawn as is
~raeticabl~ ~vithzn the saxty {60} day p~ri~ci. 1f Grace is u~~at~le to ~Yiake the payment v.Tit~iin t ie
sixty (6~?} day perii~d, the Parties shall ~~rark tci~;eti~er iti go~i~.f~itl~ to r~sc~ive the pa}~z~ent iss~ie as
ex~eciitiously as pnssible; ~r'r~~~iclecl, ltoit~e~r~i~; t13af iii iin event shall a failure ~f ~tcctro~~ic ~att~
systems o~~ F'vr-cc it~l~ij~rrre ~c~ntl3tion excuse nt~~iperFt~rrn~nce for a perie~rl ~sf greater than c~ne-
liundi~ed twenty (120) days, at~sent ~vt7ttein agreeiiient bete=~ei~ tl~e Parties.,

           1~7.  Third F~trttes grid IVon-Affect. 'T'his Setfileni~.nt ~~~•~en~ent is solely Uzi heIi~tf of
 the State and the Cxr~ce ~az'fi~s: "I'he State zs not re~~rese~~ting any other- entities in eiite►-ing into
 t1~is settlement Agrc:~meni. T~i~: t~rm~ oftt~is Set~(ernent A~ree~~aent ~1a~~11 neither expar~ci z~or limit
 the le~at ri~I~ts cry- obligations of any pers~ii iii• ~nti[y ~tl~er tl~arY file Statc; anti Cx~~ace Parties.




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~raEhii~~-_ii3 t.fiis Settlement A~r~ernent sl~ali [~e ii~fer~retecl to cf~eat~ ~n}r z-i;llts or causes c~C aciic~z~
of iiiiy ~~rso~7 or entity except the State and ~r~ce Pariies.

         ZO.      AtIY[CC Qf C4LiTlSCI:.   each ~sf ttie Parties ~-ep~~esents that s~i~h Pa~~ty leas: a} been
atiec~uate(y represent~Gt by u~ctep~i~de~it le~a1 counsel of. its o~~l~~ ci~aice; tlu'ouglirsut ati of the
itegc t ~tior~s that ~areceded the executian of tii€s Se#tle~aient l~ai`eenient; 6} executed this Settlement
A~reenienfi t3pon i1~e a~i~~~ce t~f suehi caitnsul, e) read this Settie~nent A~r~;e;~nc:nt; anti und~i-stan~s
and assents to ali the tcr~i~s and conditions co~itained l~e~~ein 1*~it}iout A1xy reser~~atio~is; and d) had
the opp~z-tunity to have this Settl~inent A~reenient and aII t ie terms and conditions c€~ntained
hei'eir~ ~x~Ia tied by andepenc~ent ct~unsel; rvhc? has ans~R,rez•ed any anti all questic~iis asked' cif sii~li
counsel, or wi~icli could have tac:ez~ ~ske:d,af such counsel, including, ~~~t ntit Iamiteci to, «rith re~;arct,.
tc~ the a~~eanin~ and effect ~f a~~y ~t the provisici~~s -cif this Settlet~teiit ~~re~ment .

         21..       Enfi -e A~a•ee~tent. This Set;l~rnent ~~r~er~~ent contains the entire agreement ar~ct
understanding ci~rc~ez33i~i~ Elie suhj~ct ~~aatte~~ ~f this Settle~~iez~t A~r~e~rie~~t, ~nci sc~p~rserles end
replaces ail; prior ne~c~tia~io~is acid ag~•ee~~teiits, ~vritt~n or oral anr~ ~x~cut~d ax• un~;~ectiteci,
concernin such si lij~ct matter-: Each of t(ie Parties: ackno~vled~es: that ~ic~ other Party; nor and
a~;ez~t of r~i attr~rney fc~r ariy such ,Party, Baas made:aaiy pratt~ise, represent~tibi3 ter w~~xan#y, ~xpre~s:
a~- implied, S~,°rotten ~r ora[, not oti~e~tiu se. contained in this :Settlement A~reeanerit to induce a~i}~
P~rt~ to execute t}iis Settterrietxt A~r~~€~i~i~t: Tlie P~rrzes furthe~~ ac~os~le~i~e ih~►t the}° a~-e nc t
~xectitin~ this Settlement ~1~rvet~zei~t in r~Iiance on any protii se, re~r~sentatian or ~varra.iity not
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Settle rent Agre~n3ent will not tie ova ~:ed o~~ modifi~4i ~xc~pt b}~ an agreemezat in ~;~rztin,~ sinned
by each Warty o~~ duly autl~orize~i representative of each Party and ap~roired ~y ttie Bankruptcy
Court.,

         ~2.      1~+€0 '~'~ert~F De~r~led Dr~fter~. Tie ~'ar~ies acknci~yledge #fiat the: terns t~f phis
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          23.        ~everai~ility. TE ar~y p~•oi~isit~n.c~~'this Sc<ttle~xae~~t t'~~ree~neni nr tli~:ap~alicafiion +~r
enforcement tli~reof is lieit~ inv~lic~ after--tl~~ Settierri~a~t A.greemen# :Effectitte Date, lh~ invalidity
al~all not affect other:provisians o~- aP~licafioi~s of this Settlement agreement tl-~at can }~e gig=en
effe~fi ~,vi2}ic~ut the ii~vali~ ~~rov sion of applicatiaii and; to tt~i~ ezld, the p~-ti~~isic~ns of tl~€s Setile.Frie~it
~.~ce~ment are deciareef it ~i~ s~verabl~.

        24:     Hea~in~s• Titles- ai~~i Subtitles. The cir~ani~aiiraf~ ~f t~:is Settlement Agreerzi~rit,.
as well as the Readings, t ties 3iic~ subtitles used i~erein -are fQr ccsnven eiice Daly anci are 3~~t tci tie;
considered ire c~ristruing o3~ ntei`pz~eting this Settlement Agr~eine~~t.

        25:     ~fluriterparf~. This Settte~~ie►~t Agreement maybe executed in eau~~te~}ia►-ts ~svit#~
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will si nify accepfanec: cif; anti agr~erne~t to, the semis and provisions ccintai~ied in this Seftieii~et~t




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lieu ~f tk~e ori~;ii~a~s of t~~is S~;ttletnent ~1reement for any pu~~~se.

        26.    ~~oclifien#ion. Any ~nate~•iai ar zioi~-~~~ateriai modification ~f t~~is Settieznent
A~reenient s13ai1 be inad~ only ~y ~~r~~itten agreement e~f tlae Parties anti sl~atl take effect only upon
cotar~ ~pprnv~l. Tl~e Parties` consent hereto is coj~clitio~leci L~pc~f~ the a~proefal of ilie Settlei~~ent
Abreeri3ent in its entirety Inc! ;without madificatic~n, addition, fly- deletion, except as agreed iii
~vt~itin~ by the Panties:



IT ~~ ~~,~~$~ AGREED

 ~o~t w.u. ~~c~~ ca.:




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                                                Ser or dice Pr~sideiit --Public Affait~s 8c. EHS
                                                ~~j. R:. Grace ~ Co.
                                                7500 Grace Dr.
                                                Columbia, MD 21044


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           foltot~ving pale]




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Case 01-01139-AMC   Doc 33306-1        Filed 03/23/23        Page 35 of 158




                           AUSTIN I~NUDSEN                       ----
                           Atton~ey ~"r~i~eral
                           O#'~tce vftl~e Attorney General
                           Jus#ice Building, 'Third £loar
                           215 Noz~h Sanders
                           P.Q. Box 201401
                           Hele~ia, Montana X9620-~:40I




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                          HALEY R. HARRIS
                          Supervisi~zg Assistant Attoz~~ey General
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                                                E:~t~ii~its

~:~lzi~sit A - ~ure~y Bond Form

.Exhibit B — Suret~~ Bc~ncl A.n~ount Schedule

E:~~xibit C - K,i3iD Q~I~ Per-f~1'11137'iCC Ti'tiSt

Exhibit D - KDID Spi11~~~~y Repl~e~n~ent-Trust

Exhibit E ~ Ailegeci Injt~t•y~ Intl ~:~~rta~les of Restor~~ian (~ptians to .Ac~ciress Atleged Stag
NIZU at [lU3

E:~Iiil~ii ~ — Sta#e Wiriug instructions

~~l~ibit ~ — MU~Q 20Q8 Urder and ~t1IDEQ Zd08 Stipui~~ion.

Exi~ibit H —List of t)th+er State P~-oafs of Claim and ~~eir Tre~tr►~ent in the Piar~

~~tliil~it I — F'ra~~osed 4~Spr~aval +Clydcr
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                    Exliit~it A - Su~•et~' 73an~I Fo~•n~
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Principal:

Surety i~arne &: Ar~dr~ss:




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                                                                                                        o~oou a4r~~-ts~~ssir~~~-2trr~.t
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for t}ie ~~yrnent ~vli~reof~'s~incipal an~i 5i~rety ~it~d:ti~eta~sel~~cs, tl7cir heirs, e:~e~utors, actn~i~listr~atc~rs, suecess~rs, and
assigns, joi~ztly acid severally; fif~anly by these prese~3ts.

'1V~T~,1t~AS, t}ae Principal is rcc~t;ir~d Linde~~ the Settleiilint A~reeni~nt cxccute~i try anii i~et~~~e$it ti~'.R, ~ii~ace & Co, and
tl7c State.of;~iantana on car about 17ece~i~tics- 1, 2Q'?2, end tt~e Ap~rovat Qrc(er cntc;f~ei~ lay tl~c ccszjrt cin       ___._........_...___= to
nbtail~ ~nc~ m~ ntaii~ ~ surety bnnci <~s ~~~~ncial ~~ssurance for  ~er~cirmat~c.e of ICDID  C3&I~1   tittring tti~ period 2t~~3 to 2f)~2
~"Pre-2D~2 KI)ID U~cM Peifari~~ancc ~3on~l") as t}~ese tet~ns a:e defined in ~I~e Sstttcm~rit ;~1~ree►~iec~t;

'~'VN~ gtEAS, this s~irety bond is ~ coinpniie~~t of the Cinancia( asscErancc ret~uireci by the ~e#tlen~ent ~~reen~ent; and'

1'4`~-T~~2EA~; ttie ~rancipal sliat~ atsa esta~lisii, asa otticr cnn~~onene ~# the fit~at~ciat assurance re~juirei~ by the Sc:ttle~ii~iit':
Agreeine►~k, a standby t~-i~st funei {"Pre-2042 KDID t7~YciVI account tiv ti~in ih~ KDII~ O&T~'1 Perfor~nas3ce Tr~tst~,' to rec~iit~
~ajrinen[ ~'roin a s~►rety band if the ~einci~al defaults under tli~ teriais of tt~~ Scttle~n~i~t A~reeme~ii,•>

i~C31~,TH~T2EFi~RE., this abli~;aiiaii is zssuerl sii accoriiance «it{i ttac tends of the Scttlein~nt Agre~ttteixt at ~d iFi fulfitlriient
af'a c~i~ypanent t~f Princi~at's fizial~cial assiiraris~ okrligati~t~s thereiittdei•. This Qbligatiofi Sliatt r~~naiif in full force and..
ef~cct, ~vit17 declining payo~it asne~unts as set farfh above, tl~rc~z~~t~ L~ccc~s~l~er 31, 20~~, subject, lii~ti~~:ycr t~ tt~e f41ic~~~,ring
c~tiditi~a~is:

1} No ~~igt►t caf action sl~att accrue an this hotld tc ar for the ~~sc i~f a~~y persoa~ car cnrpai~atiaii other than tine t"~bli~ ec~s named
   Herein or-the Heirs; exec~itors; ~dfninistrative'autlic~ritya ar stii;eessors of the fl~i gets;

Z1 The Buret}r shall leeome t aE~le tin ibis tined ~~nd t'vi~d [Ixe `I'i~~ist obfibaeit~i-~, des~ri#~ed in Sect oil 4(a) of tt~e Settieinetit`
   tl~ree~nent, ~rtty tis~heri;

         ~: tlic pritycip~l f~e~:eives a written l~o~apea-fannaxice Deiercninatioii,'as,cicscriEiecl in Sect azi 5(d~ of t}re 5ettleinenf
         Agree~ieiif
         b. tiYe:~'riiiei~i~( receives written }~~t ce fro~~ tl~e S7i~~cctor of tl~e I~hc~r~ta}~a D~p<~rti~tcnt of i*:aturat Re~~urc;es and:
         Coz}serva~i~rj, as s~:t forth iir Section G(c} caf t[~~: Settle;~lci~t f'~~;t~c;smcr~t; ~itEi dc~cumentatior~ of the basis of ttte
         natice~ tt;at file ~'c~ine~pat (or at~y mer~eci r~r ~rtccessa~~ e~xtiry ghat ~ssuniect the Pi-ineip~l's abligatiotis ~incicr #I~
         SetElerricn€ f~~rc,eiriei~t} Ixas ceased. fo exist ar ilas failed io ccintin~~e to operate as a going cot~c~ni tir
         c: the ,~t~rety canccLs tt~e ~c~i~d put~siiatit to Para~r~iph 5 ~etow a~Yel tt~e Principal fails to prr~vicie,at ernative sectrc~ity
          Within ~5 cta~=~ of scir~r~r ~anccliacor~ nafce:

3) The ltahitit~;of the Sttrely shall lint be ~iisclia~~ed by any ~rayrYient or st~ccessinn t~f ~ayTmenf;~ tit t'etsi~der= sinless and
   ~.~ntit ~ay~n cnt of }iay~n~~ifs shall ail oune"in the aggregate
                                                            _       to the ~.~enal sa:ii of tl~e band accvrti n~ to tic sctietluic cif bc~n~
   l~ak~iiiiy at~ove,

4} "~'~ie scl~e~iule cif ~ief~at slim tiaiailiry aUove is in t ciifniitative. Rcgaiilicss of the ~zuiriber of yea€s this bti~~c~ shall re~t~aiti
   in force or tt~e ~iiimt~cr of clai~7~s thlt inky [~e ai~~dc; in ~ic~ event sl~~tl tt~e aagrc~ate inaxit~iu~n lia~iility of l4ic: S~irety
     excec~i the penal si~m crf this t cis~cl as ~lefincd atio~rc.

S) 'i'(i~: SLirety nay ~aneel tExc Mond by senciii~~ no#iGe cis cancellation by eertifieci.t~iail to tl~e P€incipat, tli~ ~bli;ees, and
    to ihe'trustcc at the adciressc.s bciouJ, Cat~ccli~tion sl7ait not acccir be fire i20 days. have l~~~sed b~ inning on thy; date
   tli~t l~t~th the .Principal end the E7l~li~;ccs t<ceived the riflcicc a~ cai~cellatio~i, as evid~n~ed by ttie retiiri3 i~ecei~ts. If the
   Principal fails to prc~kricie alternative scctirity tivithin 4~ days of ~;~~rety ~aiicellatiot~ na[i~c, ily~ ~'rincipai shall ~c clee~ned
    to he in t]efat~lt ender tI~is br~n~3 and Surety shall fu~~d tt~~; `Geist at t1~e Pesi~t s~t~~a cif tl~te bc~nci accorcli~3g to the- scl~ed~~(e
     above.
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G} ~~•~c~id~d that t}jc Qt~libecs agree in iv~-itin~, fhis ~io~c1 nay I~~e re~l~ced bye altc►~~ative security iiTclt~dinp c~rst}> ar a Ictter
   of credit fran3 a tiaclR agreeable in the C7bligees; ather~vise, the aiten~~tivc security slYa11 be in ti c, farrai e~f a surety bond
   consisEent ~~~it~~ the teens of ttie Settlen~~nt ,Agreement, i~~ciuding Section 4(a}, fr~in ~itdElicr suC~t3z which i3~~~ts the
   bi~i~c~ issue• ratir~~ rec~i~ircine~~ts set forth ~vitliin Sectic~ri t~(c}(i) Qf tk~e Seftlesne~it Agrec~~3e~3t.

7) In accordance ~;~itl~ S~ctio~i 6(a){iii} ai~ Scctinn 6(d)(i~ of tlYe Settler~ient ~g~~ee~~;~n[; respectivciy, ar}d after 64 s:~a}•s
   ~vritfen notice €c~ tf~e Ot~li,~ecs, this band, and I'i-incipal's cat~tintii~i~ abti;ation tip prc~titicie the sa~~ie, slid( te~Tnii~~te:
        a: to the extent the EPA cicclines tl~c o~~~c~r#cti~ity tU b~cnme a prinl~ry beneficiary +~£ fhe boiic3 or;fiz~ancia!
             assurance tn~s#s at~d rcgi~ests -and rcc~uires, and i'rincip~i pravicles, ~nanciai assurance for tl~e KDI£) Q~\~ as
            .part. ofau agreeinei~t; deere~ ni~ c~rcier tl~ae exceeds the value and scope of tl~~ ~rt~ncial assurance prcivided fQr
            iz=itl~in.#he_Settterz~ezae r~ga~ct3~~ent; ~r
        ti. it the ~vet~t thy: KI~I3~ i~ rcc~~tired to lic re~t~o<<ec{, substantially or cot~~pletel~,

'T't~ose pe~•socis ~vf~osc s'tg~t~tcirc appear ~ein~=Y hereby certify ti~at they are ~titharia~d to exe~c►ie ibis surety bind cin bel~atf
of'the Pri~3c:i~al and ~ur-~iy anrt that tt~e sctrety i~ aiath~rizeci tc~ Rio b~isiness in the Sfatc t~f 1~ricintana

~~alcti tivith attz~ scais acid c~ateri this   ,day of` _____ _____~, 20~


                                                                                                                                ~?rincp~l




                                                                     Sci3iorT~if•c;cic~r; Finance a~~d 1"reas~~i-y
                                                                     750€ Ga•~ce I7i~i~e~ Cori;t~liia ivlD 2iO4~#
                                                                     .~ttentian: ~sifi~~d-,~sh~id
                                                                                                                  Ac~ciress for Noti6cafian



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                                                                 By:




                                                                                                                Aeic~i~e~s fc~t-N~tifcation
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                                                                         Tc~ustee




                                                         Address fir ~tiisfie~tioi~
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            ExI~ibi#~ B ~ Surety $end A.n-~ount Sc}~ed~rle
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                            ExI~it~it 13 - S~i~•ety Band r~lmt~tt~~t Se~~et3t~te

         Summary cif contin~eni fufure p~ycrtit of tl~e lici~~d sht~uld payment ~y sua~cty lic rec~uircd
(ref~:re~~ced as "~lefatitt" iii l~elc~iv):

    1) Pre-2tl4~ I~~ITI ~C?~`cTt~T Perfo~•fiiiance T3o~~d (Sectian ~,b)

                                I~DTD tJ&€~~ Pert'ot~mar~ce Bc~iarl P~vnut


                                      I~utuic Vatu~           iVlaxir~~utii Sung of I3onrl
                        Year          of Ez~ense.             Air~auiit'in ~i~ren Default Yeiir




                        2038          ~    2:35,27                 1;1.77,F~35


                        GV~!          ~    ~`t~ e 7.~~   ..   ~.    `~7:J~L1Ull
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         Exhi ~t C - I~.DII7~ +0&M Perfor~~3ance Trust Farm
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                                                                                                     ~XHI~-31`1~' G



                                                                                                            .2023

                                            TIZUS'~ f~,C'i~t~` ~t~~~'1'V'>~,

                                      ~TIT~ (3&i1~I Pe~-ft~i•n~a~~ec Trust


         T~ii~ Envirorirr~efltal Ttecncdiation Trust .Agreeme~it (t~~e "f~. t-ee►nent'} is tnatie as csf this
            clay of                                    ~' t323, by ar~ct a~~~ong W;R. Grace ~i ~4, anct
 K~ot~~~ai Dev~lopnieixt ~on~pany ("KDC"} collectively ~ierein "Cirac~"), as ~ettlor and,
 beneficiary,.- tie State o#` ~rlc~nta~ia on la~l~alf of its ~gencie~ a~~d departiilents ~~amecl in tYte
 ~ettlei~ent A~reenxeiSt +(tt~e ``state") as beneficiary, ~eacl~, individually, a "P~rty,"'aird cQlle~tivelY;
 the ;`Parties"~ a~td PI`jTC 8atik,.Natia3~al Association,. ncit iii its i~iciividual ca~iacity; taut solely as
 Tnzstce ~tlic "Trizstec"}:

                                                   RECITA L~

          ~~I~ET~.EAS; Grace ~nci the State have entered into ~ Settlenietit A~;recmeitt tE~at pray=ides
 for.tlie forniaiicin ~f this trust, tc~ 6e ~df~~inistered 'i n -the mariner eiescrib~cl l~ereiti.

          VO~V '~'H~Ft~~QR.~ ; in cr+~zsicier~tipr~ o~'the for~gc~iz~~ ~re~nises anti the M utual coz~enanks
 ~i~d agre~ttxcnts ccintaii~cd iicr~in, and ~iursuant tc~ the Settlement A~ree~r~cnt; t33~ Panics and the
 Trustee I~~reb}r ~gre~ a~ foI(o~vs:

                                                   ~It`T~C~>E i
                                                 I3EF'Ii~tI.TIOI'+f~

           1,1     Definitiui~s: Tlie ft~ilt~~uing terti~s ~s use~t in dais A reen3c~t shad have the
 clefinitio~ts gi3jen bel~~v:

                 I.l.l    "Accc~ti~it Statei~~etit",shalt have ~f~e a~~eat~ing given i~a Seetti~z S:l. .

                 1..1.2   „~+.~ree~a3eni" sf~~li be this ~'r~~.~st Agreerr~e7lt.

                 1,1 F3   ~"B~n~fi~i~rie~" nt~atas tl~e ~t~te end Grad.

                 1:1.4 "Condifion of Early T~rn~iti~tian" shall mean each of tl~e coii~titio~~s of
termination pct ot~t i~t S~.ctians 6~a)( iij, 6{cI)(i}, ar 6(e) of tl~e Seftte;~~t~nt A~r~~rt~e~tt: The t~r~t~s in
Elie Seitlen~ent A~reen~eni shall control ~~rl~etlier a Condition cif Eart}T Termination exists, liv4vcvcr,
~ucli coa~ditions -are stin~rr~~rized ~eneraliy }sere for convenience:

                        Via)     section b{~}{iii): United Stt~tes ~rsvironmentai Protection i~geney
dectiz~~s tt~e opportutzity to become a }~ri~~~ary beneficiary cif fhe S~.~rety Bond - or ~inanc ai
Assi~r~~icc Tnists,-arid rec~~iests ~~~d re~E~ires, and a Gr~ee Party pxovicles, ~in~~ici~al assurance for
KDID O~cl~~ ai~c3lo~~ ~tJID S~iltl~ray Work as ~a~~t of an ~grecii~c~it, rlecrec, or order that creeds
the value and sco~a~ of the ~ztlncial asst~r~nce prt~4~icieci in this. Settlement Agreement fear KDID
C}~~1 andlor 1~DID Spillutay ~h{ork;
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                                 (t-~)    Sccti4~~ 6(d}(i): 7~lic If DII3 is rc~uirecl to ~z reinovecl, st~l~stantial(y
 tar ct~t~rt~Ietcly; car

                          (~)       ~ectia~~ G{e): Grae:c (~r ~~~y ~z~ec~ed s~iccessar e~itity that a~si~nles
 Gr~ccxs obligations to tine Slate under the Set~l i~~ent Agreszaleni}ceases tr~.exist or frills tc~ contin~ie
 to ope~~atc as a gc~in~ co~icer~~.

                  1,1.:5 "Cn~.irt" nieat~s the Court of ~a n~ori Pfet~s of Ail~~l~ei~y County cif" the
Cc~;z~mr~n~~uiaitli af' Pe~a~~sylijai~ia; a~~, if that Court at~~tains f'r~~n ~xercisin~ j~irisdicti~n car is
otl}er~vise ~ithcaut jut•isdicti~n o~~er airy matter ar 5i~ a~:it of -this Agreement, tl~e ~anlnto~~~~re~ltli
of Pertr~sylvania curt a1~i~r~vise haviflg catnpct~nt ji~risciictittn with respect to such _matters. '1"ixe
term "~ci~zrt" does ~~ot rifer to iii• ii~cl~icle tf~e federal i~ankz-t~~ecy ci~urt flzat enters the Setttenierii
Agreenicntt r~vl~ich cr~ui-t s~~~tl have ~~~ cc~nti~lc~in~; involvement with the adrninistrati~n aftl~is'I'r«st.

                        I.l.~ '`DNR~" 51iall laavc the n3canii-~g set fc3rtt~ in tiic'Settic~T~ent A~rce~nciit.

                    1.1.7 "En~Jsron~n~r~tal Rei~zediatio~i" means actions taken end casts ~aii~ iti
accoi~~ian~~ ~vit~~ as provided ~inder't"reasury Reg~~lations ~ 3{~ I.7701-4(~)(l ~, inciiidiiig the cc~st~.~f
assessing env rtirirnef~tal ca~iditicsi~s, nionitc~ri~Y~ rerz~ec~ial activities, prevent Yid fi~tur~ rel~~ses, and
€i#~i~er~;~isc iinplen~~nting the rec~~.tire~~lents oftl~e Setilcnlen.t Agreement.

                 l . i .4 "Internal- Reven~ic ~acle" or i~~cans the Inteniat It~ve~iue Cndc of 1986; as.
~znc~~de~i, and "I'r~asury Regul~tioi~s'' means re~~xl~tic~ns pr~n~cilgaieti yin cr- the Internal Rer~en~~e
Cody and ~ixiblislled i~~ 7'itl~ 26 t~fttx~ Cvde ofFe~leral RegLtl~it a~is, as ame~~~{ed-

                        1.1.E ~ "~ncluciir~ "slZall ~a~t be re~~i_r~strictiv~ly, acid s1~all r~~c~i~ iizetErd n~~h~.it
Ii(3~ ~IIT3I~G~C~~C~.


                        l.1.IQ "KDC" shall Izave tflc.~-~~e~ni~~~ set forth in tl~e Settle~~~en# A~s~e~; ant.

                        1.1.I 1 "I~DID" ~1~ali Have t}ie «Tea~~iiig set forth in the ~ett3ettjcnt Agfeeriieiit.

                        1.1.1   "~D~D S~ilir~~ra~r" ~1ia11 lave the m~a~tit~g set forth in file ~~ttl~n~cnt
A~reeinent.

                        i,I,13 "KDID ~pilic~rav Wflrk" sl~atl leave the ~ncai~rn~ set fsarttl ii7 the Settlenaen€
Agreement:

                 l.l.l~ "Kt3ti~ Qperatic~~~ ~nc~ IVia~~atena;~ce" or "KI~~U {3&1Vi" sl~atl Have tl~e
meaiiiilg sit forth ire tt~e Settlement Agrecn~ezit.

                 1, I.1 S "QUID Uc~:l~i eosts~' s1ia11_ i~~ct~~de, ~~~itl~aut titnitatio~, (~~ ill costs incurred
to crinduct KDID C3~.Ivt (iiiclucii~i~ fi~ndit~b .for the rQ~itiiie inspec;tioi~, ~i~onikorin~, operaiit~n;
main#ena«se, repair a~~ct ether aetivitie~ ~~rf~rs~ied periodically try KD~ ct~i~sistci~t uritla a ~iatn
safety ~~eratin~ ~er~ziifi i~s~~e~i udder fh~ i~tantana ~3ara7 Safety Act ~tiid ii~~plenleritin~ rc~utat oi~s
anti at~y supers~cting dan~ safet}~ la~,~r anti re~utatit~zl ,and costs far materials and ecjuipc~ieiit
riccessary ter rcaso~iable -for pz3rposcs of e~r~cic~ctin~ I~DID {~~:.M and ~z} ~}I fees once e~p~i~ses




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 ~3IlGIliCIR3~reasos7able cc~~~s~iltiii~ a~~d leg~I Pecs a~~d cxpense~) a~soci~icd ~vitl~ the `I'~'€i~tec's
 activities l~crcunder.

                  1. I . ~ 6 "I~Fo~~erfoa-ma~~ce Detea-n~ir~atio3~" sl~a[i Dave tIle rraeaiiing sei fc~rtl3 in the.
 Setil~.n~ent ~~;rce~nen~.

                  1.1: I7 "Parties' ti~ld~r phis ~~r~emeiit shall lia~re #lie nle~~in~ gi~Jcn in tti~
~rearnble.

              I.1 w 1 t3 "I'r~-20~~ KI?ID 0peratiai-~ aiid Niainte~iarice Performance Baiiti" tir "Buret}r
Bond" shall have the rne~~ir~~ set fc~~-tl~ ~n tlYe Settt~mene ~greei~~cn~.

                1.1.:9 "Pre-2042 F~DIB ~~cM A~cni~~~t" slaait 3iav~ tl~e meaning ~~t forth an
Sectii~n 2.7.I hereof.

                  1 .1,2G "S~ttt~ma~it ~1~,reemerit" ~Y~e~ns the Settte~nent A~reetnent t~et~vec~~ V4'.R
Grace c4; Co: a~3c~ tt~e State, d~~~d a~ ~f                             , 2Q~~ ~aegotiatec~ and entered to
settle t1i~ claim iiur~~b~r 1$4-96-1 iii Iri re t~V1~. ~r•rrce c~ Cry.; ed cil,, t~eforc the L3nii~d States
~arikruptcy Cat~rt -for the- T~istr ct of DeIaevare, under Case I~1o; 41-~}I 1 I39 (A viC}, ~s anle~itlecl
by V~r T~. Cira~e & Co. end tie State I~ere~fter; in acccir~iaitc~ ti~ith the teii~~s of tl~e ~ettletne~~t
A~reen~c:nC.

                  1.I.21 "State" snail f~ave tl~e n3e~ning given in the pream~ile.

                  1.1,?2   4fStateincnt"   s~~all Dave tl~e ~tcanii~~ gxve~~ in Section 3.2.1(~,j,

               1:1.23 "Sui•e~v" sl~atl ta~eai~ tf~e surety ~zciir~~ as a~ili~or ft~r tlae Pre-2042- K~7IIl
~perati~~i and Ivlaintei~tance F'erft~rnlance Ba~~ci.

                  i.1.24 "Tnist" iiieans tlje KDTD (~~i+~t Pez°~'~rn~a~ee Tnist aid az~}F s~:ib:-acc~«nC
tli~r~in, estabii~hed pursuant to tl3is Agreement.

                   1.1,25 "Trr.~st Assets" m:ea~~s the funds transferred tci, or caned by, the T'rus[
g~i3rsuaiit to ibis Agre~i~~~nt.

                   1..1.,26 "I'rustec" ~i~eans the trustee of the Tr~~st= r1t- any tithe tlt~t ~~ll~ltiple t~•ustee,s
.are actii~~; the temp "Trustee" shall ~p~aly tt~ each of'ttie cca=trustees.

         1.2       ~tl~er. To the extent a term iri this Agree~net~t is tot defined at~c~ve, kn tli~ extei3t
 ~racticat~Ie; st~cl~ terns steal l have the n3eanin~ provide; if airy; in ~hc. Settletnet~t A recinei~t.

                                         ARTICLE II
                      CRE~TIOPY ~.ND ~'[AII~AGEi~~~N`T C?F'TRi:J~1' ASSE"t'S

          2.1     {~t~jer~tives aiid Pi~rpr~ses.

               2.1.i General: `i't~e e~cizasivc; obj~.~tiv~s and p~~r~ao~es of the Trust are to collect
and disburse fiii~ds for I{.DID O~cM Costs, ~~s required under the Settlen~~nt A~ree~nent, ~~iith ~~o



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Qbj~cti~~~ or- auti~~riry to-c~~~a~e i~1 airy trade ~rb~.ssiness. Subject to Sectioa~-x.3,1 oftt~isl~~reeine~it,
ill payst7e~~ts ai~ci dist~ursc~n3ents'fras~n t~~e Trust by tl~e Tri~~tce si3all tie made ar~ci a~piiec~ si~l~~y fnr
t}te~e ptt~~t~ses; it 6e t~~ irrtc~erst~bcl at~d ~ reed that atiy }~ayinents tci the Tn~,siee ~i~rszi~nt tc~ this
Agreeia~cnt are in fiirtt~ci~ai~ce of such p~.~iposcs; ai~c~ at ito ~it~Z~ s}~a(I klxe Tr~i~t (or tlic ~'riistee att
be}~alf cif ttie Tryst} c~nciitct iiiv~stane~~t ar 1~usirtess activities that conz~rQfiiise these purposes.

                      2.I.2 Tax'~tati~s, Initi~~Iiy, ~rr3ee inter ds, b at is riot required tci e~~stire, that the
  'rust co~istitiites azl "e~zy r~i~~~~ieE~ta~ re~~iediation trust;,, ~s: pravicied by 'I'reast~ry Re~~ laficaus
§3~3I o77t~.i-4(e}; at~~ ttie "t'~~ust shall at'all times tie ailrriiriistered; and allprovisit~ns cif'this a~re~tnent
slxall tae cc~nstn~ed, ~3 a inari~~er that is c~aasist~~xt ~~viti s~rcl~ ~zt~nt..~t.any t me, ho~veve~-, , f;irace
mays ta~Ce suci~ steps as are required io elect rc~ frcat #3ze Tnist:~s ~ "c~i~ali~ed ~ettlern~~~t_f'und," as
provided by ?'reast~ry I2~:gt~lations ~ 7.4688-1}axed, foltc~~~ran~ sus~lz ~I~ctia~~; the Tr~ist shill at all
times be admini~tcrc~, and all provisi~~~s cad` this ~~r~ct~t~~nt s3iall ~e"ci~zYstiiacd~ in a i~~a~urer that is
cnilsisteni with such intuit. grace intends that: it b~ considered to ~e Elie Tf~st's "~c~n~ii~ stratc~r;,,
i~fithil.t~Z~ r~leaiai~g ofTreasury ~eg~slations. i~Iei[l~cr the State;z~:r~r t~ie:'I'r€istee shelf I~av~ any duty
or obli~at o~~ in ea~jz~cction vvitl~ tl~~., tax treata~~tei~t of flle'€'i~~st c~thcr ttz~n to ~~~aperatc in ~Qod faith.
with Grace in caiinectitsn tliercw t~~. ~r~ce shalt tie sol~Iy r4sp~a►tsiblc'~~r ens iri~~g cciia~ptiance ~vitli
tl~~ RegulG~.icrns rcc~Liired of an enviiaz»~t~ n ~I t~~ tt ediatiQn tn~s# car qual Berl scttler~ict~t fund., as the
case njay ~c. NeiClier tl~e State nor t~~s Trustee sl~ali be.respgnsiblc fear pre~ari~~g cir l~liz~~ any reparts
ar reti►i`ns retatiat~_t~s fcder~~t~ state; Qr Iocat incofrie tars ~ttith res~~~cE:to ti3is Agrc~nlcnt ether trier
the 'T=rustee pre~arii~~ or filiiz r~tciri~s or reports far tlie'Fr~astee~s ccimpensat on; provided, that the
'Txvstee hereby is aiithorizei~ Cc~ exec~ite; and sietiver any tax retur~~s i~~ 5uct~ fniiiis presented t~ it and
s~~alt iia.~e ~xo'fiabiIity ~viti~ respect t~ tlic preparat r~ii or epnt~iit a€ sitclt tax r~ urns. with res~cct tc,
any ar~iai~nts ~aayatile ureter `this Agi~ceil~ent, the Parties shall cieli~~er C~~ the '~' ~~stee `si~ci~ tax foriiis
or c~tli~r clocui~ients reasgnabiy rec~uesteci icy tij~ Tr~zstce as slzatl be pr~scribeci by the Tzxterrtal
I~.~e~~~~~ic Code car othea- applicable ~s~ti~r at siieh time tai- tiiiies reaso~lably requirctl by the Tri.~stec,
incltidis~~ scicIi tax forms car ath~r c~fleumencs; ~s appIic;able,'to allc~~ty ti~~ T"ruste~: to cictcrmiu~ the
a~noia~~t t~ dcdztct or «itl~l~ot~ (~ncl tt~ aliat~ the Trustee to sc~ tI~ditct ~r cvithIialei) pursuaiiT to t(ae
I~tternal Reti~e~~u~ ~.'oc3e, inc~udiz~~; stnder sect ens X 471 tl~rougli 1 74 of ti3e Cody {~'A7'~A).
Vijifil~atat ~ift~itirt~; any Qiher prevision c~fthis A~rc~r~ient, the State expresses ~~ta opi~i ate anti maiccs
~~o a~reenlei~ts regardi~~g the tax. status of the Tn~st, but: ie~~ves such fi~atters and the xesultirs~ tax
~:o~~seq~cnccs to Grace's discretio~~:

          2.2      C;rcation of and Trans~'er of ~.ssets to tt~c Trust:

                    ~.?.1 ~stablisti~iient af'I'rf►st. `I'lic Parties Iler~b}= irr~vi~cabiy estat~l sh ttie Trust,
ivliich shall tear tlac ti~rt~e "I~T)~D CI~Nt Pcrfar dance Trust.,, t~it}ian five (5~ E~usiiic~ss days cif the
crate hereof the Trustee s1~~It cstabtisli a trust ~cce~unt ~ti~e "Trust A.c~o~int"}. 'I'tie put-pose cif ttic
Trust ~ccoirTit sl~ali tie to i~eceiv~ ~~~ci acinii►iist~.r the '~"ri~st ~sscts and to facititat~ tl~c making of
~~ay:a~sertts laereu~~cler; atl iii a~ct~rda~tce ~rtitl~ this ~:~reen3eiat. Grace shall contr~b~tt~ tl~e T~~t~~t E1s~ets
to t~~e Trust iaY the mariner and at tl~e tii~lus-set forth in t?ie ~cit~r:~i~e~it Agreeizierit: In addition, if tl~e
Surety's p~yrnent o~~ the Sifret~r BQz~d is tri~gei~r~d and Surety cof~tributes. ftu~ds t~ tI~e Trust, the
Trustee shal(~~Iacc and niaintasn s~ich fui~c~~ iii ~ sep~~r~te sub-acc4~iiit to be 4cno~~rn ~s the "~r~-2Q42
k~DTD Q&M.Accouz~t,,, ~vitl~in tlae Tn~st Account, r~s of i3ecemt~er 31, 2Q42, any finds present it1
the Pre-24}42 I~DID t~~i~~I Accoar~~t :shall be transferred to ~n.d b:eep~~~e part of t}~c. Trust Accoi►cit,
and that sub-accoutlt snail terf~li~~ate. The Mate sl~ati gave no ~rbligaEiou to co~~tribute assets ter
}~rc~perty t~ the Trust of any time. `I`Ile Trustee h~r~by accepts and agrees to ltalti ttte Trust assets


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in the Trust .~cco~►nt fc~r [he be~~te~t cif il~e I3e~e#iciarics for the pi~rpnse_s described iil Section 2.1,
~iabject tc~ the te~n~s of this t~,~;ree~ncilt. `I'he Trustee shall liav~ nti ies ons tail ty, grid a~si~t~~es no
liability; tc~ ~tirs~~e ~;z~llectic~n of Trust Assets to be cc~~itrib~itcd' under the Settlei~~e~~t Agi~ee~rtent
franc at~y sa~tree: I~~stcad; all cablig~Eions ivitl~ respect to tl~e Settle~~iciit Agreement's req~.xirerraents
far fta~Y~litig cif the Trust arc-to be scilcly exercised try Grace:

                  2.2,2 (~Lvtiers}~~p i-~ist tlssets: X111 legal. rights anti incidents t~f c~ti~nerslii~~ cif' the
Tn~st Assets sl~ali be lielci se~le3y by tl~e `Tt~iiszec: ;Hoiyever, except ~siid until ot~er~~✓ise provided in
tIxis F~grec~~ref3t, Graec snail ~e irc~ted as the owner of the. Trust ~►sscts for federal in~.r~n~e tax
~aurposes puts€ia~~t to`°~`reastir}r I~~g ilatioris ~ 3~1:77(}~-4{e~{2).

                   x.2.3 ~cici%k r~~i~l Caz~tributions The Tn~stee s'authc~r zed to accept co~~tribiitions
to tlYe. Trust frii€l~, :~i~id panty from, tl~e T'arties ~r tlic Surety, 7`tie Trustee i~ r~~t required tc~.aeccpt
any co~itr buti~n t}~at t[le Tn~stce b ;ticves is nQt apprc~pri~te far ~rd~~~i~a stratinz~'~~ ~aarf of tt~e Trust:
~sscfs.

          2:3      Investn3ent and S~felce~tit'pa of'Trust A,sset5.

                  2.3.1 Segz-~at iii of Tr~zst` Assts. `I`~~~ Trii~t .Assets xh~ll be ~ etd iz~ truck ~~xct
s~;re~;ated f'rc~t x a11, at~d shall ntat b~ co~ni~~~;lect iiritl3 ~iiy, atl~er assefs cif Grace, -the :State. ar th4
Tri.~stee.

                    2.~:? Invesfine~it IZec~uireii3en~s. T"he ~'rust~e shall Ixave zhe atatharifiy to invest ~~ie
T`nast Assets in suc}~ a m~~~ner as tl~e T~irste~ tieext~s appt'op~~i~t~ i~~ t ie Trust~~'s discretion and in
~ccordaii~e; ~~ith el~c gui~ieli~~s ap~ticabie to tt~e Trust ~.cea~.►nt set forCl~ iii 11iis Sect ail 2.3 {clue
~`Iiives~meixt Policy;,} sss rn~ty t~r~ ~~1ie~icleci` its d~~rit ng frcim fine to tune by Grace, the Stare and the
Trustee. T'he `I'rust~;~ shalt consult initially-and froi~i time tc~ iit~te ~~rit}z Grace anti the State reg~rcliii~
tl~e nature az~d allacatior~ ~f ic~vestme~its t~f t~~~ `I`rust Assets. .Alt i~~crestuzent tr~~~sactit~ns effected
fcir the Trust Accc~t~nt ;;hall be r~~etz~ieti in cui~i~Iia~i~e ~.~~itla tl~e Ii~vestnient I'oli~y unless Grace Qr
tl~~ State t~otifes Ti~c~st~e in }~~~-iting c~~'its objectiat~ ~~i~lain sixth:{btl) t~~~s o#` is receipt of the i~ic~st
cece~t ~.ccou~it Statement ~ursi~a►at. to Section S.1 of this Agreeriment; `J`he c~anpiiarice ~f acs
ir~vestrne~it ~=,it1~ the In~rc~tr~iezzt Policy shall }~~ tletc~rii~it~ed o.~~ #lie ciat~;o€pt~rchas~:, basec~.oti tl~c:
i~~ark~t value a~~d ~ssct class car ty~~ as of that date coii7~ared tc~ tl~~ ~ali~e cif ttie Tn~st ~ceci~i~at as
ref tl~e z~~vst recent va(i atiiin date.

                  x.3:3    Inveshr~cz~t Pr~flvisi~tns:

                           (a       C;asl~ S«ee~ Veisicle. Grad a~~thor~izes the Trustee to auto~liaticaliy
sweep unin~T~;~~ed c~si~ bal~nees: in the Trust A;ccou~~t into (z) any manly r~~ar~et r~l~~t~ial fi~nci it~at
(A) e~~n3~~tzc~ iuitl~ the ersteria set_ #`ortli in (I) Securities ~nci Excl~ac~ge:Corn~~j ssicirrRule 21-7 ~~i~cier
tl~e In~~~s[nie~it Company Ace off' 1.9~f~, as a~3~ei~ded, oa~ (II} Securifi~s and Exclian~e Conitnission
I~~ile 3e-~ ui~cl~r the Investment Coiz~pany Act of 194f?; as aiiYended, grid (B} had portFolio ~~sets
of at least `~S,f~00,D00;C1C1(~ ar (i%} any t~a~~k ct~pc~sit account offered by a eomt~zerciai bank ~~rhicla
leas a com~i~icd copilot hind sui~~tus and ui~di~~ided profits oaf not less than S~OO,L}{~O,f~~~} in each
c}~oseaz ~y Trustee (t~efei-rz~d t~ as "sti~e~p ueliicles"}, ~~rhi~li n ay include si~leep vehicles advised
b~ the ~`rilst~c~ andlor its ~ffiliate~ cir de~i~sit aceaL~nts at the Trustee car an affiliated ~iacik. Cira~e
un~icrstancls teat Trustee will derive fina~icial henef~ts frc~~n af~liateil s~We~p vel~iel~s ~iricl~~dir~g



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Pi~~C Bank, Natiaii~l AssaciatioF~ depasit;s~€~~ep a~;coUzits)~ E~=~zicl~ benefits are in additio5~ to the
fees set forth i~~ the Schedule of Accntin~'Fces ~l~ser~~iecl in ScctiQn ~:S of t~~is fl~reea~~eiat>

                              fib)    Inv stn~ents in t)thcr Securities. Gr~ee aiithc~ri'res tl~e T~~ustce to
 invest iii: (i} ~irect.csbli~~tions cif, or obligatit~rrs tl~e.pri~ cig~l of az~ci interest on ~vl~ich are dire~tty
 a~7d fi~11Y g~iarac~tced or iiisure~ by; tllc tlnii~d Stags ~f,~~ner c~ (car liy aiiy agency tk~ereof to Elie
 ~xze~~t sticia ot~li~atio~3s are Lucked by the ~fuil fa th and~e~edi: Qf'tt~e United States o~'A~i7erica);~(ii)
 in~~cstments i;7 cammerci~t piper ~~a~riii~; at such,clate of acc~t~ sitian, a credit rati~~g o at Masi A-2
 fr~rn S&P ar ~-2 FrozY~ Tvlt~€~cly'~> (iii} repurchase a~rcenients ~,~i~l~ a term of ncit ~nc~r~ ti~ari I8~ da}rs
 ~'or securities'd~sertbed ~~ ctause Vii) cif this setttei~ce and critEr~d into ~arith a ~~nancial if~st~tu#inn
 satisfyiF~g t~a~ criteria de~~ribed in cl~t~se (ii) t~f ecticin 2.3:3{a}, {iv;} corporate ci~i~t obligatit~iis
 ~t~ittz a 1Vfc~acly's rating o~`at Least t~3 ar air S~:P rating of at tease A- car their equivalent; (~rj shares
_nr units issl~eci by ~ cotti~~;ry tlia# is registered as an iz ~r~strrient company under the Investn~ecit
 Corr~~~an}r pct ~f l~~#(~,'as arneitd~;d, that is r~ded on a nzifional securities exciian~~ a~lc~ lias a rain
 t~C at lest f~~ir stars fro~~t art~iz3gst~r; Inc., azid {vii any c~tl cr security aPpri~ved i~~ tivriting by
 Grace and. the St~t~ (cc~llcc i~jely, "C)tlier Sc~urities") •`l~ar~dy's„ ~ncans i+dtood~'s I~svcstors
 Service, r~~c: <•S~L=F" a~ie~tts Standard ~'i I'acrr's i~.~#'sng 5~r~r cis, a Standard & I'oor's Financial
 Services I.LC b~i~ ness. I~~ ea~l~ case, Grace urici~rstands that the Trustee n ay receive ~~ian.ci~l or
 advisi~ry fees rel~teci to tii~ issuance of the security .o~ inskn~ ertt~ incittclin~ sectiiratics ar
 instniments for ~~rhicli Trustee (oi` its affiliates} serv~~s;~'as m~~tager; ~at~c~i~.~tater ar plac~n~e~it a~~~it
 or ~~here Txuste~ (oi- its affi'liates~ Izas issued, strtict~rred r~~' u►td~n~~ritten to e Ut~ier ~ecurtties.

                            (c~     l3iscl~stire 'R~~ardtn~ i3se o#' Affiiiatcd Products. a~~d ~eriric~s.
Grace i~iidcrstan~ls s~:iic~ agrees l~~t't c "I`riistcc ~i-~ay, if~pgr~pr ate f!~i`th~ `Trust Acec~unt, {i} invest
in Fcinds ~r Oti~er Seciirittes that. are ~ffitiatect z~ritl~ Ti-usfee and tl~~ these ai~filiatecl ii~tr~stt~-~ents
may constitute ali ofthe ~zvest~~~ents in xiie TnisY. Ac~a~int; {ii}.engage sut~advisors af~iiatecl ~.itlz
the Trustee tc~ iT7ana~e all ar ~ pt~rtian ci~tlic assets in tli~ Trust account; aalcilor (iii} engage ~~7odc1
portft~lic~ ~rovitiers its c~z~necti~n ~,vitl~ m~t3agc~~~~t~t t~f ~sset~ in Lila "I'i2~st ~,.cca~~nt. Grace f[rrtlier
t~nclersta~~ds ti~at the `I'ri}stet may drive fs~lanc at anti c~tli~;r bei~~~ts as <a res~~lt cif the `I`rustcc
purci~~sin~ F'un~is or Ot}ler ~ectiritie~ ~f~tiate~l ~~~iti~ Tiustee ar utiiztn~ ~i~bat~visors a~zci/az- n~►c~c3~1
pc~rlfolio providers af~Iiatcd ~vitt~ Trustee.

                            (~l}     Disclos~.ire Re~ardin~ ~~tc~ tionat Fund Fees.. Csr~ce rinde;rstands
that tlic Tn3stee ~andlor- its affiliates) rn~y provide advisory ar oti~er ~er~r~ees to a compaa2y that is
re~isfc;recl ~s air i~ivestrrieiat compan}7 u~icler tl~c It~~+lestii~ent Gaznpat~y Actof I~4{}, ~s ~iinei~cie~3; {a
"~i~nd"} i~hicli is selected Tor thc~ Tn►st Account and that `~h~ Trustee ~rtay s~eeei~tc ~icivi~ory,
reccardkee~~iiig, ~dn~inisCrafiye, ~fiarehofder serilici~tg, ~ncllar c~tl~er fees far suc3~ acltirisur}~ and otlic;r
services. These types of fees are Maid; directly ar inriirectl}l, by the Find tc~ she Tn~stee ~an~S/or its
~f~liates~ ar~ci are €lescriL~d in detail in t}~e ~ir~sspecttis, private offcrin~, inem~r~a~di~nt r~r other
c~ff~~in~ docu~~~e~zts; ft~r the F~cnci. Cit'ace shotiid';care#'ully red 3 these'dt~eii~t~ents sine t~rese fees
~liill u[ti:3laicly be ~ornc dry the Trust as ~n investor iii the ~t~iitl tltrsai~~[i the net asset ~=aI«~ of the
FL~~~d anc3 cast t~fFund sl»res nr units. F~c.s received by tl~e Tr~astc~ from tlae Funds are in atiditinn
tp the cc~inpensation paid tci ttx~ T~- }stee uncicr this A,~rcen7eint oriel niay result in the Tnzst paying.
multiple Iay~rs offees for the satnc asset, Psircliases cif Fund shares ~uitl be n~a~le in ac~orcl~~ice
ti~ith Trust~~'s standard practices in effec! from tune to tii~~►e




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                            {~~       Special Disclosures t"Qr ~u~~d S~~ares. ~xrt~c~ t~t~derstat~ds that T'~tttds
 and (~tt~e~• Secu~3ties available thrci~i~h tf~e Trustee are fiat bac~Ced ter guara~3tecd by tl~e Trustee.{br
  its ~ffili~ies), are nat bank deposits and ire ~rc?t insured.by, iss~~eci ia}j; guaranteed by ar o~lig~ti~ns
 of tl~c ~eder~t Deposit Insurance ~or~oratic~n, the Fcdcral Reserve Beard or aa7y at~ier go4fen~m~i~c
 a~;ericy. Si~cl~ Fluids ar~d Other Sect~rit ~s ii~vcitve ii~vcstm~nt risks, includ fib ~c~ssible kiss cif
. value. There is pia assz~rancc that s~vecp ve3xicles ~vitl be ably tc~ n~airitai~i zi stable iiet asset value
 i~f ~ 1:Ot? per share; ~'or m are cotiipiete iiiforn7atian abo~.~f Hinds, including charges and. expenses,
 €,race sl3all refer la tlae prvspect~ts, ~arivate Bffei~zng i~iernot~aai~uan or other offering ciocu~rie~~is _:for
the Funds. Grace acki~o4vied~es (i} that it uti~lerst~itds ii~e izlf~n7~atzori set tnrtti in dais Se~tio~
  2.3.3 and {ii} ~~ecei~t and 1-eviet~sr of the prospeefus or s.iirnmary pruspec~.~s, private affering
  ineriYoraricluin ~r other c~f#'cra►ag docurnencs for ~I~e selected I~u.nds;

                               (f}     T~~~►st~e Selected Ilrokers, brace: agrees that in cases wt3ere. tI»
7"n~stee sele~:ts brcikers for trades? the Trusfec may select bra~Ccrs that ale not ~ftiliated with Trustee
~~sr i~rflkers thai a~~~ af~liat~ti ~~vzttt 'Tr~~st~c: Grace: c~nserits tc~ transactions fflr the Trust A~ccou~t
bcin~ executed through brokers a~`~ii~tec~.~ir'rth the Trcistee in accordance +~vit3i this Agre~m~zit`and
the affil<~t~~i broker's cxec~a(itin gaol cies: Grad, t~iay r~~yoke the consent prc3vic~ed iii this Section
at zany t ~Y~~ by ci rcciio~~s :fia tl~c Trustee. If #fie 1'riistee bays or sells sec~~riki~s for v~l~iic~~ an
3f~liatecl i~rb~~r acts as a dealer or utider~vritcr; the Trust~;e .~iay buy these sc~ttr~tie;s from,:o~~ self
tl~tise see~~rities to, eitll~r the affiliated broker or ~ t~er~i~er of an iiric9er«rr"stingy synciic~ite: of`~~~liiel~
an affiliated broker: zs a ri~ernber:. brace consents to brokers selected by tine Trustee retaining
crsr~l~n ssit~ns, nolu~ing ari affiizat~, ~~` ~~~e Tnastcc. Grace fiirthcr agrees i(~at, i~' eYecutioi~ .i~
t1}raii~l3 an ~f~liated broker,- the a ~ iater~ Broker is entitled to receive and retain; cvitllout credit or
offset, broker~gc cort~mis~~~s, cQr~~araission :equivalents, i~~a:rk-ups, mark-ci~~vns ai~~ deaI~r
spreads on tra~asactioz~s effected far tl~e Trust Flceot~nt €n acec~rdance with tt~e affiliated broker's:
sta~~dart# fee schedttics. U~~ojt request; ilie Tnlstee ~~~itl provict~ additional u~fcirc~iation to Grace
cone~r~iiiig cotnmissis~~is, coi~ziii iss~an equivale~tts; rti~rlt-tiffs a~2d tn~i~~Iti-dosvc~s acid tither
trat~sacfit~n costs. CrraGt; i~iatterska~itis ~iid agres;~ that t ie ~'nistee has an indirect fiila~lcial ii~eci~t vc
tc~ scle~t an affiliated broker to execute. ttansacti~iis in the Trust .~ccouz~t, as it resciits its
etici~p~e~~satiiir~ tci its affiliate:

                            {g j       Brokerage Fees and Pri~i~ia. T`lie Trustee- ~~ill seek- to t~[ataiu 3aest
e~ec~ition iii sel~c ion af,brokers ~batl~ at'~Iiated anti k~ti~f~li~t~d; as ap~Iicable} for eaeci~t an Uf
securities traces fell t~~e T`~-i~st >4cc~unt. WI~en sclectsng brokers tic 7"rj:~ste~'~nay take into account
the hill range and duality o#`brokerage. ~ervices iiiciudin~ execiitio~x capability, trading ex~~ertise,
~cc~iracy cif excc~~tia~~, cc~mniission rate, r~s~arch, ~~epuf~i~t~n anci integrity, fai~~ness in resole n~
disputes, fina~lcial respc~nsi~il t}~, res~~ansiveness; ~nc~ any c~thci• r~levanC facttics. "I"ite Trustee ~Isa
nzay c4c~sider brnkera~e and resc~rc~~ serviced prc~vicied by brokers even ttiarxgti tl~e Trust Account
~i3ay naf benefit fi~oa~~ such i~~search. Broker cos~~niissioz~ rate is azze cc~it~~c~n~t~t cat ~arice and a factor
considered ~~~ith other factors. Tlie ~rust~c: «gill not be c~bli~ateci ;t~ s~~k the Io~v~st co~nmiss.zon
rate iii advaatce cif a Trust Account tran~actioi~ or to selec[ brgkers based on its p~irported
commission race. Accordingly, tl~~'T'rust~e shat: nit tie cieeri ed tc~ nave acted ~znl~~~~fiilty solely -for
ca~isin~ Grace ko ~ajr a higher ~oinnlission for a securities trade than t~tIler brnlc~rs ~voiiIcl have
c17ar~~d fot~ ti~~ sai~~e tratt~act~it~n~~

                          ~l~}   A re atit~n +~f "l rides. 'fire 'I"ruste~ ~z~ay, in its sole c3iscretiou, buE
is i~~t rc~t~uired tos c~o~nbin~ ~ur~chases end sales of securities ~~cld in file Tnist Account tivith


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 p~~rci~ases ai d sales accurriii~ on .the same cis}~ of ih~ samre securities helri in accoi~nt~ ~f otliei~
 clients c~ftl~c'i'nt~tce ~~ar its affiliates , ~Vlicn securities tr~insactic~ns are cnmbi~~etl; tI~e actiYa! ~at-ices
 applicable io tl~~ cvnYbined transactions,may ~e averaged, and tlii Tn~st Accoc►i~.T ~~~~ the other
 ~ceoiints may be tIeein~d to haiTc ~urcliased or sold their praportiai-~a€e shares of the securities
 i~~vcilved at tl~e a~~era~;e price then c~lct~latec~. Grape ~indcrstaiids that tl~c Tr~istee ~i~ay not be able
 to seek ~iettei~ ~arieing ar l~i~ver ccists can securities transactions vy coc~~bii7in~ 'I'nist Ac~:c~unt
 securities transactions as deseril~cd in this Sectit~~i 2.3:3(Ii} anc~ that ct~ttil~a~~crl secut~iCies
 trails~icticins ~n~y or ~i3ay not henefiE the `I'n:st Ac~n€ir~t.

                    2.3.E Canstnxc€ tin ctf Invcstn~cnt Aut~~ority. I~Iotl~i~i~ in t~iis Sectio~~ shad be
ccr~~stt~tieti as ~aitl7orizi~~g the `i"rustier tt~ cause tl~e Trust to carry ~n any l~iisiness or to ~ii~Fide fhe
wins #here~rc~n~, incIiidin~; tt~c bus l~css of a~~ nvestr~~eiit eomp~t~y, car a cQmpa~~y "cflniralled" ley
atr" Eivescclient coneany," req«ired to register as suclx uEic~er the In~~estzii~jlt Cc~rripany Act of I9~t3,
as arn~ndeci. Tlic sole ~t€r~cs~e of tDiis Sect c~ti ~;3 i~ t~ authorize tt~e invest~ncf~f of ttte Test assets
or a~~y portions thereof as Yl~ay be reasat~abty pri~clent pei~di~a~ cis of the Tn~st assets fc~r tP~e
~~.i~uses of ttic Tntst. Each of't~ie Bence aris~s ~ck~~c~~vle;cige and a~re~ tc~ tli~ prt~visic~ns of Sect r~YY
2,3.

                                             AT2:TICLE IIT
                                   DISPOSI'I'IQ~14F TRUST AS~~TS

          3:1     Distxibtit tsns for 3CI)ID (~&M Casts: The Trustee sl~ali distribute to jai fir tai
 taenefit of Grace {az~ the Stag, u~~c~er the tin~iteti cant~itioiis ctescri~ec~ in Scctic~n 3.1.3.
 [N~np~:r~'~zn~sancc Deter~nin~tion~ car Section 3.I.~ [Cessation of ~racc]} such anioiznts; at st~c~►
 tiit~cs; as Gr~ic~ tir the State zx~ay iit~itr a~ I~I7ID f)ts~~I Cysts in a~cordat~ce ti~rifh tt~e standards
 prescribed izittie Seitiem~tit ~1~reeiiient ~~v~ti~li Elie T'n~st~e sl~~t[ Have ~~o duty to v~r f'y orct~nfinn}.
 Disfribc~~i~i~s shall be made ai~iy izi accaz~tlarzce ~~it~ ~taten~e~~ts ~rov did to t}~e Tn~stce p~~rsuant
 to the pr~avisions of this ~+.rticte.III.

                    3:.x.1. general Intent. ~s ~arcivic~~ci i~~ tlic Settlem~.;~t Agre~~~~ei~t, to the gceate~t
extent practicable, ttte Parties is~teiict that nQ ctis[ributrc~ns ~vil1 lle made Env tl~e Trastee.~~ntii ~at~~taiy
1, 20 3 (exc~~at for at~y funds t~i~t -may.- lie rlisfribufcci Cram tiae Pre-2(1 2 ~DII7 t~~M A~cr~uilt}.
Distrit3zrtzci~3s fc~r I~DID {33~1v1 C'tist~ ~iay ~e made frc~E~~ the T~-~~st, inc(ucii~{g the sub-~ccouiit, iii
accorda}~~e -~vitl~ 5ecti4z~ 3.~.

                  3.1.2    DESERVED:

                   3.1..3 KI)ID QOM i~on~crforn~a~lce IJeterri~i~laiion. If, at any tiz~3e after
1~ecember 31, 2f}25, DI~I£~C cer~ifi~s in a a~jriting delivered to brace anr~ tl~e Trustee= tf~~t alI
r~r~uiren~ents laavc been met for a ~T~n~erfonnai~cc Detcrt~ii~iatian, including prcr~~idin~ Grace an
opporeun~ty to cure such ~~a~~perfori3~~nce iii accordance.l}~itt the Settic~n3~nt A;reenlet~t, the Stet
~~~ay ass~:~i~~e all rights aril ~i~thori#ics of Grace it~Id~~- this Agr~:eaa~ent evitll ~~espec[ to such KI:~ID
~3&M ~vc~rk ~iescrihecl iii the No~p~rforniance I~etersni~zatic~n, inei~~c~in~ t}~e ribiii to regcaest aa~ct
obtain disirib~itio~s in accordance ~viih 3.2.

                   3.1.E CeSsatian of Grace. I'~irsuant to Section 6(e} Qf the Settl~meaat Agrectz3~~~t,
 ~ip~~~ iiotiee frcatn the ~tt~t~ to ~13e Truste ~r~d Grace, accon~~~a~~ied ley c~t~c~t e~xtation of tale basis



                                                         _g_
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 for the a~c~tice; iFGrace (or a~ly ~i}ergerl or ~itcccssrar e~itityr t17at assumes Gza~e's ~btigations to tlae
 State wider ilie Settleatierit A reenl~itt}.ceases to exist car fails to continue Co t~perate as a ~o~n~
 concer~i, alf ~~igl~ts aFici atitf~c~riti~s o~'~rr~tee iin~er this A~reen~e~it staali autt~~i~~~tcally at1~ ~vitl~out
 ft~~tti~r ~ctioti cease}. and all Tn~st t~ssets s}iatl ii~~~re cc~m~letcly tc~ the berz~;fit of tine Tate cirityr
 ~~~iti~Qi t any ~ rerec~~isite Nonperf~rizia~ice Deter~~~inatioil ~~etere~~ecd i~~ Secfion 3.1:3; provided,
 3}~~~e~ter Grace s~t~il f~aue thirty X30) days aver strc~~ notice tc~ ot~je~:t tc~ arty assef~tiort of Grace's
 cessatzan i7~ a 1vriting delivered tU the Tnistee anal The ~tatc.

         ~,2        Frc~cess ft~r Issuance Qf Distribut t~~~s. The Ti~.~s~ee small make ~listributio~~~ for
 KDID O&~i!i Casts ~i~~ri~r ~ectio~ 3.1 rc~ Graee ~r the State (~~i~der t}~e cc~~~ciitions d~scrib~d in
 Sectiai~ 3.1,3 ar Sectii~n 3.1:x, ~vllich go~rerns tl~e State's contingent rig}xts to distril~~ttic~tz}f as tic
 case z~~~y tie, iii acc~r-ciazi~e ~~ii~~~ ilia f~Ila~~ring provisions.

                   3. .Z.I Distribritit~i~.I2e ~iesf, Tire Ben~fici<rry seeking the distributiri~~ shall submit.
tea tl~e `trustee ~inc~ tlxe ~ther.Bene~ciary:

                            {a)        ~ st~~t~ni~ttt scttir~~ fc~rt}a tl~e exact aii~ot~~~c cif the t3istr bt~tit~n (tl3c
 "State~i3ei~t"), upc~27 cvt~icl3 tlie; Ta~trstee inay cc~i~clusively rely;

                            fib}     4.written certification,tttat t13edistribution is for I~I3IT3 C3~IY1 Ccrst~
 ~,viihiri itie restricted ~aur~c~ses aF fih~ Trust a~zci tlYe ~~~t1~n~~i-~t .Agreement and, in'the case ttf a
 distribution from t ie Pre-2i~~2 KDID Q~.M ~ccc~tin~, that stkc:tx cl str[t~ i~iazt dc~e~ ttof deer se the
 balance ~f T`n~st ~ccot~nt, ~t any time cl~ari4ig the year in ~~tfli.cE~ suctl dis ' butzan is t~ be i~a~ie
 ~e1Q~u tine "I+tlaxiijYuin 5~.~n~ of ~3c~nd Ai-~iount in ~rzven T~efault Ye~~r" ttir tiie £~l[tiv,~ing year as
 refte~ted sou the Surety Bond An~ocin€ Ssl~etiule attached tc~ t11e Sett9e~~~ejcC Agreetrient as ~xhibrt
 ~, tivE~i~1~ ~~rti~cataon,sl~all set fo~t~~ tl~e amounts necessary to de i~i~sfr~te c+~i~lpliancc ~}~rifli such
 reguiren~ent;

                            Vic)       ~'cir coii3~leted T~DID Q&i~~i that I~a~ already been paid far by `the
 Beneficiary s~~k.in~ rlistr btitt~ri, tt~e nvoi~~s and receipts sufficient to demonstrate [hat 4vt~rk {fir
 €lip relevant portion lhcreot`~ l~~s bec~~ performed az~~i pav~~en.t I~as been n;~ade (~.jhicl~ tt~e Tniske~
 sl~ali ii~ve rya duty #a reirieb=a},•

                            {d}      ~t~r ciistributioiis directty to a cc~€ tractor; ter ven~Qr (~~itlaot~t advance
 ~~}iment'b}j t~i~ Bericficiary seeking distribL~tit~~~~, a copy a~th~ ~t~nfra~t far the ~erfc~rman~e cif the
 L~cirk ~ccompat~ied ~y -the relevant i~~{tike{s~ for payment ctu~. tc~ the speeifie~i cantractc~r or veiid~ir
 (~~r~~ich tl~e Tr~~ste~-shalt l~~ve na duty to review) ajici

                           ~e}-    Trustee shall have ~~o re~s~~ansibiti~yr to cc~n~rm receipt ~f ~~~y ~r aII
 rcc~~~irecl su~poitin~ dflc~~inenfation for each distrib~ition or the cc~n~~leteness cif any su~;l~
 su~pc~r•ting dact~s~ertt~tivn provided ~vitt~ eac;~i distril~tition request other thin to ct~nfr~n a
 distr ~~itiof~:request leas been ~~eceived ~'r~ri~ aii at1C~iQriLec~ I3ea7~~ci~ry.

                   3.2.2. Distributio~3 Pa vii~~nt. ~~fithi~7 tt~r~~ (3} ~~~siness days. after receipt of a.
e~istriE~~ation xcc~t~est subn~i~teci iri accarrlai-~ce with 5ectzoi~ 3.2.1; tllc Triistec shad issue suc~i
distribution i~~ accarclat~ce 3vitt~ the Statei~~ent.
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          3:3    Tc:r_ms'_nat~tl~ Distrib~~tiflns. Upon tl~~ conditic~r~s, aa~c3 to ttie eYle~~t, }provided i~~ T}7is
 Stet c~~t 33, i~c re~Y~ainin~ ~I~`t-~ist Assets shall 6c dis[ribtitcd in acccsrdarice ~~aitii this Scotian 3:3;
 a~~d tt~e Trusts ell ter~i~inate.

                    3.3.1   RESERVED.

                    3..3:2 t7pci~i Ex~iratio;i cif '~ert~~. t~.o~lsistc~~t ~v tl~ tl3e Cerii~s trf tl~e Se~tl~~rient
A~reei~ie►~t; the Tnist shall ter~~inate oi~ ivC~i~cli 3l a ~ 122, Tli~: TrListee shall-not ~ti dciiy ~ralong°_the
durat~t~n of the'I"rsist a~~e~ shall, fc~tlo~vingthe date pravicIed isi t#i~ iu~mediatety preceding sen[ez~c~;,
ei~cieavor to res~stve; ~~'itic, ar otlier~=~i~~ dispose of all clai~ris a~aiz~st the Tr isl pursuant to +.~ritfcz~
ittstriict ci~is frp~n the Beneficiaries; ~~ic~ [he~1 (ui~tess c~then~is~ t~a`rc~ct~d tit. vt~ititi~ by a~ree~nent
bettiveen the SCate a~~d Grace) s~ia1! discrib~ite tie rc~7naini~ig Trust Assets to Grace and the ~tat~
eq~zalty, sut~ject to the prior pay~~lenfi of the Trustee=s fees, exper~s~s a~1d i~d~mi~itzes ~cc~~rei~
tllrougll t~~e date ~f termnatia~~.

                  3:3..3 Uuo~~ Certific~iio~i of a Gonciition of ~ariy Terzniz}atio~~. Consi~ten~ ~iiti~ the
terrtls of tine Settlen~~nt Agreen~~ntr the Trust st}all tc~-~z~it~atc ~f eitllc~- tlic State or Gr~cc certif es iii
kvritin~ tc~ the Trustee ~s~tl the ~tl~er Bect~ficiar~, t11~[ a Canc~itian t~~ Early 1'~r~t~iiiatir~~~ ti~~ t~ee~
met pitfs~~ant tc~ Section ~a(a~(iii) or Scotian 6(d)(i}and. such otter ~3eriefi~ ~ry does ~i~# i~titl~ir~ thirty
(30) mays after actual receipt of s~z~l~ certi~c~ti.cii~ c~bjee~ tc~ tl~e terr~3 nation of the. Trust .in i;~ritin~;
to tl~~ Tr~~~tee and tl~te ~~ne~iciary ma4~ing suer certi~icatic~ri. In accorda~ic~ ~vitla such'certificatic~n
iii th e absence t~f' t~t~jectic~n fra€n ttae ether ~3e~~eficiarY, the Tni~fe~ stlalt effect teri~~ii~ati7i
r3istriE~utions of tl~c reniairiiii;TrusrAssets to Grad, s~~bject ~c~ tt~c pr flr p~yn~ent ~fa~iy outstanding
Tniste~'s fees; cti~e~lscs ~zi~3 inc~en~riities accn.ied tlzra~►~tz tl~e d~tc oftcrnninatian.

                                                  ~S,RTICL~ IV
                                                 TRUSTEESHIP

          ~.I     ~~pornt~~~ent. Pl'~C ~a~~k, Ie~atiQi~al Associ~tic~n, nit i~~ its inciit~idt~al c~~pacity, b~~t
 in its repr~;sen#alive capacity as '~'ri~sEee, is Hereby a~~poa~iTcci tt s~r~~ as i#~~ °I`n►stec to adnii~;ist~r
 the Trust iii accorc ~z~ce ~vitlt tl3e terF~-~s cs#~ this A~re~inent; and the ~'rustec I~ereby accepts such
 appointment and a ryes t~ serve in 5~ich represca~tative c~pacit}r~ effective upcari tl~e date ref phis
 ~,~LC~.T17~t1I'.


           ~.~       ~.C~~CV~~


          4.3      General f~.~~t}ior t~~~zci C}l~l~~atica►~~. TI~e BeF~c;~ic pries i~~tend that tl~c Tnistee's
 poi=r~rs be exet•cisable solely in ~i n~anx~er that is ct~r~si5telit ivit~~, and i~r fiirtl~eraiicc cif,.tlie purpt~~es
 of ttic Tnist-set. forth in this A~ree~~~ci~t, cansiste~~i ~viti~ Settle»ienk A~r~en~erit, any not t~tti~rti~is~.
 The Trustee i~t~dert~kes tc~ ~erfor~ii such duties, end only sucki duties; ~s are spec'i~e~tl}j sot forth
 in tl~i~ Agree~i~eiit. No implied dti~ties, cc~s~eiY~i~its car ohiigation~ shalt be-read into this Agrecti~te~it.
 Tftc Tr~~ste~ s[~~tll lave itie a~.~t~iority to bind the Ti-~~st, and airy ~uccessar 'i ru~tee, or suc~e~scar ar
 assign caftlic Tnist, bilk shall fc~r ali ~utposcs ljereunc~er be acting iii its zc:pz•e~etitativc ca~acity~_as
 Trustee; a~~d riot individ~.ially. The Triisiee sli~ll l~a~=e nti at~lig~tit~ns to ~erfo~~a aF~y aerie=hies for
 lvhich tl~e1nisi lacks s~~ff cieiit funds. Tl~e Tr~~st and tt~e Trustee sl~ail Heil end are i~nt aut.h~irized
 ~o enba~;e in at~y iracie ter business «itli aspect to tt~e Tn~st assets ~.r ~r}y proceeds therefror~~.
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          4:4      P~~~rcrs. The Trustee ~i~all tjave il~~: folly«~izt~ ~~v~~~crs isi ad~i3ir~isterii~g tl~e Ti-~tst:

                 .4.4.1 Petansylvania La~~~. Except ~s t~t€~ersv se pcc~vzci~cI i~z t}iis Criisc agreeri~e~i; tote
Tn~ste~ s~jatl ti~ve ail poe~ers granted to tr~istee~ ii~der 2f} Pa., C.S<§ 77 0;5 and 2~ Pa. C:S. ~ ~780:b..

                  x.4.2 Aciclitic~nal Po~ver~. ~Vitl~c~ut liinitis~~; tt» Tritsiee's pQ~vers tinder ~.4 l ia3 any
manlier; the Tnzstc~ is fiirtlier a~itti~rized t~3 ~crfrir~~i {►try anti ~Ii arts a ec~~sa€'y t~ a~~ti~tiplisl~ t1Ye
pu~-pases c~C the Tntst and f~cilttate tl~e Parties' conlplian~e ~viti~ the Settten~ezit A~reen~ent;
iiYclucIing tl~e c:~ecutit~r~ ~incltidiiY~ ate bci~aif ~F tl~c Trust) of agreements, n~tr~i~ncnts a~i~t ot.l~er
dc~c~amei3ts necessary to ia~z~lem~~it this Agreement, the Settlemeatf A.~r.~em~r~t, pr a~~y c~rc~~x of tl~e
Cat~rt c~r`as r~3ay be necessary ar~d proper to carry- cant ti3e provisions of dais A~rcement, and= to tli~
ext~iit directed y ~ii~ Benefi.eiaries i~~ ~~vritin~;, the Settlez~tez~C Agr~emez~t; ~1~ditic~nally; the Tre~ske~
mayr arr~on~, vtl~er tliin~;s, i~-~vest the TrL~st As~cts as provided in this ~,.grcenierit atitl ~l~ clt~eun~etits
iii Co~~ri'o~~ bel3aif cif itself aiid the Tnist:

                    4.x.3 Lin~it~t►c~ns nn tl~e Trustee's t~ut~iorit :The T'rc~st-and tl~e Trustee shall ~1ut
aiid are not a~itl~orizcd to eFa~a~;c in ally trade or t~usiz~css ~ri~lx resp~ct°ta tla~ Tnisfi;~.sscts gar a~iy
prt~ceeds tiZeref;r~rrt. ''~Ii#}iocit li~nitin~ ttie 'Trustee's right to pa~.rincr~t of is fees, ~xp~nse~ :and
i€~~ien~n ties hereu~~cter, the Trustee sha3i not make distrit~utions far ~Suiposes ot~ier than a~ ~x r~.ssly
set forth iri Article i.II c~ :thss Agreement: N~i~~itf~standing s~nythin~ fits ~t~~ contrary- in this.
~green~er~t, t~i~ ietttement ~.greerc~ent, 2~ Pa< ~:5.~ 7?$0:5; 20 Pa. C.S~ 778.6 or az~y +oit~er lava;
foie Trustee shall not,t~a~ve the power tc~ resc~Ive ai~;~ ziispute t~efc~een oz among ttze l~enetici~r es, the
~'arti~s andlor any other Persaii ~•e~ardiiig tlYe ii~terpret~tinn, ap~slicatio~x or cnfcirccinciit s~f this
Agreci~ient car tl~e ~~ttietrient ~green~ent a~zdlnr the adrriinistratcin nf'tle Ti-€,tst, :including t}irot~gh
iii~di~it cii~; a~~bitr~tiot~ Qr c~tl~er atteriYati~re dispute r~sc~Itit ~n ~areicedur~s:

            ~.5     Coi~~pensatio~x. ~`I~e Tn~stee s1iall be erititlet~ toreceiVe c~s~np~iisatci~ f'r4~i~ Grace
 #`car its ~crvices under: [ills r~.~ree~7ient iii accordance ~~itl~. the icl ~duie.:of Accou~it ~'ecs, ~ ctip~r of
~,~hicl~ file Tnistee deliz=creel to t11e Beneficiaries with this Agr~ctix~~~c, tldclitionalty, brgkerage fees
~~~d cc~ni~3~issions n~~y lay cl~~~•ged tc~ t[ze Trust Account in c~zmectio~~ 4vit}i certain;seci3rities trades
exect~t~d ley t ie Trustee and suba~lvisars ifi acccirc~~~nce ~~titta Cris Agreeineaxt. In cax~sit~ez~arion for
reecivin~ ~c~~~~~i~issit~zis frc~ia-~ tl~a 'Trust Accaufi~, brc~~ erage firms may provide Txustce ~vitl~
research; pra~ucts anti-other serslices ~Wiiici~ mad.' ~~ t35~t~ ~Q SSSISt TTtiSr(.~ III ~TL3V3£~ii3~ lI'i'N~Stf3lEdlt
advice. file Benefi.eiaries and other clzents. Grace azi~horize~ ttie T`ru~te~ tc~ debit t}~e ~'rus~ A:ces~t~~~t
(car such other ~'~C Batik. account o~vt~ed h}r Gr~ec a~ brace zna~ request) for file Tn~st~e's
c~tl~pci~sation in accorc~a~~c~ :with the Sche~iuie t~f Account Fees then in effect anc3 all of the oilier
casts,~ild expenses d~sc~•ibecl abt~ve~ 1~Vitl~ic~ ~'c~rty-fi~~ (~5~ ti<~y~ ~~'ter recent by C~r~ce t~f a
State~i~nt froii~ the Tn2stee scttiiig forth ~a) t13e a~i7ount.af any compensation, fees tar expenses ctue
to fife Trustee; car (b} ariy a~nnta;3t debited fr4n~ the finist ~ccoatnt dt~riii~ tti~ Stateiiie~~.t period;
Grace shall traiis~Fer funds iii ~I~c ai~~io~~nt of~ such de~iit; co~npet~s~ tic~ns fees +or ex~et~s~s to file Trust
tc~ be added to a~~d inetucied as part of the Trust Assets iii order tQ reimb~irse the Trust in fiitl far
a~~y ariiounts: ~et~iEecl fraz~~ floe Trust account by t11~ Trustee ~t~rs~iant to this: section 4.5 Seetioii
4.6, ec~ion 4;'T ar Article VI. ~'~lithin anc (~}day of the ex~iratit~n of such forty-five {4S} day
peric~d,'Grace sl~atl notify tine State if Grace does riflt transfer such add tionat:funds.io the Trust ifs
a~cardance t~vitli t1~e in~medi~fie(y preceding se►~tence.

         ~€.6     Liiiiii~tticiit an Liability ~fTrustce.
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         TI~e fplfc~tiving pr~vssiox~s shall govern flYc. Trtist~;c's ri~kits, pc~~vcrs; ot~ligafiozas ~ncl duties
~incier this Agrceme~iti, notzviti3sta~~~iin~ niiythin~ Iie~~ein to the ~antrary::

                            (a}        ~1.i~sent ~ct~ial fraud, bad fait~~; ~~vil(fii~ ~mi~cc~i~duct, dross ~ie~ligence
or a>t~~a#ez~ial breach of its c~k~lagati€~z~s ii~iclez t~iz~ A~re~me~~t as ~stab~i~l~ed try a fi~~al jc~ri~einetit t~f
tiie Caurt r~o ~nnger~ subject to ~~~peal; ~i~ the Tr~~stee shalt i~cu~-~~~ liability ft~r.~~~y acti~ai t~k,~~~ or
o~nittet! to be take~~ ire acc~rdarice ~vitli af~y it~structic n; direefiion or request of a I3ene~ciary #lint
is nr~f;incot~sistei~t ~xritli ~~~e ter«~s a~tt~i~ Agreen~ci~t, is~~tutii~~~ ~~it~ :regard tQ dist~~ibiiti~~~s under
Article III;:aiid (ii} tlic ~xt~stee s1~a11 i~at be liable fir any lass .t~ the Tnrst:~ir ~1iy claim ofinet~cz~lity,
p~rti~Iity ar unre~sonabie~~ess resulting from any ackion taken iii a~cordailcc s~ith sttcl3 d rect~ci~i_
Tl1e 'i'nisfee sliest t~aic no duty ~r alili~atio~~ to r~v~ew yr confr~~z ~vliether,~c~y action tatccii by it
pursua~~t to any such instn~~tions, direetzians ar rec~u~sts coni~lie~ ~~ritli the teni~s of t2iis agreement
(unicss sucta instnic ian; direction ~r re~t~est oii its face is n€~t c~t~zsist~i~t ~aitli tli~; trans cif :this
AgreeYilei~t); the Sc:ttlerr~cnl Agreement or any otlicr agreement, artier or ia~strt~it~et7t: Tt~e Trustee
shall gave no d i.ty to }~ro~lide advice tt~,;or cc~tiit~tz~i~}irate wit13 t~z` tvaz'n c~~- a~3prisc, any Beneficiary
c~inc~ri~iz~~ i~istai~e~:s its ~.vi~ict~ the Tru~tec ~vc~~.tld ~r ini~;I r have exereisecl tl~e Trustee's ti~vi~
di~~ret`ion in a tnan~3er c~z~'Cerent fro~~i t ie manner direcfccl b}r a Beneficiary;

                               (b~     Nc~ prav s an of t~iis Agreement,_ t~3~ Settl~za~e ~t Agreemient, ar a~iy
 Co~.~rt Qrdcr shall rec~~iirc tl~e T'r~~stee to expel}d car a~isk its o~s~n persnt~al fi~zit~s car c~thcrLvisc inc~.~r
 any ~~~rsonal'fi~ia~~eial liability ire ti~~ ~~crfc~rmance of any of its ducics ar t~ie'exei`cise o~ ~~z~ of its:
,~utliori~ies ~~ `~'nzstee here~fnder. No~~it~~stac~d i~~ the frarego ~i~, t~ie;`Trustee shaJi satisfy ~r~~~~ ids
 oe~ri~ fian~is-any li~►i~ility i€i~~ased by a cgLtrt ~f can~peteiiC jurssdictic~n on accciunt of Tnastec'.s actual
 fraud, b~cl f~itli, ~villfiii n~isea~jdu~t, brc3ss X7e~li~~nce or tttatc3•ial brcacl~: ref its ol~li,~~fiiizls under
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Trustee cc~~~riiiifitcd act~~al frat~c~, tiad faith, v~iElful nYiscQnduefi; cir ~r~ss ne~lige~~ce gar ~nateriall;y
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~r a zitaterial t~reacti of flxi~ A~reci~x~;nf: Ex~epx as set forth iii tl~e tirecediii~ sentenceT the Traistee
sf~all have ait~ l~~l~ility fc~i at~y action take~3, or errors i€~ juc~n3ent ~na~e, zn ~;c~ad f~itl~ by it or any
of its officers, e~7~ptayecs ar agents. Nothing iti [his Agreenz~sat shall be construed to exeui~~tc tl~c
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n~i~c~nduck, ~r grass1~eglig~nce ~t~ a ~t~ateriat t~reacf~ ofttiis ~~~~eeii~ei~t ~iii.eacl~ case as cictez•min~d
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indezxii~ifie~tifl~i rsf the Tn~stee, ~r~c~ shall ititiemrtify~ protect, defend ai~~i 17o1d ~iar~i~less the
Trustee {in its capacity ~s such .anc~ in -its inciit-ideal capacity=}, its affiliates ~nc~ their ~•es~~ective
c3ir~ctars, offie~:z~s eni~layces; :s}iaichi~idcrs; rcpreseittatives, tF~ustees, ~z~az~tnrs, heiic~ciar~es,
certificate holiiers; fY~en~ber:~, agents, attor~~ey~, ~cct~unta~its and their heirs, successors anti


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~eri-~~itfed ~ssi~ns (~acli, air "Ii3dea~zi7i~'ie~l Pecsc~n") from as~d a;aii~st an}~ a~~ci all fees, expenses,
da~l~age~, tosses; ci~ims; liahilitie;;, ~ea~a[ties, causes t~f actiaa~, c~et3lands, .jud~n~ei~ts, Mixes
(~xclutliri~ aiiy taxes of t}i~ `Tn~ste~ o~i, ~r measured by, co~npe~~sation re~ei~:red by tl~e Trustee},
suits or: cysts (in each case i~}cl~ic~in~ re~sonahle attorneys' fees a~ld ex~icnse~, c:c~urt costs ai~ci costs
of i~~vcstigation} of any f ind dr nature ~v~~~tsn~ver ~~~-isiii~ ouS cif or in ca~iriect~on ~vitl~ this
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               ~~c~~     that. Gz~ace s~atl not:be required to indemnify an Ind~~~~tii~ed ~ersan for a~iy
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cif the 7`nis[eebill terminaee on tli~ date ~Iie `~"nest is terzr~ hated in accoxclance ~~ith this A,~rne~ae~zt
c~r,b}r aai order of the. C'c~urt, Further, tli~ Ti~ust~e: may resign at ~~~v dime ~v giving: at least tl~irf~
~30~ days pricsr Fvritten ns~tice cher~of to tlx~ Beneficiaries and'a~iy Co-Tru~tec; end. the res ~tzation
shall becoi~~ effective ~z~on the deli~r~ry cif the .Trust Assets tc~ the successor 'T'r~~stcc appt~itite
uxlder 4.10. Scctic~ns 4.S t~irt~~~~li ~.'1 a6c~ve shall suruive the termination ar assig~lment' cif tl3 s
A~reerrien# acid t~~e. resi~i~ation or reil~cival cif the Trustee,

         ~:~     Re~tlacezrient. The Trtistec ~~i~y be removed, i~jitYt r~r ~~ritl~aut cause, a~~d replaced
 zpan thirty X30) days written notice ley a :;oint ~.srritte~~ determin~tiori ai' the Beneficiaries; The
rei~~c~val shall become effective- ~zpon the delivery c~f`tl~e Tn~s~ Assets tc~; tlic siicc~,ss~r Trustee
a~pciantcd Liicier ~#.1 il.

          x;1:0 ~~x~c~intn~ez~t of ~izcc~ssar T'n~stee. .If, at any tine a sttcce~sc~r "rustee is regti#ireci
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successor Tn~stee.'a~~~oi~iteci herez3jider sl3all exec~~te a7~ ir~strui~~cnt accepiiii~ si~cli aPPoii~tineiit
13creundcr aui~'sliali ~t~ siacii acceptance i~ritl~ the T'arties. Tiiereugan, suety sttc:cessorTr~iste~ sli~lI,
 ivitl~out any ~`urtlier ack, becat~ie vested ~vitl~ all the ~rz~pertaes, rights, pox~~ers; trusts, end duties off'
 its. predc~esscar ire the 7'rusf with Tike effect- as if` originally named 1}erein; ai d a rei~~oved or
 resigtiii~g Trustee sh all, ~~F~en r~ciii~steci in e~ritin~; try t ie st€ccessor Trustee, c~ecute ar~d deliver
~z~ rns run~ent or inst~-timents ~i~nveyiii~ aid tr~nsfezri~~g tti such sizcces~or Tr~~stee ~indcr the Tr~lst
alt tl~c Tn~st Assets in tl~e c~~stody of such pr~deees~ar Tnastee. ~ s~sccessar Trustee ap~ointcd
iialdcr this 4:1~ shall be a Tiational f~~nkii3~ a~sQc"s~tic~ri; or dank ar: tr~~st com~>any c3~artered tinder
the la~~s of Perinsyl~,~ani~, tiavin~ a. capital and sur~tu~ taf ~t teasf ~200,{104,~OD. If no successor
'I'n.istce is timely a~pa'stlt~~i, aid Sfi~ll hive timel}~ accepted ssicli ap~s~intnxent; then the Trustee
n ay, at the sole r:xpcnse ofG~~ace {snei~~ciin~ wit1~ respect to attarn~y's.fees acid e~pcnses}, petition
the Curt fci~- the ~p~4 ~~tr~~ent t~f a successor Tr~astce,




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       4.l i  Nc~ I3o~ld: l~;ot~v tl~standi~lg ~~~y state.iaLv t~ tiie contrary, the T~-~~stee, iTlctudi~~~ a~xy
successor Trustee, shall be exeti~~at frvm'g viia~ any bc~i~ci ~r other security iii ~~i~y jurisciictioi~.

                                          ~RTICL~ 'tT`
                                TRUST R~CC}ItDS~ 'I'A~: ~t~;~'C)~7['~~IG

          S, I     ~ccc~untin€~: The Tr-~isiee ~~ill prc~iricie q~rarterly st~tc~~zet~ts ta'tlie Beneficiaries that
inclii~l~ a listi~~g iaf` atI fransacficins, r~ccipts, `arid disbursezlicrits tic~riia~ the ~recetiit~g t~caarter,
tageti er ~itli a curre~~~ tisti~~g : off' tl-~c; Trust ~lss~ts Iielc~ it1 the. Trust Aeeo~int ("Accoiiii~
Stateiixet~€ts"). Eac~~ t~~tlie Bet~efi~iaries ~~rees that the Account Statert~ct~ts i~x a ~'~or~n custcitnarily
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_~.cct~utit transactioiis. Eacl1 t~f tlie'IIeii~:~~eiaries ~incTei~ska~~ds..that it inay, ~t iii additional cost;
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c~nfF•n7atia~i aa- ~ bi~i~ker dealer's ccin~rinatinn, as ~~~}3lica(~1e.. U~ron recci~t of t~ccoi►nt
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ratifi~cl by tl c Be y~c.fici~ri~.s znd will be final acid hi~~ding can tl~c Beneficiaries. C1x~t rsr laefore
Felaruary I cif each calcnitar year, tl~e ~'ri~stee si~ali provide the. Beneficiaries ~,v t1~ a's[~iten~ent
reflect iig ttie Trcast AsseT.s' balance, as cif I~ccen~b~r 31 cif the inime~iiately greced iii: year;
sumznfiri~ing`ail Trust transa~tic~ris frc~c3i such prec~;di~~g year.

           5.2'      Tz~ust IZccards. The "l~r~istee shall ma iTt~in prayer books; records., anc~ accat~nts
relatuig to all tr~~isactions perta nin,~ to the Trust, a~~d ~lic assets and liabilities crfihe'1"riist > iit siicli
detail end fnr s~ich period of time as n ay be necessary tv tenable tl~e ~'r~xstee tip rtiakc full anc~ prcaper
acca~iritin~ rec~ttired t~~~der tlic Section 5.1 and_ t~ cr~tiipiy witf~ ~~ppl ~a~ile provisicins of la~~ and
grad ~~co~ir tiny; practices; ~i~ei ttie ~3ezie~ciari~s shall have the right, upon re~sas~ab[~ ai~vance
written ~z~tice delir~cr~cd tai the Tnistee, to ins~aect ~ticlr books and rccc~rds. ~~ccpx ~s o~h.cr~visc,
pro~~ii~~d Iierei~~; i~r ~s rcasa~ably dircctecl ~y tlzc Bcnefciarics in ~~rrit ng, tli~ Tn7stcc shall ~~ot be
r~q~aizeci t~ fire ally acc~i~ntin~ cir seek appr~v~I ~f fP~~ Gc~urt ~w~ith res~ect.ta ti~e,~ci~3~ia~istr~tion o
ti~e.'1'riist, c~r.a~ a condition fir maki~ig a~iy ~ayr~~ent.or disti-ibutio~3 otit cif the'['nist,.AssetS,

           5.3     Tai ~~~formatian: Subject tc~ de~~iitivc gt~ida~lce fro~~~ tli~ I~~ten~al P.e~~enue °Seruice
or a jti dic~al' de~is an to the contrary,. tl~e Tn stee s~~.a~l fui'nisl~ f~ Ct'aee or any other party .
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ir~cfl►~ie,, deductirin, slid credit. of ttie trust tar that tax year ~itlrib~atat~le tci ttie ~c~rFit~n of ttie Trust
treat~ci ~s ~«r~ied b}°: ~l~~t plrty iii aGcordar~cc ~vit1~ Treasury Regulatit~ns ~,~,' l .b71-~ ~t~Ici 5 3~ I.7701-
4(e}{2):

          ~4       Online Account Access. 'T'lie Beiae~ciarics m~ty e1cGt tc~. register:to lase pass~.~orci
protecfed seeti~in"s ~f tivebsites spoi~sorec! key I'1':~: Bank; Nafional Association tixcau~i~ rv]~ic1~ the-
Beneficiaries ca~~ access the i~~ Acca~int ("Sites''). The Beiie~ciaries 4vill be required to accept
a ~vebsite user agree~ne~~i{s) for the bites (ttie "Website Agreement"). IEtherc is a cc~f~flict t~etz~=eery
tlte,tez-~x~s pf a ~~cbsite r~grccialcF~t ~a~~ci this Agreen~~nt, t1~e tcni~s of[tie l~~Vebsitc A.~ree~~ieiit ~~ili
apply. tQ the Parties' use of tl~e Site.-




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         S.5     Tai Rc~orti~r~. Tc~ the extent direc[eci in ~vri#ing by tt~e ~~ne~ciaries, the Tnrstee
~iiall also ale (or cause tea be filed) auy. other sthteinents, returnsa or disclflsiires, each iii Elie fori~i
presented to ilie Trustee, tsar ~lin~ reiati~}g to the Tnist that are r~cgt►ired by any ~eppli~abi~
~oven~i~~eutat ~it~it (e~thic~~ tine T~~irste~ shall l~~ve iia dG~t~f t~ i~erify or con~r~z~~.

                                             ~:I2 'IjGI,E'4~I
                                    ~Vt~S~~~~I.,A~iEt.~~`51'iZ~VISION~

         6.1       Am~~adincnts and t~air~~ers: An}r ~rovisid~i of t1~is Agrec~~sent ~iay (~e amended or
~~tnived' aiily by tnutital ~vritfei~ eQnsenfi of- the Ti~us~ee, tlae Stag, aid Crta~e: C~ns~nt witl nne be
~~i~reass~x~atriy ~~viti~~~eld for an ~ineridrne~it prap~scd by Grace :the sole effect o~'ti~rl~icl~ is t~ fu~~~ei.-
t ie Tnist's t~u~liticatian as ~i~ "~nviranmentai 3•eft3ediation trust," pro~rided tl rtt such ct~az~~e does
not affect the sc~t~sta ~tive rights or abligations ~f the I'arfi~s er tt~c Trustee. -All. fees, cosh ~t~ti
~xpez~s~s: (z`iiclr~cl rag ;r~asn~~able zttc~rneys' fees, casts ,and expei~s~s}` inct3rr~d by tine Trusted z~
cc~iiziection with aziy aniezadirierit or ~uaivet' slialS lay ~3ayable by Grape:

         6;2      fax 'I'reatr~~enf. 'I'he;Trust created by t3~is A~~reeme~~ti. is itit~n~ie~i by ~rae~ tt~ be
treateii as ata ~nvirot~ine~itiaI Reiiiediatic~ii:'i"rust fir federal iricoi~~e tax ~utposc~ at~ci, to the extent
~rovidect by Iad3~, this ~.grecnnent shall: ~e go~rerned -and construed i;i afl respects cQ~~siste~it with
such 'intent.

         6 3'    ~ratit~t~.
                 ~:tio            The Trustee shalt take such acticins and execute ~ucti d~ct~n tints as
are. reasonably re~~resieci byj the I3erie~ci~ries in writi~~g tiuit~ aspect tci effectuating the ~ettlenl~nt:
Agre~t~~ea~Y ~~ d tlii~ A4ree~ie~it ~i~d tf~e tr~€~3sactians. cante~7~~Iated tlrercl~y To tits extenC ghat tl~e
F3eneti~iari~s request tl~ie'i`ntste~ to take such af~ a~tini~~ the Trustee s1~~tl clo so at t ie sole expense
iif ~r~~e, ~~ho a~rec ~c~ separately f~►~id a~Yd p~}~ sEic~~ expense{s},

         6:4,     t3overn ~~s~L.aw; Ju_a~i~d ctiran; .3ury Ti~ at: Tire Tr~~st t~.sseTs tie rzglit~, duties, ~n~i
t~bii~atic~ns ar ~iiig under this Trust Agreen~zent shalt be ~t~verfied ~~, and cailstri.icrl aiad ei~forc~d
izz ac~c~td~nce ~3jitf~, the ta~~~s of fi~~e ~4~~1n~on~~eaitl~ of I'~~xtYsylvan~~ 4~i~ht~ut giving ~ffecf tc~'t~ie
~arineiptes of law Yliereof th at ~voiilct regi~irc tlzc application cif the iat~7s ~f aiay Qihe~ jura~dictic~n.
Eaclg of`th~ si x atones hereto irzei-ocabl}1 suf~niits tra tt~e ~~an-exelkjsive j~~risdi~t on ofal~y 5tatc ar
Federal court sitting iii Alie~Ii~ny County, Peniisyivani~ iii respect ciC aray ~ctic~n or proceeding
per~airi ng stilly tt~. tl~~: construction crf the Tryst Agreement or the administration Qf the Trust.
EacE~ party ta. this agre~zn~nt irr~vvcably 4~azi~e~., t~ the fultest extent permitted try applicable taiv,
any ~~l~je titit~ cir defense t~iat it rtiay fin~~f or f7ereafter Dave tci tl~e laying tiF v~irrie of aiiy sue#~
pr~e~edit~gs per~a 2-t n,~ so1~Iy to tl~e ~onstrucf~on Qf the T~1st Agreement ~r the ac3minislra~ic~ix cif
tl~~ Tri~St in ariy such ~r~urt and any claarii t}~at any ~arc~ceedirag brc~ta~,fxf: i~~. airy sttc~~ caurt leas l~eei
broug~~E in an ii~cn~2vei~ier~t fon~m. EACH ~~ItTY HERETO IIEIt~B~' ~~t~.IVES THE ~~TCxI-IT'
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SET't)FF; DEIvI~NI~, AC;TIOI~t C?R. ~.~LTSE C1F ~G'I'I(~N P~I~T~:iNiNG SC3I:,~~Y T~} THE
~:QNS'~'R1..?~TIt~3P~I C3~' THE TR[1S`T' AGI~EE~i~N`I'.OIt. T IE ADMIi~IS7'RA'i'IOI`~ OF THE
TRUE I', IN AI,I.. (?l~ `I`H~ ~OREGUING CASES t'IHET'HER l~It~W ~X~STi?~11~ OR
I~EI~EAFTER ~1RISINt; AND WH~TIIER SOtJNDi~~t~ .IN ~t~~iTR,AC`,1`, T(?R'1' C)R
Q`~'~IE~t~IIS~. E~.CI~ CAF THE SIGNI-~TQRIES ~~ER~TQ HEREBY VSJANES PER>t~~tA~.,
SER~CC~` Q~~ `I"~-I~ SUMM(Jt~S, CC3MPL~1rNT ~~~D OTHEF~ P~C}CESS ISSUED IN A.I~Y
SUCH- ~+CTION (?It SUIT AND ~;fxR~~S THAT SERVICE QF SUCI-I SLJMi~~(31~;5,
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C[3~IPLAIIL~' AND OTHER PROCL;~~ iViAY 13I~ iVIADE BY REGISTERED flR GER'~"IFIF[?
I~~AIL ATJI~I~I~SET~ TO I7' AT ITS P+3QTICE ADDRESS A~ ~'12~~1I~ED HLit~:IN AND TH,~T
SERVICE; SCE N~AD~ SHALL ~3E DEE~i1ED CU~IPLET I~ LIPfl~i SICNA'i'C3RY'S A~TU~1L
RECEIP`I` 1'7-IEREQI=: I~Iathi~~~ iii this Paragr~~~l~ 6.4 shill tie cot~stn2ed to estabtisl~ choice ~f Iai.J,
jurisd~ctia~~, ar ~~e~~~~e, or ~~~aiv~ a~~y jury ri~ht~ feat ra~~y exist ire coi~iection r~vitl~ at~~ proceeding
r~cit solely pertaining to tl~e cunstr~ietior~ crf t~~e Trust A~reeii~ent ar tl~e acin3i~iistrati~n ~ft(ie Tr~ist.

          6.5       Situ, Tt~e initial sites cif the Trust shall ~e t}~e State of I'ennsyl~jani~. ~7Vitl~ t1~e
~vrittcn consent of the Bei~efei3ries, tl~e Tnistee ~halI t~~ve the. p~E~ver to ren~~ve all ar ~~rt cif ilia
Trust Assets or ~t~ cl3ange the si#t~s cif administration aftlYc Tn~st from csa~~ jurisdic~in~i to another
~~ifiiin the co~~kine~it~l TJzlited Stags, a~~ci to elect, ley a separate ackz~o~vledged i~istrument ~Ied
tvitl3 tli~ `T~~sst recc~~~ds, t17at, ~iot~vithstanctit~b Sectic~a~ t~.4, t}xe l~tt~v of s~:ch t~Fher jt;risdietion shall
govern t13e aci~Ylinistration t~f tt~e Tres[, ~rravic3eci that tli~ Tr~~stec shall not- make si~cti azx electron
i£at ~vc~trld ~ttei' agcy beneficial interest udder-the Tn~s~. The Tnistee's aiitharity tci clxan~e t~►e sites
of at~t~t~itxistratia~t offl~e Tzust and elect €hat tl~e lati~s of another juristiiitio~t sl~ali there~f~er gt~~ver~~
tiie acli~~ini~traxian of the 'Trust does riot zti}~o~~ a dt►ty fln ti~~ Tn~stae to n~o~~itor the. Iai~s of ~nyf
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                t7peratiri;E?#ticer, Citneral Part~ier, ivi~na~in~ i~f~ir~lier= I'r~sident, 'ttice.~'tesident; `i'reascirei); ter
           •    Any either iiiditi~ic~c~~S ~~~}ic~ rz~ulariy perfonris sit}~iiar fiinetio~is;
                (Cf ~fip~r~priatc, an 3ndivicival lisfeci under Sec'tian If(e} above ni~y also be~Iistzd s~~ ittis S~ctiast Iii{d}),

     I`or U:S. Persons: ltzc~icrtt4 ij:t~orr care rs U.S. C'rtizei~, tJ..S. ltesirletu;2lie~a or lrar~t~r•tixrt Fi"~Jit~ec~ c'rrtclj~r•~+iaicle
     S~ciirt Se~ur=it}~ ~ti'ttrt:6er (S;S;~a}
     For N~rt-LT.S, I'erst~nss 1'r-oricle ~$Si~`, Fsrc~ivictt~tr! Te2t~cr~~er ttJerr~~~rrtic~rr p~fa~rr~l~et-_(f1'lt~),_ 1'assp~rf or~ f,1Che~•
yfc~ce~tcrble fL3 /t~orrr~atis~ra


 3~i~u~e                      7'i#l~          date of          Residential                  Tor Q.T.S. ~'eisons:           farlion-~l.~.
                                               I3irtli         Street ~~dciress                                            Persons:



                                                                                            ~t LI.S. C'itize~i             P'ass~orf ~r t3tiier
                                                                                                                           Acce~atable ID
                                                                                            ~ L7.5. LZesztleilt            ,~,~~~.
                                                                                            Alien-
                                                                                                                           I.I~ ~:
                                                                                            Q Tr~it~~i~iant
                                                                                            Rcf'u~~e
                                                                                                                           Country of Iss~ian.ee:


                                                                                            SSN #:                                      ~         _
                                                                                                                           SSI~ I ITIi~ #:
                                                                                            _~ e_
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        Ex}iibit D - KDZD Spill~~=ay R~ iacc~ni~nt'~'irust I~c~t-n~
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                                                                                                     l~f 1113i~1 I)



                                                                                                            ,2022

                                             T`~ZUST A~REEi1~E~'~iT

                                        DID Spiltsvay ItePla~en~e~~t Trust


         This ~nuiro~3ai3eiit~l ~ctiaediatici37 T'ri~st Agreement (tl~e `•r1~r~ei9ient") is ~~nade as ref' t~zis
    _       day of                                      2t?2~, b}j a~~d ~tnon~ ~'~.R. ~'ira~e ~ Gc~. and
 Kootenai Devcicapn~e~~t Coigipany ("~.I~C"} {colleetiveIy herein "Grad:"), as setttar alid
 ~e~~e~ci~t~y; taae State cif Monrai~a on beli~lf of its agc~icies az~d ~ieps~rt~nents na~~~ecl in the
 Setticm~nt Ag~~eeinent (`tl~e "~t~te") ~s beneficiary, {each, i~~dividi{ally, a "Party," ai~ci coliectivel~,
 tl~e "Parties"), and PNC Brink, Natianat AssociaCin~~ ~3~ t in its indiviclu~I ca~~acity, but ~~lely as
 Trustee ttli~ ``Tnistce'=}.

                                                    R~CI`~'~I..S

           ~rHEIZ,EtLS, Grace az~d tiic St~fe 1~ave e~te~-eci inky a Settl~~~-~eiit A~rec3ne~3t that protridc
 fc~r t}7c formation cif this tn~st, to be ad~liinistercd in t ie n~anrier described herein:

        Nt}'~~{x "TI~EREF'C31Z~; iii ct~nsidcration of tl~e,fore~;oin~ premases a.nd tl~e fn~~€~ial co~enar~ts
 and a~rccm~nts crintained he~•eiti,. and pursuci~~t tc~ the Settl~me~it A~reern~i~t; tl2e Parties ~ncl -the
 Trustee hereby agree as ft~llt~i~vs

                                                    ~A~~d ~v d18:f


                                                  ~~1~1~1~1
                                                          ~~~~




         1,1     Dc~riitio~3s. T'he fallowing terms as iTsezl in this Agreer~ieiit ~~~aIl have tlze:
 definitions given bcloiu;

                 I .l :l.   "~ccoi~nt 5tat~n7ei~#" s}fall have the z3~eanirig gi~rer~ in Sectii~~t S.l .

                  l .1..2   "~c~ie~i3~~nt" sliail be this 'I'riist ~gr~er~ieiit.

                 I .I:~     "B~n~~ciac es" n~~ans tiro Stace ~t~cl brace.

                  l.l.~- °`Cc~ndit~aij cif ~~ely T~rminatiUn" shall- dean each aE [he eonc~itioiis cif
terz~zination set out in Sections C~(a)(iir), 6(~d~(i}, ~r ~i(e~ of the Se~tl~~~~ef1t A~~-een3efat. The. Cerr~~s its
ti~~ Settlement A~7~~e~nent B ali coritrat ivliet~~er ~ C.on.c~itian t~f ~arly'1"erminatic~n exists, ~~c~~vever,
sc~eh ca~lditic~ns are sum~~~axized g~~7craliy litre ft~r con~pen~e~ice:

                         {~}     Sectifl~i 6(a){iii : U~itc:d States Environmental Protection A~enc};
declines tie ci}~Pc~rtiinity tt~ becoane a. ~ari~~iary beneficiary cif` the Surety Bond or Financial
~zsurance Tnists, aril req~~ests end requires; ar~d ~ Ciraee Parley ~rovicless ~in~;~cial ass~zrancs~ Fnr
KDITa C}~ScA~~ aatifor I{~TD SpillsWay ~~lork:as part of ern zgreement, decree, or ~riier that exceeds
tine vatiie end sca~ae of tlic ~naziciat assuxanc~ protritled i~~ this Settlement Agreement fc~r KDID
O~cM a~~dlor K.D.ID Spiil~~ay Word;
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                                 {b)          ~cctio;i 6(d)(i}: T}~e KDlI3 is rec~~aircd tc~ be r~i~~oved, s«bst~i~ti~li}F
 or c~implet~ly; or

                            (c~    Section ~(e): Cir~cc (or any ~~~erged s~3ceessor entity that ~ss~itnes
 Grape's t~t~li~atio~~s tt~ the Mate i~fider the Settienl~~lt Agreemezit}ceases to exist or Cads to c~antin~~e
 t4 operate as a gai~1~ c~c~cenY.

                  1.1:5 "Court" mea~3s tine ~c~urt i~f ~'on~n3c~~~ }'lead caf Aile~l~e~~~ ~oui~ty of ttxe
Gc~xt~rt~on~vealtJ7 of Pe~tnsylvania, or, i~ that court abstains fi~o~j~ exercising juriSciietion or is
othcr~vis~ ~~.Jitt~a~it jurisdiction a~rer ar~y matter arising ~t~t ofllais A~reemet~t, the ~c~~~~m~ ~~~~c~ltl~
of Penn~ylv~ni~ e~urt otl~ercvise having compet~nl jurisdic[ic~n ~~vith respect to such ~i~atters. 'I'he
term „Court" clues nflt re~'er to or inclut~~ t}ie federal l~ankniptcy eoi~i-t that ent~.rs ttie Settlt~ntek~t
Agreemezat, ~vl~ich court shall have ns~ co~~ti~zi~ ng i~7vol~teme~it zvitll tl~e acirs~inistratio~ of this Trust:

                       1.1.G t`D1Vi~C'x steal! Il~ire-the nieanii~g sct fortt3: i~~ tl~e ~e tte~ncztt A~r~e~~iei~t.

                  1.1.7 "Eiiv~raninental Reznet~iation" ineatis ac~ici~~~ take~~ ~iid costs laid in
accr~rcia~~c~ ~~itti as pr~videri t~nd~r Treasury Regulations ~ 3QI.7701-4(e}(1}; incli~din~ the cosh c t'
assess n~ en~lirt~~;riienf~l et~nditic~i~:s salon t~ri~~g rel~~edi~1 ~etiviti~s, preveiitin~ fiEtiir~ rcfe~is~s; Incl.
cither~~vise i~nplen~entiiig tI~e: regi~ir~en~ent~ c~ftfi~ ettlecilent ~;rce~~ietif,

                 1,1;8. "Interaial Revei~i~e bode'" cir means t~t~ In[eri~al ~2eveni►c Code of 19~~, ~s
aniez~ded; -and "Tre~su€y Regulatir~ s" znear~~ rc~;ulatic~ns prc~ii3i~lgatcci i~rider the I~~t~rz~a1 Re~r~~iu~
~c~~l~ and ~u~lishe~ in Titt~ 2{~ t~f ftxc Gads. cif Federal Rc~;~►i~tit~~~s, ~s amended.

                       ..1,1,9   "Iixclttdiil~" sh~Il ~~ot be read restricti~=cly; anti sltatt n~ea~i inclGictin~ but
2'i4i ~12tli~G{~ ~O:


                       1.1.10 "I~:~Tt~" ~l~atl.l~~~~~ t1~e z~~eanin~; set ~'~rtl3 in tt}c 5eztlezn~r~t ~l~ieean~~~t,

               1:I.I I           C ~Z~I~II~   Q&l~'I 1'er~~riiiance 3'ntst" s13a1~ have tlac i~ieak~i►~g set fartl~ an tltc
Settle~ient A~reen~ei~t:

                       l,i.l     "KDII) S;piltc~ay" shall I~alte the r~ae~ai~in~ set fc~rtlt in tl~c~ Settictime~~t
Agr~etl~ent.

                       l:I:l3 "I~DIL~ Spillivay V1~c~rk~' slxall hive the niea~~in~ sit fc~r#1~ iri ttie Settle~neiit
A~reer.~~enf:

                  1. I ;14 •`KI:JII~ Spill~vaY tt~arl~ GQsfs"shall iii liz~ie; withi~~zt litni[atiog~; (r} atl -costs
inc~.~rred to cc~ncluct I~DID S~ill~uzy Work ,~inc(udtzz~ func~inb Fir Dili ~~rork ~nci assc~ciateci activities,
pla~~tting, irriplementation, ~aost-inxpten~en[atic~n tasks; acid costs fc~r materials and ec~i~ipment
ne:c~ssar}t or re;isvn~~tile for purp~s~s of cp~~diicting KDID Spill~va~ VlJt~rk~, (Y) all cUsis inc~.irred
fc~r purposes related t~ tl~e I~.DID Spilic€~ay Qr the KDID itx accc~rc~arice ~svicl~ a past-2(}72 ~u~ tten
agre~,zi~ent ~f the Parties. siibtnitted tt~ tlac Trustee ~iir~ttant tc~ Secti~i~ 3.3.1 of this t~gre~rnent
(provided t~iat tl~c Tn~stee ~l~~ll afire nti deity to Ycrify or carzfinn ccansistcnc}r ~vitl~ such past-2~?72
written agrc;e~~~en[), and {z.} atl fees ~2~d expenses {inctticiirig reascina~.ile coiisulti~ig and lc~al 1'~e~
and e~pcns~s} assc~ci~tLci tivitl~ ttie `I'rustee'~ ~cti~tities Hereunder.


                                                                 _~_
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               1, l .15 "Nt~i~j~erfar~t~ai~ce I3cterf~lii~atia~~" si~~li lave tl3e sz~car~iza~ set foa-tl~ in ilae
Settlement A;recai~en[.

                  l.I l E~- "Parties" under this A~ree~~l~i~t shalt ~~~ve t17e zile~anixtg gitite~~ in tt~e
prearr~ble.

                  i . I . ~ ? "Settteztie~xt A~r~eri~~nt" means tii~ Scttle~i~csit A~rc~nlent b~tc~~eti W,R.
Grace c~ Co.:and tEie Sfatea dated as t~f           _                     . ?022, t~~gotiated and entered to
se#tic the clairii ~uci3bei- 1$496-t .:iit.ltt re i~R. C;~•trce c~ tars., et crl:, bcfarc tl~e tlnit~ci Stites
Bair~Cru~tcy Caiirt for tie District caf Det~e~rare, tinder Case I~Ig. O.I wQ I.l 139 {AIVIC}, as anie~~dec~
by W.R_, Gr~c~ ~c Cb. ar~d the State ~iereafter, in ~cc~rclanc~ r~~ritl~ ti c Kerins ref the Settlement
A~reenlent.

                  1.1.18 `State" shall have'the ta7~a~~i►lg given iii tt~e ~rea~~~ile_

                  I,I.19 "Statement" shall lave the nle~nzi~g given in 5ectir~~~ 3:2.1{a).

                1.1.2U "Tn;~t" means the I~DII3 ~}~iit~~.=a~~ Itc~:~lacen~~nt Trust established pursuant
tci this Agre~n~erst.

                    1.1.21 "Trust Assets" t7i~as~s the ~uii~is transferred to; ar earned by; the Trust
~~ rsiiaiit tea dais Agre~r~~ec~i:

                1.1.22 "<I,n.~stee" means the trustee ~f the 'I'nasi, A~ any tine that mcr8€iplc tn~st~cs
are acting, the tesrl~."Tr~st~e"shall apply to ~acl~t ~f the ct~-iruste~s.

         X .2    C3t1~er: "Tc~ tt~~ extent- a ter~1~ in this Agree~x~ent is ~;ot c~e~~~ecl above, to tine e~te~zt
 practicable, s{ich tcrrzz sI~alt Dave tlic zz~~ar~i~i~ provici~d, if an~r, iF t1ie:Setti.eii~ent ~i~;reerriei~t:

                                               f`~RTIjCLE ti
                      +~ItLr~:TIC~N Ai~tDr i~IA~I~.G~MEi~tT Cl~ T~tU~T ASSETS

          2.1      t3bjectives and Piimi~ses.

                    2.1.1. Generzi. Tli , exclz~sive objectives aaYd purpose; ~f tlxe Tri~sk ire to c~tlec[
`arid- disburse funds ~~r I~.DTD ~piltway ti~4~~xk Costs, as required tti~ciec~ the Scttle~z~ent A~r~ei~~~:nfi,
~~sfitll ~~4 objective or ~uthari y to en~r~g~ ir► any E~atEe or E~usiness. Subj~.cfi to S~ctivn 3,3.r oftliis
Agreeitient, all. payznen~s and disbursenient~ frs~n~ the 'T"2-ust by the Tntstee shall be ia~a~ie a►ici
appticd solely ft r tig~s~ ~~ua~t~~es; it tieing utiderstooci and agreed tlsat any payn~cnts tQ the T~-t~st~;e
pursuant to this A~r~ement arc in fiirtheran~e cif such ~urpc~ses; anti at na ti~~c shall the T'riist for
tl~e I'ruste~ oaf i~~l~~lf oftl~e Trsast~ conduct i~~uestn-~er~t ~r bt~si~zess activities that cdrzxprc~rriise these
pu3pc~s~s.

                  2. i:2 'Tax S[af►ts: Initially, Gi~~cc i~~tends, but is nt~t ree~uired tc~ ensure, t#jai €fie
`~`r~ist eons#itute~ an "envirc~nn~ei~tat rtmediatic~n tntst,'} as ~arovided 1~y `~'rea ury lZegula~cins
~3{?1.77t}1-4~e~; ai d tl~e Trust sl~ali at all times ~e administered, and all ~r~visions aftliis a~reecnent
shall be c~ istrc~ed, in a i~i~cuier that is consistent ~vittz such intent. ~t ar~y time; }lo~~~ver, ,Grad
ittay tnEce such steps as are required to elect to treat talc Trost as a "c~~iaJi~e~1 settier»en fund," as


                                                        -3-
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 provi~e~i by Treasury Ke~;~ilatic?ns ~ 3.4fi$}3-1; and, falic~~~in; s~►cli el~ctian, tl~e '1'riis[ sl~atl at ali
 ti~~lcs ~e ~dini~iistered, a3id ali ~ri~visic~~3s of tt3is agree~iient shat3 lie c~instn~cd; in a rnru~ner tl~ai i~
 cans stem ~vitl~ sizcli sn~en.t. Grace i~~teaxds that it tac cc~nsi~ereci: to be the Trust's:"ad~~~i~l s.trator '
 v,~ittiin the nieafting c~:f'C'reasury R~~i~iaticins. ~Te Mier the State rear tl~e Tnistiee shall Have ~iay duty
 or t~hligatian ~~ con~~ectian tti=ith tl~c ta.c treatm~~it c~fi tl~te''rust, t~tl~er tllan.tc~ caoperatc its good faitl2
 tivith ~'irace i~z caruiectia~ tliereti~lztl~. Grace sliali be stit~iy r-espc~risil3lc~ for er~svrizi~ cor~~liaiice ~~iti~
 the. Regtzlati~i~s required of an en~arcaz~m~rzfal renlediatiQn trust or c~i~ali~cd $ettle~nertt func3,;as ttie
 case ii~ay ire. N~itl~er t ie Stutz liar the Trustee shall tie responsible fc~r pre~sarin~ or filir~~ any reports
 ar returns rel~tin~ to federal, stag; c~~- loci;[ income taxes wvith respect tc~ this Agree~~~~lit other than
 file Trastee'prepariil~ or ~li~i~ returns ~r rep~rls for the Tnist~e'S ct~mpensation; ~ iovideci, that the'
`1'rust~~ 1~ercby'is autlir~z-izcd fo exe~iite acid deliver any tax reiurns ire such for~~is pres~tateci fiti it and
 sh~li_Izav~ nia liability tz~itlzx.~spcct to the pre~arati~~~ or c~s~te~3t. of suet t~~x returns. ~~jith respect to
 any ati c u~rts payable under this Agreerz~~:nt, tlae I'arties'sl~~tl deliver tt the Trustee such tax `forms
 car ether tiacuments rea~~ztal~ly rec~~~estecl by the Trustee ;as sl~~ll b~ prescribed try tl~c ~zternal
 ~Zc~fentte ~od~ cir a~hc:r ~p~~lisable law at s~.~cl~ time or iii~~es: reasQna~riy required ~i}r t~:e T~stec,
 i icliidi i~ sc~cl tax f€~rms ar ~tller docu«~ents; as applicatitc, tc~ allo~~.j ~I~e. 'I'rustct to dctermi~ie tl~
 ~tr~c~unt tc~ deduct or ~vithliold {anci to alt~iv,~ the Trustee ~o sty ded~ict or ~uit~~li~ici) ~u►~s~razrt tc~ the
 I~iterna Re~len~i~ C<odc, incited. ink under Sccf ons 1X71 thrr~~.i~h 1 ~7~ of the C~cie ~~ATCA}.
 ~~itltaut limiting an}! t~tlier ~rouision of this Agrecn~~z~t; thc~ State ~a press~S nt~ opiniati and rY~akes
 too a~reernents rcgartlii~~ ttie'tax sta~~ts €~f ille `Cnist,`~Sut lea~~es suc~i natters and the rc~uliiz~g #~x
 consequeztces tti Grace's clis~reticin.

           2~       Creation t~~and',C'ranst~r of Assets to tl~e Trust.

                    2;2.1 Esta~ilisl7i~ie~~t cif Trust: The Parties Hereby rre~~ncably esta~lislz tl~e T~~ust;
tvliic~~ st~tall bear the ~aame "KT3II} Spilt«ay Replac~n~~nt''rust." tWittii~z ftvs (5} biisin~ss days €if
the date I~ereQF; ilie 7`rustee s1~a11 esta~lisi~ ~ trust ace~uiit {tic ``Ti-~~st Aceaimt"}. `I'he ~~.~r~~r~sc cif.
t3~e `I`c~ist Accoit~zCslia I be ~e receive and adn~itiis~cr tt7e Trost assets at~ci to f~ciiitat~ the nxaking
of payments lierecinttcr,, alt. iii accorda~3cc auitli This Agr~ertte~it. ~ xace sha11 c~infribtrte tt~e Trust
Assets`to TI~~ i'nast iii the ~13anner,a~id fit the ti~~~es-.set f4rtl~ in the Settlement A~reeinent. ~"l~e State
shaf t Ila~~e nr~ ablzgaticin tri e~ntrit~~~te assct~; ter pro~erry fo the Trust at airy time. Ttie firustec hercEiy'
accepts at~d agrees to hc~i~i the Trrise Assets iii tl}e Tc~ust Accoiint`~or the t~e~ie~t caftt e Ben~~4iaries
~`or tl~e purp:o~es dcscribe€1 in`Se~t o~ 2. i s s~~t~je~t to tl~e ter~Y~s off' ti~is A~reenre~~t. T[~e Trustee shall
have zoo respfln$it~ility, ;a~~ti assurt~es Yea liabitity, to ~ ursu~ calLecticsn of Trust tlssets to ~e
cc~z~tril~uCer~ under Elie Setttemet~t A~i~ee~nc~xt fr~in any source: I~astc~c~, Ali obii~ations ~~itki respect
to the Settic~nent A reemeaif's re~t~ire~nents for funding t~f ttie Trust ire to be scilety excr~ised 6y
Grace.

                  2:2:2 O~tiji~ership Tnast ~~sets. All teg=i~ rights and iri~idcnts crf o~~inersliip of tlic
Tr~~si t'~ssets ~17~1t be Held solely fay fhe "I"r~istee. I~II~~~vever, except a id c;i~tiI. ot~ien~ise prt~~T ded in
this Agreement, Grace slial~ tic treated as clie ~ti~ner o3~ ttte Trust Assets fiat federal incoiii~. tax_
~urpQses.pursuant to Treasury Re~ul<~t~ons 5 301:7701-~(c}{2).

                  2.2.3 t~ddtional C~intributians. 'I'I~e Tnzstee is aull~c~rized tcs accept cciritribut~ns
f~ t}ie 'Trust from, ~~7d only fran3, t}~e Par~zes. The Trustee is riot required to accept any cazitrib~.ition
that the Tn~stce believes is not ap~r~priate fc~r administrati~T} as ~~art cif ti~~: Trust Ass~.ts.



                                                           -4-
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          2.3      In~testtl~e~~t aiad ~afckcpiil~; Qf'~2-€ist Assets.

               2.3.1 ~e~re~,ation a~ Tn.~st Assets. Tlic Trust Assets: sii~ll be lxeld i~~ trust and
se,~regat~d from all; a~i~ ~I~~lt i~ot be cc~niiz~gled ~~~itl~ aziy, otJ~er assets a~ Gracc, -the State ur ttzi
Trustee:

                    2.3.2 Inv~;sttnent Rec}uiretnents. The Trustee shall ha~~~ tl~e autti+~i• ty to itivesf tlje
 Trust assets. its slzci~ a ;Ztan~3er as tt~c~ Tn.~stec deems appro~r ate in the Trustee's discr~tioz3 a~~c~ if7
 acctar~3anc~ ~~itti the. g~~idclines ~pplicable to tl~e Tnise Account sit Earth ita this Section 2:~. (the
 "It~v~srriicnt Policy„}, pis may be amcFlcicc~ zn tyr ti~~~ fr~in ti~~e tc~ tin~c dry Grace, the State af~d tt~c
 T~uste~. `I`tie Trustee sli~3t cc~alsult ii~itially'ancf frnii3 time to tirr~~ ~~ritli Grace and the State reg~rdiilg
..the zi~tcire and allocation of investments cif tli~ Tnist Assets. .~~i. investinenti transactions eff~cteci
 for the T'zust A:cct~t»it shalt he cieeirie~i iii. cofnpliance with the Ia~vcstriie~~t .Policy iiiiless.Gracc ar
 t ie State noiifies Trustee in writing of its i~~jeciiti~~ tivzttti~l sixty {60) days saf its ~~ceipt ~f ti e zriost
 re~:ent Account Sraten~erit pezr~u~nt to ~cctian S:l ~f this. A~;reem~nt. The cc~n~pli~nce of an
 inv~stn~ent t~ith the Investn~ient Pc~iicy shill be deicrtnined on ;3ie date of purc}iase, used pn t13e
 ~rs~rket v~~sli~e aid asset elas~ car type as of ttYat date cnn3~~ared tci the value of tli~ 1rusC Account ~s
 of't e most recent ~~aluatiQn date.

                  2:x.3    Ir►vestrs~eiit I'rc~v.isinns.

                              {a}      Cash Sivee~'Vel~Tcle. Grace autlic~ri7es Mlle ~'ruste~ to autoinaticail}r
s~~e~p ~nznvest~d ca~1~ 6.al~nccs in :the Trust Accot►nt into {i} any money tz~arl~et ~u#~aal fund that
 (A} coai~~lie~ ~~itta the criteria set f~rtt~ iii (I) Secuz~ities ai~c1 ~xcl~ar~ge Ci~~xzin.issiou Rule Za-7 under
 tl~~ Investment ~o ri~a~i}J Act of 1940, as am~iiciect; i~r (II) Securities ari~i Exehan~e Cozninissian
 Rule 3c-7 under tt~e Investment Caii~patiy Act t~f 2940, ~s amended;-:and (Ii) I~~s ~iort~'~lii~ ~~set
 of at least ~S,OQ4,OOO;t#O~ or {ii) any ~a~ak de}~c~sit ~ecozll~t cif'f~reti: by a camiiaerc al l~~in~ i=which
 has a eaT~~~ined capital ~tnd sz~rpt~.~s ~tid ~~ndivid~d ~~rtsfits of not Ic~~ t1~an ~50~?,OO~J,tIUt}, iaz ~a~h.
~IYc~s~n t~~+ ~"t~ustee {referred tit as "~~vec,~'vcl~ieles"); ~utiicl~ niay ia~cludc ss;rcep ~~~hicles advised
~y t~ze Tr~ste~ aii~Ilc~r its affiliates ar deposit aecc~unts at tl~e `~`rustee or an af~liat~d:t~~zik: Grace
und~rst~nds that Trustee tivill derive finari.cial benefits fron-~ affiliated s~~eep vehict~s (iri~l~.iding
PATS I~3axik, 1~Ia~iona~ t~ssociation,tiepasit s~vee~ accot~ats), w}3ich benefits arc in addition la tIY~
fees set forth in the Sclieciiil~ ~f t~cc~i~nt ~~es ~~:~cribed in Sect oix ~.5 of t~iis Agreement:
                                                          _.
                              (b~      T~jvestn~erits ~n ether Sec~.irities. Grace aut~~c~rize~ the Trustee to
ingest iiz.;{i) tiire~t obligations ~rf; ni~ obliga[iaiis tl~~ pri Zcigal of and ii3terest cin ti~~liiel~ are directly
and fatly ~~~a~~antcec~ or insure[ by, the LTi~itecl States c~FAir~ei~ica {rar by a~iy ag~i~cy tt~ereaf'to tine
~xtertt such nbligatiozis are backed by t}ie fi~li faith a~~d credit at~thc I7iiited:Stat~s ~f America}; iii)
in~~catmez~ts iz~ con~n~erciat paper i~avang, at sucf~ hate cif~cquisitia~3, a credit rating of at lest A-2
f~-aiii SBcP orP-2 from Nli~tic~y's; (iii}:re~zircl~~s~ ~greesne~~ts ~~vitt2 a i~rriY tiF~~oi nai~r~ t~~an l$~? days
fc~r sect~xities t~esc~•ibeti iri clause {i~ of this sentence aiid entered into ~a~iti~ a fi~iancial institutiiiii
satisf}ii~i~; the ~x`~te.r a dcscrif~ed in cl~i7se (ii) of Sect can 2.~:3(a); (ivy corporate debt +obligations
c~,~ith a Vi loa~iy's rati~~g ~f ~t least A3 or ail ~&P rating of a~ leash g-, car ti~~ir ~quivale~it; {v j; st3ares
tar u~~it~ issued by a company that is rcgrstcred as an i~vcstn~et~t ct~mpany i~nc~er tii~ Iziv~stialent
Can~p~nv A~i of I940, as azrie~ded, tl~az is tratiet~ on ~i i~atitrna~ securities ehehange and has a r~ti~ig
of at feast four stars groin Marnis~~st~r, Izxr..; and Zvi} any ot}~~r security a~~rnveci in ~=rritirl~ by
Grace' anti tlic State (ccillectively, "C3ther Sec~~rities"). "IVla~dy's": rrieai~s 11~ic~ody's Investt~rs:



                                                           -5-
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Service, Inc, "S~t'" ti~c~e~►s Standard & Poor's Rating Sc~~v ccs, ~ S#aaadarc3 R. ~'t~4~-'s Finaneial
Se~~c=ices I~I.C: t~i~siness. .In each case, C.rrace i~a~d~rstantls that [lie Tr~istee za~ay receive. ~t~~r~cial cir
acil~isary Ices relatr:d t~ the iss~ia~~c~ t~f the security or instn~~a~erit, in.~:lisdi;~g securities ter
itistniments for ~vliicll. Trustee (or its af~ili~tes} sersje~s) as inai~~~;er, ~aran~oter or plaeenient a~e~~t
or,irrlier~;Trustee ~c~r its affiliate) i~as issL2ed, strlicti~red ~r u~~d~,nvritteri,tlze Otltec~ S~c~triti~~.

                             Vic;)   I~isclnsur~: lte arc~ii~~ Use - ref A~Iiliated Prc~ducfs and Services.
Grace unci~;rstanc~s :end agrees that the Trus[e~. n ay, i€'ap~ri~priate for the 'mist Accaunt, () inirest
i~~ Funds or C7th~r Secttritses that -are affiliated ~atitii Trustee anci teat tllesc affiliated irive~t.me~its
i3~ay cot3stilute all nCt~ie itivUst►nerits izi the Trust Elcec~tint, iii) engage stibacivi~ni~s aft~Iiate~ tuith
the `~nistee to zr~arxa~e all nr a poi-tio~i of the asses in tlxe Trust ~lccau ~t; andl~r viii} e~~ga~c n7adel
portfolio prc~viciers in cc~niie~tion ~irith m~~n~i~en~e~at of assets in ttx~"Trust Aecaunt: Grace f3irthcr
t~~3derstands ttaat the T'~i~stce ~iiay .derive fiia~icial;:ai~d c~tlier ~ci3efits ~s a result of tl~e fin~stee
~~urcl~~isiri' ~a~~ds cir C)tl~cr Securities affiliated L~t1~ Tiustee or utiiizii~ su~a~3visors at~dtvr tnc~r~el
ptirtfc~lzc~ ~rc~lr clers ~~#iiiated with "t'rust~e:

                              td)      T~isc~c~s~~rc Re z3rciin A~i~iition~~i fund Fees; Grace uzrder~tands
 tl~{it ~17e Tn~stec: (~~~c3/or its affil a#es) n~~y provide advisary nr ~thcr scr~~ices €o ~ cc~tnpany that is
 red st~~~ed as an investment cd~i7p~siy unc~~r t ie Irivefitment ~tirra~~~ay. Act c~f`194 ,'~s amen~~eci, Via:
"~ut3d°'} which is selecferl for t11e ~rust- Acc~~ixzt aid that the Tn3~tee may recc v~ acivist~ry,
 reccirdkee~~ir~g, atii7~ini~tra~ive, sh~rclic~lder scrvicin~, atidlor other fees for suc~~ a~visc~ry ~iid other
sersr ces, "i`~~~se typ~.s o€fees are paid, dir~ctiy or inciifectly; by the Mind to t11e Trustee (ancilc~r its
 affiliates :ancl are describ~c~ in. detail in tine prospectus; ~r~vate t~fferi~ag nlef~iararsdun~.~r ather
t~ffei~i~rg dt~ci~iiaents fir tt~c ~ttnd. Gr~cc sricsi~ld cE~re~i~lty read these documents s t~cc :ttie~c fees'
 ti~iEl iiltiar►atcly he borne by ~~ae Tnist ~s ati iiiv~ stor in tlic F'cind thrau~h tyre nit asset valuc`~if t ie
'~~.~ti~i anci cost o~F~iiid s~iares ox units: Fees received by tl~e T~z~stez from el~e'Fun~ts ire in additiozi
 to the compensation paid tc7 t1~e Trustee r.~aader this Agreen~ei~[ ~t~~d x~iay result in the Tr~.yst ~~ayin~
 rni;lti~le l~tycrs ref- fees fair tllc swine asset: Ptireliasc~ of I'~,€~3~ st~ar~s ~aTiil tie n~adc in acc€~rciatice
 with Trustee's eta;idard ~racticcs its effect from time to tune:

                            (e)      Special Disclosures €ter ~tiric~ Shares; C'irace understands that. ~'uz~tis
a~id.~.7tl~er S~cctrities available tlir~~~gh the Tr~~sts:~ €ire ~~c~t backed or g~}arantced ~y ih~ Trustee (car
its affiliates), are ii~f drank tiepasits and are nc~t insured ~iy, issu~t~ by,'~s~arante~d by or ol~ligatigiis
~~'the ~ee~eral L?cpc~sit Ii~sui~t9~c~ C:~rporae o~i, the Feder~~ Resenrc I3oarc~ car airy other ~t~ven~ment
a~ency~ ~uci~ ~`~.incis a~it~ Other ~ec~irities i~i~rnlve investment risks; inalrt~an~ possible lass o
ualuc There is too assurat~ee that s~~veep v~tiic3es tiviil be able to zt~aintait7 a stably iiet asset ~~ali~e
cif X1.'04 per ~h~re. Fear tncire cQniplcte information ~t~t~ut Funds, including e~i~r~es and ~xpca~ses,
Cixace shad refer to the prc~s~ectc~s, private t~fferi ~~ rne~raaranduz3~ or ctl~er offering c~r~c~iit~et~ts faa-
tl3e'~'uncis. Grape ack~iotr~~ledges (i) float it under~ta~;cts t.lte ataFci~~ii~atic~n set fc~rth'it~ this Secticiiz
2,3:3 wild iii) rec~i~t azid zc~vi~~v afi the; praspectt~s :or sunirt~a~y praspe~tt~s, private. aff~rin~.
n~~~t~t~randlrr~l ar cattier offcri~ig doe~inients far tYie selectc~ Fu~l~s.

                          {f}      Tr~.isfec Setectecl ~3r~ker~: Gritce ~~rees that in cases ~vh~re the
Tnistec s~.lects brokers Fnr trades, tine Trustee n~ayr stied brokers t}~at are i~rit affz~iaied witti'1'~-ustee
or br~kers't}~af are af~liafed ~virli Trustee. ~iracc cc~nsenfs to trans~i~tions ft~r the Tnasi Account
t~e`tng:~xecut~d tlirai~~lz:brokers affiliated ~vitii the Trustee.,in acccardancc v,~itl~ t~iis A~reetnei~tt and:
t~~c affjli~€~~I broker's e~ec~itiaa~ poiici~s. Grace z~iay re~~oke tic ci~nsent pro~rided in t1ii~ Secticirl
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 at E3ny tii3ie by directi~ans try the Trastee. tf ilie TrE~st~~ btays or sills secisrit es foi:, ~vl~ici~ aii
 E~f~liatec~ broker acts as a stealer or tinder4~rriter, ilie ~`riistce it~a~ ~iuy tltc~se se~itrities from; sir sell
 tf~c~se sec~~ri~ies ta; either tl~e af~Iiated bro~Cer or a ;ne«~ticr ofaii undo -tv~' tiny sy~ici cats of which
 are ~~'~ii~ited 6r~4cer i~ a, n~eniber: Grace consents to t~rokers. selected by. tt3e Tn~stee r~tai~iing
 e4n~znissi~tis, it~clut~iz~g an af~liat~ of t ie '~n~stce. brace fi~rth~i~ :a~r~es tl7~tx if ~:~eciltia~~ is
 tl~rc~rigli a~~ af~liateci'~ra~:er, tl~e af~tiat~d broker is eilt teed to r~ceivc end retain, tivitlioz~f credit ar
 offset,_ brokera~~ c~n~i~iissican~,, con~i~ii~s3t~z~ equic~aients, nxar(:-~~p~; rr~ark=c~o~~ns acid dealer
 spreads an it~ansacti~i~s effected for itie 'Tr~ist Account, `iai acco~-dazi~c wi#h clip affiliated t~r~kcr's
 stanclarct fee scl~ec~u}es. t3potr rcc~ues~ the Tr~isfee wild provide addifianat infcirrnatian to Crac;e
 cancernin~. cc~i~~tn3ission5, c~zntnissic~n ~gt~ivalen#~, .mark-ups azzd ~n~e1~-dni~ns and cit~~er
 transaction costs: Grace un~ierstar~ds a~ac3 agrees ti~at t}ie Ta~.istce: his an ar►d rest financial incentive
 to sele~~. air af'f listed l~~-Qker to excc~te transactions its t}ic Trust Accoi►nt, 3s it results iii
 c:4mpensation tc~ its ~iffiliat~.

                             (~)     Brokers c Fels ai~~ Pri~i~ g.. 'I'he 'Tn~sfie~ aril] seek tai avt~in best
 ~~ecu~i~n in se(ectir~si t~Fbrokers ~litst}i af~t►~tec~ acid uneiffliated, as applica~ic~) for cxe~tition off'
 seci;rigs traeles for the Tn~se ~lceaurt,- ~~l~~n sei~~ting ba'c~kers the 'Trustee tn~y t~tc~ i~~to accour~
 the fall raczge alid ~t~aiity ~f brc~kcra~;c scr~1ic es,inclt►din~ execuizan capalait ty, ir3ttang ~~t~crtzse;
 accuracy cif cxec~itiQz~, cc~~i~Y~issic~n rafts; x~scarel~, reputation ~nc~ iiit~grity, fairness in re~cilvi~ig
 disputes, ~~ancial res~o~sibility,:responsiveness; and any c~tl~~r r~te~~nt'~~ctor~: ~'h~ Tt~~st~~ alsa
 ma}Y cc~nsidei' sflkerage end research services provides] ~~ ~rol~ers eve~a t~tci~~3i tti~ Trusfi Ac~c~unf
 ~z~ay ncit benefit f`ran3 suc1~ r~s~arcli. ~3r+~ker crrn~n ssic~n rats i~ ane compoi}ent raf price .and a factor
 ccinszc~cred ~vitt~ otizcr factors. Tli~ Tzustee r~~ill'noC kre ~l~li~;afeci tea se~~ tlYe toti~est ~cin~rii[ssinn
 ~~te in advance cif a Tr~~st A.cco«nt transaction or to select: 6rc~ksrs based an its ~u~pc~rted
 ccirnniiss oii rate: Acct~rdingty, tl~~'Trktstee ~}~all ~~r~t Iii rleez~~ed to have:actet3 iinla~vCully safety-for:
 causing ~Gr~ce to pay a tiig}~er conit3lis~ion for a securities .~radc tl~a~3 cattier brc~k~rs ~vaccld }lave
 cl~ar~e~t fay` the same transactir~n.

                           ~li~     A~ re anon nf'?'rades. Tlie Tnistee r~iay, in its s41~ disci~ct'scsr3, lout
 is trot r~qu re~3 tc~~ cc~mh ne purch~sc~ a~zd gales cif sect~ritics 13e1d ire the 7`rust Accocin~ c~vitli
 purchases and sales acctirr~iig o~~ clue wine ri~y of the sat~lc securities ~~clii in accoi~n~s cif-other
 clicn~s c~fthe Trustee:{car its ~ftili~te~}. 'V4~I e~ sec~irities trartsactions.are coin6ine~, the act~~~I price
 ~p~tica~Ie to tl~e ca~~~binec~ tra~~sactic~ns may 1~e av~ra~ed; end the Trust Acco~~~it and tl~e cachet
 acc~L~nts nay be deenieci to -have purch~scd ~?r sole] their praportionat~ shares of tl~e sec€~ri~ies
 involved at floe avera c price il~er~ c~ic~.alatctt, Cxrzice ti i~iersEart~s tf~at the Tri sic ~itajr ~yot b~ able
 to seek b~tfe~ ~.~r cin~ or lor~~er casts vn. securiiies transactions by cc~inbinin~ Trust AccQun~
~eci~r t es trans~ctit~ns as describes] in #leis Section ~.3.3(h} and that cotnbizied seciiriti~:s
.transactions c~~ay fir tn~iy not benefit the Trust A~e~~nt.

                2.3:~ Cofistriictia~~ ~f Invest~~ient Authurity, Nc~tIiin~ iii this Secti€i3~' s~i~ll be
construed as a~~Chaxi~it~g ii~e Tr~~stee to ca~ise tt~~ 'I'nist to can-y on any b ~sitiess ar tc~ divide the
gains therefrom, ~nct~zdin~ the business of an iiiucstznent canipazxy; or a company "co~itrolied" by
an "iizvcstme~it ec~m~any;" rec~~.yired to re~i~ter ~s such tinder the Investment Cazr~pany Aci t~F I9~Q;
as amc~~ded. Tl~e ~flle ~~t~r~aa~~ cif this Section 2.~ is tc~ a~th~rize tl~e invcstn3el~t flf the Trust 1~lssets
oz at~y pQrkions tl~ereaf as ~n~y be rcasa~~al~ty prude~it pc~adit~g use of the 'I'r~~~t Assets: fnr ttie
purposes of r~~e Trust. Each of the Be~ieficiaries act~rto~vled~~ and ogres tc~ the ~rc~visitsns of Section
~.3:


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                                             r1RTICI..E III
                                    DISPOSITIC)N -OIE 'I`RL~ST ASSET

           3.1     Distributio~is for KI?II7 Spill4uav'4~Vc~rk Gusts. ~'he ~"n.Fstce slrall,distribute tt~ t~Y~ fpr
 the b~z~~fit cif Grace f or tl~e State, u~~dcr the txmitec~ conditions described i~z Seetii~i~ 3.1.2{b~ [~arly
 I~istribu€io~~ tflr Ei~7€;r~e~~cyj, x.1.3 [Na~i~crffln~3~~3ce Dctcnalin~ tionj, or Section 3.1.E [Gessatio~3
 o~ Grace]) scicl~ ~t~nc~Eir~ts; at suc1~ Tiini:s, as Grace car the Stag z~iay incur a~ KI~IL? ~pilit~Eay ~~Jc~i~k
 GQsts in accorc~~nce tvitl3 tEie s~anciar~s prescri~erl in tl~e:Settien~ent r~.~r~e~n~nt {ivl~icl~ the Trustee
 sl-sa~l had=e Rio deity to verify nr con~rm~: Uistribuz ins s~i~ll ~e ~nadc ~~~ly in acct~z~dai~c~ ~trit}~
 StatL3~3enis pravicie<3 tc~ the T~~usEc~ ~aursuant to the provisions of [leis A:rticie`III.

                  3.l _1 Gezler~i Intent. As ~rt~vicled iii the Set~teii~ent A,~ree~iient"; t~ CI~e ~;r~atest
extc~xt practicable, tlic Parties inte~~~ That no clisYribtrtic~ns ~~riIt bc; made I~~r tie Tn~stc~ pint l S~nu~►y
1, X126. F~~ inr~in~ Jan~l~ry t, 21?~, ciistril~uziciiis for KL~II:~ Spill~v~y t~4~i~r~ C~s~s-ti3ay tie ~ilade
f~ar~~ tl~e Tn~~t iii accordance rvitli Section 3.2,

                    3.1.2:_. Early DistrE~iTtioris: N~t~,~rit}~stand,iTz~ ttte Parties' ~e~aer~l intent as de~crit~c€i
 in Section 3;I.1, if at a~iy tita7e aFtcr J~t~ttary l ; 2f~72 (a) a 4urittcn ctetern~iiatiQri ~~y tiie 1C~~1R~
 I~irecttir ~r its deteg~e tlTat des~rii~es a repair ar replacement that is K:I~~L~ Spillevay Wt~rl
 rcaso~i~bly rteees~acy to p~rforni iiefore Z126,_~,~itl~ t~~e ~n~ir~eeri~tg basis far su~l~ detergi~ifl~~ion
 is dclivcred- ~o't~e Tr~.istec pur$iiat~t to. Sectcin 5{~)(ij of tkxe, Settic~ncnt: Agxcement ar (b} the
 T7iistee receives ~=~ritten mist =ti~ctioa :frc~t-~i tiie Mate #~t~r tl~e pay ricrit of posts to res~oii i Po or address
 an en~er~ettcy at t~~ KDI3~ S~~ill~W~y, eQ~~sistent ~~itl~ t1~e standards and ~r€~ced~rres ~f floe `Dana
 Safet~~ Aci, It~C?. ~5-, S-21 S, or an t stFpersedifi~; la~v pui-suar~t tc~ Sect o7i 5(e)(ii) of tt3e Settlement
 ~greerne~~t ~ui}3ie~~ tl~c Trustee: sh~li have no duty t~ veri~}i ter ct~n~rtn}, ~is~ribi~tic~r~s fc~r sucf~
 I~131[~. S~iilltivay '4'Jcirk Casts slaaIl lip r~3~ci~ by the Tr istce iri accordance with S~ctii~~i 3:2.

                    3.,,~ I~T~Ii~: 5t}itl~v~Y ~'c~r~C Nonpe~~fon:~an~e D~tc.r~nina~ic~~i. If> at. an}~ tii~~e after
 December 31, 2(125; D~iRC cent Tics' iii a i~Friiir b cietive~'ed tc~ Grace arit~ 'tftc Trustee, that atl
 regu rezne~~ta 1~ave li~~,n ~~~eti for ~ Noi~p~rfan~~ar ce Dc~~rmi~iatic~n, iF ciudii ~ pr~vidif~g trr~ee yin
 c~~~~oriunity to ~~ire suc~i z~ot~performance in accord~ctce ~vit~z t ie Settle~~aet~t Agee ear; the Stag
 n~a}r asst~nie X11 ~i~lits and a~~tliori cs 4f Grace under this A~reen~crit: ~~ritl~ r~s~e~: to such ~vark
 described iii tiie I~on~erfciri~iax~~e L7etern~ s2<~tior~; iitcludin,~: ttyr right Ea request and a~itai~~
 ciistribi~ttons ii1 ~cec~rdatice ~~itts 3:2.
                                                                                 __
                    3,i.4 Ccs~atican Q~Gracc. P~~rs~►ai}t tcs Secticin 6{c};af tl~~ Settlei~~c~~t Agrce~ncr~t,
 upon entice fi~~rTi tt~e State to t}~e Trustce'~►~d Grace, accompanied by dtacuzi~►czxtatiat~ of the basis
 fc~r tI~e i~ot ~c, if' C. rice for any ~z~er~ed or success~t` entry that:a~s~t3tzes ~arace's obli~atio~~s to t~~e
 Sf~~te ~.~nder t1~c Settlement Agreenicz~t} ce~s~s t~ exist or. fails- tQ ccintini~e ter operate as a going
 coneen~, all ri~l.its anti authc~ritics afC3race ut~tder ttzis A~;reen~eni shall ~~.itt~~naticaily ~tnel euit(3atrt
 further ~ctioz} c~~se, and <~11 Trusf ,assets si~ali inure ctin~pietety c~i the ben~:~t cif tl~e State ~311y
 ti=ritfot3t any pre:ret~~.tisite I~c~nperfor~~~ance DcYern~natit~n referet~cedin ~ect~n 3:I.3; ~rovid~d,
 Iro~~.jc;v~r, Ciracc sl~ali leave ti~irty (34}} da}~s after suc}} ~~flticc to ab~~ct to auy asser#ia~i of Grace's
 cessatic~~~ in a writing delivered to ti3e Trustee and the State,

       3:?    PrUecs~ for .I~sii~tace .cif Distributicins. Tt~~ Trustee shall make. ciistri~~~tia~~s fc~~~
 KDID Spitl4u~y ~~ltyrh Gc~~ts ~tzader Section 3.l to t`'~rac;~ car the Sfat~ (under: the cantiitic~i~s described
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 in Sc~tion 3.1.3 ter Sectinn 3.I.~, z~tl~ic37 gcsverris the State°s contizi~cn€ rights to distributian}, ~s
 the case ~73ay bc; iii accardance with the. folloL+~ii~~ provissot~s.

                   3.2.1 Distribiitia~i Re qitest, Tire Benef citlry sc~;king tti~ c~i~tribution sl~~ll submit
to the "I`rt~~fec Intl tt~e other $t,neficiary:

                            (a)        A ~tat~n7ent setting fortis the exact at~io~~tit of the distri~~~tifln (ti~~
 :`Sfatetn~~~t"~, u~ct~~ urliicll tll~ Tnistee rt3ay c~ncl~~sivety rely;

                          {b)      A t~ritte~x cc~rti~cation t~i~t :lip distr Piuti~iis is for KDID Spiil~Fray
 Work Costs ~vitl~it~ tli~ r~strietcd p:ur~acasf:~ of the ~~riist and the ~ettlet~le~it ~~ree;~~lerat;

                              ~e~      Far can~spleted ~v.ork that leas alr~~dy ~e~it paid Cor by ttYe
 Beai~~ciary se king r~isiribtitiioii, the invoices and receipts suffcicnt to c3e~nc~zistrate that ti~,ro~~k {c~z
 the relevant portion tliereoi'} t;as beea~ per~'ar cd end p~tyn~eziC lzas laeen n-~acie ~ivl~ict~ the Tri~stec
 shalt lia~te nc~ cliaty tea reuie~.vj

                            (d)      ~t~r distributions dirc~tly_ tra a coritr~ctar csr vci~dc~r (i~;i~haitt ad~~a~3ce_
 payn-~eiit by tllc Beneficiary seeking distribution); a ccspy ttf the coiitxact for the perfon~iai~ce ofthe
 ~~c~r~Z, ~ceo~~~paz~ied by the retevar~t nvoic~(~} for ~ay~tzent e~ue to ~t~~ s}~~ci Ced ct~nfractur car ve~ldor
 (e~l~ic~ the Trustee shall }iasle nn duty to ~~evie~,~r~ and

                           {c:)     7'ru~tec shall l~t~vc no respansik?ilit}r to ccin~ir~~z receipt of any car all
 required su~~~~ortitlg dcicuinea3tafion ~'tir each d stril~utit~n ~r the eoi~~pleteiiess ~r~ at~y such.
 sitppc~r~in~ dpcumentat:~c~n provit~eti ~~litl~ e~~c~~ d str t~tatian ~etjE~cst ~flaer t~aan to cont`irm a
 distributio~~i request I3as becri received frozii ail authorized ~ene~ciary.

                  3.2.2 Distributic~~~ Pa ii~erit: ~~iTliii~ t1~r~e {3) ~iisin~ss ci~ys attar rec~i~it t~f a
di~~ribt~tion r~gir~sf s~~~n~ittes~ in accardan~e svitlt Section 3.2.1, t~~e Trustee. shall issue such
c~istribt~tian in aec~arc~ancc with the St~tcnzetit.

          ~.3      Ter~~ natir~~ Distributions. upon the ccind [ions, ~ncl tci the extent, prn~ic~eci in this
 Secti~ti 3:3, tl7e rerriain~ng Trijst Assets stt~ll be t~i~tr bated in acc€~rdaiice ti~,rith this Section 3.3 .
 ~nci the '1'n~st dial xerminat~:.

                  3.x.1 B 1~~rcet~~ei~t. ~f airy Time after Elie year X072 ~trt friar tc3 the Gill
ternlinatian p~ tl~e Trost under Section x.3,2 or .Sectiar~ 3,3.3, the F3ene~ciarie~ nia}~ a~re~;
cansi~lering all of tf~e relevant eir~u~i~stances ire ~xisteiice at the ti~n~ — iiYclt~t3in~ the val~~e of tl~~
Trust ~•ers~is thr~ c~sf of-a s~eplac~i7icnt KDID S~iti~v3y —that tl~e Trust sh4~.71d be used for a
reasoz~a6Ee end pntdent purpose ~(~ather thin re~~~acera~ent sir sigtaificant repair o#the KDLD SpiI1~.~~aY}
reiatecl to the ~CI~TD Spillway car tine KDID. In that went, the 'T'r~lstee s}3~1I e~fectu~tte s«c~~
tertz~iria~in~ distributioixs as i}ie I3ci~efi~iari~~ jointty ~iirec:t in trritiii~,~.

                  3.x.2 Clpc~n Expiration €~f Terrn. Consistent ~vit~ tie terms of tli~ Settiegne~it
t~.greei~lent, the finest stall t~rtilii3atc o~ tl~e date thE~t is l l0 years fr~itn t~Ze elate t~f'tt~is ~.grc;ement.
Thy T~~istee sha1D riot unduty prolbii~ ttie duration of ttie Trust and ~liatl, pit tl~e expiratir~t~ cif tl~e
period described in tlic itnn~edi~tely ~~recec~ing sentence,- ez~deavnr tc~ t-esolv~~ settle, or crtller~~risc
disuse cif all clai:ns against t is Trust pursuant tc~ ti~uritten it~strt~ctiuz~s frc~nl tl~e B~;n~~ciaries, anc~


                                                         -9-
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then distribute t1~e E~cm~ii~iz~g Ti-~.ast Assets to Grace tc~ ~e Eisect.:solely far ~auz-~t~se:s related io tt~c
KDID, sz~~jcc€ tc~ the prior payincn of tlie'~'rustee's fees, expenses ~iid inde~ni~ities accnied through
t}ie date of f~rt~iit~atio~~:

                    -3;3.3 'U~a~~ Ce~~ti~catici3i c~~'a ~on~lition of Eartv'I~ez~minatio~~. Consisie~it ~uitli the
terms of the ~e"ttl~ti~etit Agrec:nlei~t; flee 1"~~ust sljatl tezl~iinat~ ii ei[h~r tiic State car Grace cci-ti~cs i~
~vritis~~ to #he:Tnistee and tiie otf~e► Berte~ciary, tl;~t ~1 Ctitiditiou cifEa~-ly Te~~ininatic~t~ teas b~ezz
mgt pursuant tc3 Section b(~}.(iii} nr ~~;ctian ~(tl)(i} end such oiler Ben~~ciary tines nc~l r~~itll rt t}iirty
~3C~} days after aetcial receipt of setcl~ certi~cati4n ~bjcct to ttie teri~lizi~tio~i of t1~e Trust in ~vritin~
tci the Trustee a~~d tEie Bei2e#"iciary i~nakiilg stic;l~ certification: Tn acc~irdatice with such certi#icatian
in Else abse~l~e of object tin. frorti the t~~her F~e~xe~iciary, the Trustee shalt ~f~f~ct te~~t~~ hating
riistril~ut~c~zts c~.f the rei~saining T~`~:ist Assets to ~racc, subject to the ~ritir payrii~zit of any o~itstandin
Tj-~.istee°s fees; ex~}ej~ses aid iii~te~~ix~ities acciued'thror.~gh the ciatc aftermnation.

                                                     €~;~'TIC~k: I'~~
                                                   '~'~tUSTT:ESHTi'

           ~.1      Appointtiient: PNC Bank; N~tir~nal Associatic~t~; not in its it~ctiv clt~al capacity, i~ut.
 a~i its rc~~r~:sezatative opacity as T`i•ustee, is Iz~r~by appc~ ntcd tt~ serve as the Trustee tc a~liniiiisier
 the Tri~s~ in ac~c~r~ancc with tl~e terns ttf this Agre~ztiertt, aiid tine Tritstce l}ercby accepts_ such
 ap~ointt~~enf end a~recs to serve ~z~ such re~reset3tat ve capacity, effective upon the date n~ ih.is
 Agreen~ciit:

          ~.~      [Reserved

           ~:3.     general :r~~.ttlloriiv aa~d f~t~li~?atians.: Tie B~~xe~ci~irtes i~itGi~~i that the Tr►.~st~e's
 pc~~~ers b.e exercisabt~ s~lel}r i2~ a ~i~~i~trei'il~at is ct~nsistc~it ~~iitlt, a~-~d in fiii-tf~erance af, tl~e ~r~rpr~ses
 of tl}e Tnisi sei forth. i3~ this Agreetnent;;ct~n~istent 5~! tlr Settleine~~t A~reenl~~~Cf a~~ct hat ott~err,~ise-
 T~ic TrctstLe ~indertakes to ~crfarni such duties; end ~zi[y such deities, pis ire s~eciPicaEty set forth
 iii this 4gc-ce~iient. 1lTa if~ipli~d duties, ~ouezYants c~z' s~bl~~~€inns st~~ll be rc~d iut~ this Agreez~ien[.
 T"l~c Trustee shall ~i~ve tkie atitliarity t~ .bind tlt~ Tn~st and atiy sue~essor Trustee, ~r succeSscir ~~•
 assign a~ the 'S`~usG, t~~t ~~~all far aII ~urposcs }iercunder h~ actiiz~ its its represen atrve eapacity as
 Tz~~stce a~~d i~cit it~dividt~~illy. Tfie Tnistee sliatt liavc i~a c~~li~atians to ~cr1'c~m~ atiy activities for
 ~vh cli the i'r ist lacks suf~eic~T~ firrtds: The "~'t-4ast at~tl t ip Trustee st~3it hat and are- i3ot autl~c~r zed
 tea e~igage iii `a~~y tt~acie ar ~~rsin~ss with respect #c~ the Trsist ~issets sir aiay proceeds tl~~re~rc~ii~i.

          ~.~       Pc~~vers. Tl~e'1' u~tee stzall have tl~e;folla~~ri~~~ powers it adn~ainisteri.s~~ t}~c Trost:

                 4:~,1. Pens s~lvania L~~v: Except as c~tlier~,z~ise ~~ir~ivi~3eci rn this in~st agrr:eri~eiit, flit
"Trustee shall 13atfe all pc~~vcr~ ~ra.ntec~ to trustees ztnder 2{} P~. x.5.5 7788:5 acid 20 Pa_ GS.~ 77 30.6..

                   ~.~:2 ~lddition~l ~'akve~~s; Vv itl ~i€t limiting the `I'rctstee's powers ~ic~~iez x.4.1 itY a~~y
r7iaz~s~er, tl~e T~ust~e is ft~r~l~er ai~th~rszed to perfart~l aiiy asi~ ail acts. necessary tt~ accc~~i~plislt the
~iurpc~ses t~f tii~ `rust and facilitate ttie .Parties' cciit~plian~~ ~vitl~. the Settlement A~reem~nt,.
incluc~in~ the cx~ct~kiUn (incl~adii3~ ozz ~ehaIf cif -the Trust} t~f agreements, instruiY}eats and other
da~uirients necessary ~ci implement this A~reen eiit t~i~ Settlement A~reci~le~lt, or any order ~I'itie
~t~uz`t or as n ay 6e necessary ~nci: pz`oper io carry out the ~rovi5io~~s of this As~~~een~ent, anti, to tt~e
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~~:tent ~irectcd by the Benc~ciaries irr~vritin~, the SeE~le~iient A~ree~-~~e~it, Adclieionally,_the'I'rusfee
s;gay, an~oz~~ atl~er tij ngs, ii~~e$t the Trust Assets as provided in finis A~►~ee~13e«t a~Yd file docuiiients
i~1 C:oc~rt on bchatf ~fitself a~Yd tYae 7'~ist.

                   4.4.E Limitations fln t1~e Tr~aste~'s A~ittlnrity. The ~`rusi an t t13e I"r~tste~ shall not
acid are not:~utharized to ei3gage in and trade cir business ~~titlt rGs~~~.ct t~~ film Trust Assets cir aiiy
~~~c~ceeds tlierc#`ran;. ~~ithout l n~ tiitg tl~e Tnaskee's right to payment of its. Fees, ~x~en~es ~t~d
's i deninities ~~eret~nder, t is Tn~stee shall riot naaic~ distributions for p~.~r~~oses gti3e~~ than ~.s ex~sressly
sefi Forth in Article III cif this . A;~~~e3~~ent. Notev tl~st~adin~ ai~ykhi;i~ tp the cont~~at~y in tlii~
t~green~et~t; the Settlei~aenfi 1~,.~;reenlent, 20 P<~. ~:S y '7'780:5; ~0 ~'a. ~.5.~ 7`7$O.~S ~r stay tit~~ex l~iv
the Tnistee shall nat Have tlic potivcr o resolve any disp~~te bet~~~c cry or a~~~az~~ thy: Bene~ciarics, tl~e
T'arti~;s end/ter ~t~iy t~thcr I~e.~sr~ii regarding the- i~Ytcrpretatian; ap~licatian car ~nFtircement of this
Arec~ici~t ar tl~c Set~7err~ent A~reezi~e~tt ~ndlor tte attt~tiaistraiic~i~ of the Trust, in~tudia~g tlir~ugh
rncc~i~tit~n, arbitr3tsc~n or oth.~r alien~a[ivc c~is~ute resviuti~n pri~c~dures..

          ~.5:    Gotnpe~is~tzt~n, Tlie Tr~istee s3~all be entitled to receive cai~tpensatic~n fr€~~n Grxice
for its services u~~tier this ,4brc~ment in a~cordancc ~ctitl~ the Sc~ledulc of-Account Fees, a ~~py of
ivl~icli the Trustee r#~liv~red`to itie Bciie~ curies ~itt~ this A~reeinent. ~ddi€iciiia~ly, breskera~e €ees
and c~ati~~t~issiorts znay b~ cl~~rged tc~ the 'I`rtsst ~lccoz~nt ifs cflnFiection ~~ith c~rtaic~ sec~~rities tr~c~~s
excciited by tiie Tnistee and ~ubativisoc~s. z~ accordance ~vttli this Agree~izei~t. :I~i coi sideratio~3 far
receiving coriicnis~ ans from tl~e '1"nist Acco~i~l~, brciker~ge Finns ~~~ay provide Trustee ~s~ tt
res~arcll, ~zoduct~.ar~d otliei- services Evl~ cli i~ay be used tai assist Tz2~s~ee in ~rovidiiig i~ivestn3ent
acct;ice the BeriG~ciari~s and ~tt~~r clients. brace ~ii~th~rizes tlie'irustee to debit the'1'nist ,~ccc~t~nt
(r~r such other PI~IC ~3ank; account o~wneei by: Grace as Cxrace tn~y r~c~uest} fear the Tricstcc'~.
iori enszt on iii a~~tirtlance s~itil the Scliedui~ of F4eco int ~`ees #hen in effect at~d all of t ie other
costs end exper~sc~ described agave. ~'yitt3ia~ foz'ty-eve (4S) gays a#'ter rec~i~~t ~y Graee ~f a
5t~terac~xt frc~rsi ~h~ Trusle~: setting fc~rtlt (a} t2ie ~maz~nt of any coinpe~~satic~n, -fees cir expenses due
tc~ tI~e Tn~stee, or (ti) ~~~}r atnnunt tl~bi[ed frorri tl7e `Trust Accou~~t cicrrii~g the Stater~xerit ~ieric~d,
brace shall transfer fi.inds iii tl~e ariiata~it ~f'~ucli debit., cc~~3ip~~~satic~i~s fees cir expenses to ~l~e "1rust
to be added to azld ~3ett~reled ~s part of the :'I'r►~st Assets in order to reiri~burse ~~~c T'n7st in full for
~riy aiiic~isnts ~3ebited £`rt~n~`:fhe 'I`nis[.Ae,coita~t by "the `I'rtistee ~urs~sa~it to this Sec#ic~~Y 4.5, Section
~.6, Section ~:? or Article VI. 'Witl~ir~ one {1) day of the ex~iiraiioia n~'such.tarfy-~vc (~S} day
perit~d, C~r~ce shall »otify Che Mate if tir~~e dogs not transfer stick ~dditio~ial funds tQ t}i~: Trust in
~ccorci~rice i~it~~ tlic iznrnediakely prec~dsig sent~r~ce.

         ~.6      Litnitatioii on Liabilt~~ c~f'Trustee.

        1'l~c fr~ll~~viz~g ~art~visions shall go.ver~i t ie Trustee's rights, pox~jers> obli~;atifliis and tiutie
tinder this A~reertient; not«ritlista~iding anytl~iizg herein to tlz~ ~t~ntrary:

                             {~}      ~-lbseiit act~.ial fratul, bad €anti, ~.viliful intsconc~uci, dross nebligenc
ar a inateririt t~~•eacly cif xis ob ig~t ons under kljis ~gr~emer~t as estabtisl~ed by ~ Ana! jud etnent ~tf
the Go~~rt nc~ longer subject to ap~seal: Li) ilia '1"ru~tee shall is~c«r i~~ Iial~itity far <~tiy action taken tir
r~it7~tt~d tc~ l7e taken iii accortlafice ~~it1~ a.Fiy instr~ictio~l, cisrectian or req~~~::st ~f a Be~reficiar~i'that
is not inctinsastent with tie te~nns t~~'this ~;reeme~~~; ~7cluding e~iitl} .regard t~ distribcx#ions under
Article III;. and {ii} the Trtisfee shall nc~t be li~~ile f'Qr any Ir~ss to tEre'I'z~:st or any elain~ of inegciality;
partiality ~r uiir~as~~~atileness resulting froi~i any action takefi in ~cct~rdance with such di~~ecticsn.



                                                         11
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Tlie'Trustee ~l~all llaye Rio i~~ty car ohl~~atio~~ tt~ revie~~ or coi~firtn ~v~ictl~er af~y actio~~ taken by it
~u~'suaiit t€i any sucl~'iF~strtictic~ns, c~i~~cetic~ns car regti~sts cc~n~plies 1~ritit tine tc;i~ix~s of this Agte~r~~ent
(~~~;le~s such instruction, direction ar._~ec~uest ~n ats face is t7.ot consistent ti~v th ~~c tecins~gf this
r~greet~leiit),-the Sett~ctTicnt Agreeri~ent or any ether ~greetnent, order ar i~lstrc~a~ietit. The TniStee
shall ha~~~ tt~ dut}r to ~ra~~idc ntly ce toT or cot~~r~~unic~te ~~aitl3 or s~Jarr~ car ap~a~•ise, any ~3eneficiary
conceiving iiastances iii r~~hicl~ [lie- Triistec iuot~lcl: car 7~~i~ht have exercise:~i the 'I`rustce's o«rn
discrctic~~~ i~} a tnant~er differeT~t frcii~i tl~e ~33artrier directed by a f3€_ne~iciary.,

                              (bj        Nei prt~vision t~f-this A~reemerst, ttie Settie~T3e~~~ i~~reenient, or arty
Gt~cti~t order shall require t ie Tni~tce tcs expeiiii car risk ins a~vi~ perso~~al funds ar ettaer~~rise incur
any personal frianciai 1ia~Ylity its tfic perfc~rrniance of any Qf its duties or t#~e exercise cs~any of its:
a~itl~oritics ~s Trcistee hcrei uc~er. Not~vitlist~ncis`n~ the- for~~c~ia~g,. the Tni~tee shall satisfy #m~~ its
own f~iz~cis ~~iy liability iii~posesi ~ y a ctiairt afcoi~ipete~it jurisdiction a~i ac~oti~n# ofTrustee°s aclu~t.
f'raix~i, t~~d faith, i~,titlful ~ti scc~7i~i ct, dross i~~~Ii~ence or _material brcac~i o~ its t~~+ti~~tiofis under
t~~is' Agr~,ernea~t:

                            (c)       Tl~e'Tazastee sE~~ll nr~t be deemed to Ii~ve knr~~vi~dge of ~2iy evefit'o~
infarttYat ate held ~y or "i~t~putcd to ~~tay P'~rson (includ ~~g; azi affiliate, c~~- trtl~er lime t~#' btrsi~~~ss car
d~visii~az oftl e Trustee) other tt~a~i itself in-its capacity <~s'T"rustce. The Trustee ~li~l~ ~~c~t be cleet~erl'
t~ ~~ave nt~tice or ~Cna~~ted~~ cif a~z.}r cve~~t car infQrn~at€one car he rer~~.iired TQ:act ~,i~3o~-t any event ar
infciri~iatia~~ "{incli►di~i~ tli~: sending of any ~aatice}, t~i~icss a F~cs~onsible C~f~c~i i~f tale `I'3-~~ste
receives 'written notice tSjerec~f ~~Zd such ttt~tice references file fact o~- eve~it; "~tes~ orisible t'~,fficer''
meains ati~ t~ ~cer of thc'T"rustec ~vitkt direct responsibility for the administration of torts A~reetncnt,
T(~c: avail~t~ility or delivery (irieluding pursuant ~o this ,A.grecn;cnt} of reports or ether d~ct~zt~ents
(includif~g ne«s ar other publicly .available r~poris iir ctacunients) to the Trustee s1iall nit cranstitute
actual oz' cr~i structive i:~r~ot~led~e c r ntaticc of iiit~ir~3~atian cotitainerl in Qr detern~i~ ~~i~: fresri~ tht~se'
reports r~r ti~ctsme~tts, excepf for s.uct~ re~c~ris or dc~c+.i€~zenis t}~~t this Agrec,~~~e~tt expressly rec~~~ires
r}ie T'~istec tti revic~~

                            (ct~        A:ny F'ersc~za {i) :' into ~~I~icli t1a~ Trcistee nay be i3~e~g~ci car
cc~nsc~lid~iteda iii) ~vl~ic:l-~ rri~.y res~.tlt fr4rii any merger; canversiafi; or. consolidation tQ iuhi~l~ tl~~
Trusfee st~tall;U~ a ~~arty or {iii) ~~vliieh riiay s~.icceed tU all cir substa~atiaily III o~ t4~c: carpe ate fn~sE
business of the Tet~stce s11~tI be the ~~7ecessor elf t11e Tr~~stc~: 13ereunder; lvit~~~ut t}1e exeeutioz~ tar
~iiz~~.of any nstn~i3lcitt ~oz' a~~y ~'urtl~e~• act on tl~e dart 4~' any cif tl~e ~artics. For pi~rpt~ses cif phis
A:gre~ rrz~tzt, `•Person" z~~can~ a~i iiidivicluat, ~oi~paration, company, p~rtnersl~►ip, associat tin, joint
stack cc~tnp~~3y, st~tutc~r~ ~r ~ot~~~~~~n. la~v €nest, uni~a~c~r~~orated ~z•ga~ii2atian, jai~it vcnt~ir~,
gQveriinicnta! autti~iri#v~ limited E ability cc~i~~}~~tity, Ii~z7ited liability ~~rtnerSliip ter otl7er.entity:.

                             (e}       The Trus~e~ nay act directly ~r ttu-fl~~gl~ its agents; attorneys,
~ustacli~ns; servicers, n~aiia~ers,'~i~~i~iziccs or Diller skittcd professi~~~dls; a.rtcI t}~e'Trustc~ sl~~ll ~xot
be laelcl resp€~~~sil~le or liable for, or Have ai-~y ditty t~ sup~rvis~, airy actac~ii, inaetic n, misconduct,.
or ne~li~ence ~f u3}~ sucta' Pcr~gns sel~ctez3 by tl~e Trusfiee ufitt~ due raze: Art.}~ expc~~s~s izi~ur~'etl.
ley tl;e Tg~.iste~ in ai:tii~g tlrrc~izgl~ a~eitts, at~orncys, cusfodiac~s, s~;rvices, managers ar-other stilled
~rc~fessiaz~ai:~ shell he clebzted fr~am t~~c Trust ~1cc~i~nt iii accorcla~ice ~vit1~ Section 4.~:

                         (~      TI~~ Tr~istee sliail not be re~po~~sit~le c~~~ liable fear special, iFidireet,:
pu~iitive, tar cofisegt3cntial toss o~ dataiage pf airy hind ~=rhatsoe~>cr ~iF~ct~~dii~g loss of pa'c~fit}


                                                            ~~ _
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irr~spectivc; of ~~il~ether the 'Truste;e tips Keen ~~civised of the tikelilioocl of such loss ar da~na~E and
regardless ~f t}~c faun t~f action..

                          (g~.     Tlie `°I"rusfee shah be entitled to rely cc~~~olusively; ~vith~izit
itives[igatioi~ or tither actia~~ c~zt its ~arfi, on statements opinit~~~s, certificates, rcparts; directions;
SS~Ili11119'eSs 1I15tCUITlCI1~S~ S1Q~iCGSr r"iL~YiCG'~ Tf'C~i1€StS, ~V<11VC'ISt C(}I15~.€1tS? t'G'Ct,1~.7~Ss IL'St?~11~t0315 r ~()1I~5
caiculati4ns aiit~ t~#lier ctt~czttxa~~tfs ~iurp~rkec~ tc~ be f~cceved fra~i airy I3eneficiar}j, as cot~fcri~plated
by #13is 1~gree~nent, ric~E anly as t~ ctR~e execut~bn, tJalidity and effectiveness; t~tit also as to the truth
anti accuracy: cif ~ii~~ ii~fc~r~naticiit catitained tt~er~in, and such reliance sl~~il riot ~i~nsiit~rte
i~egl get~ce {or grass Yicgli ez~ce),- bad faith ~r ~vilt~ul ~nisccsriduet its ccii»iectit5n ~vitli ttie Trustee's
Iia~idiir3g offu~ids or athcr~vis~, and-:the Trustee shall ~zot die liable or aGcountabte tc~;any Person by
reason. 03 s~acl~: reliance. T`he Tr~zstee shall nit he res~onsibie ft~r t43e eontcrat ~r accuracy of a~zy
such documents prci~ri~i~ti Eo the Trci~tce and s~i~~ll not be rcgiairGd to rccalciilate, certify, or verify
any inforri~at on contai3icd #Herein.

                            (f~},• Tlie Trustee ~~-►ay, at t~~c ex~~n~e cif fhe l3ene~ci~ries {i) request£ relj;
~n and ac[ rj~ acec~~ctance ~v tli officer's certificates of the ~3ec~efici~rics ar~d opinions of eaui~sel :
and iii.} consult ~vitli, and rcgi~cst` advice fro~~i, Segal cnu~isel selected ~y t~~e fir~jstee ~s 'ta any.
zrtatters arising in ct~nnectit~n vfit~i this ~ ~;reei~~ealt, the interpretatio~x a~ici aciti~i~3istratir~n of ~u~ of :
t3~c ~rovisiciiis taf this- A~reezn~nt or tli~ Trustee's rights ai d Qbligat ons. tznd~r t13 ~ A~r~et~nen~
T~~e Trirs~ee shalt incur no liability a~icl shalt be ~ciiiy protected in pct iyg or refraining fra~t-► acf gig
iri ac~i~rdance with such officer's ~:ertifie~tes and opit~iai~~ of ec~i~nsel an~1 the ~.~ritteri or oral advice:
of such<Ie~a[ caunset seleefed by t4ie Trustee in.~csod faith.

                             {i}      Tl~e Trtistce sltatt i~~:c~~r na liability sf, try reascii~ of ~[~y prt~visiai~ of
any ~~resezit at' fttttir~ ta~v c r regul~tic~n khcreuFider, or by any force ma~ei~r~ e~u~nt, ii~cludin; b t.
not limited to at~y act of C: od, natural cii~as[ez•, epidei~~ic, pa~~de~nie, .c~~tat•anti ie, ~l~elter-izt-place or
similar ~lire~tives, bu dance; policy or c~tt~er actson lay ~riy gnc~~rnriiei~fat acatti~rity, accicienfis, labor
dis~~i t~s, dtsea~c, twat anal en-~ergeztcy; Ic~ss r~r rr~~Ifu~ictiQ~i of utilitic~ car ~ompciter saft~vare or
hardware, the catiavaiiabil ty of the Federal 2eservc ~ai~~ wire ~r• le3ex or citi~er wire or:
c+az~xn~cini~~ti Vin; Facility, -acts of ~~~az; terrs~rism, insun•ectiaiY, revt~lution r~r other c rcunista~zces
be~fond its reasenabl~ cci~iirot, the Tz-us~e shall be prcveutec~ or forbidden f'ra"m dciii~g cir
perfori ~ir~g any act or thing ~vi~ ch tine terms t~f this A~reer~er~t prc~v:ide sl~al~ or ma}f tie done ar
perforn~~d, or by reason of ~~iy exercise of, or failure to exercise; and c~iscretiari provided far i~~
dais ~~r~ei~icnC.

                           ~j)       The T`n~stee ~li~ll nit 6e ~equired,tci take a~~y actio~~ Ixerettncter if it
shall kiav~ reasonably determined; or shall have t~e~r~ ~civis~d by its ci~uY~seix tha,f such aeCi~i~ i~
likety tc~ res~~lt.in laab la"ty on tl~~ part c}f t}ie Tn~ste~ or is ccititrary tc~ tt~e terries hereof or is i~ot in
~cz:ort3at~ce «ritt~ applicaEiie Iakvs.

                          (k}.      ~1.ny permissive. or ciiscr~Tionar~~ act or pr vzle~e af, or right or po~xler'
ct~nfci7er~ upon; t}ie Trustee etaun~erate~t iti ~I~is A~ree~~lent shall riot ~c ~leet~~ed tQ be car c~tk~crivise
~.a~7s~rued a~ a duty car obligation, and tt~c Trustee sl3a11 not be }3ersoiia.lty tiaiile ~r accot~nta'~le fir
~lY~ perfo~~tis~ticc cif~~y stic~~ apt, priuiLe~e, right ar po~~~er except as oftic~r~visc ~xpr~ssly provided
herein:



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                           (t)      Tt~e: Tr,~~stee shall not b~ I~etc~ res~~onsihl~; ar liable fnr or iF~ respect
of, and makes ~3o_repres~~lE~Ztit~.i~ or ~~~a.~~rax~t~t v~rith r~s~cet to (ij the preparatit~n,'~li~ag, ~ct~titcii~e~s
ter accuracy a#~ a~~y fina~Ycin~ ~t~te~~~cn~, cc~~Itinuatian st~ten~eni or record ~~ of a~~}r d~icu~neiif
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creation, mais~teE~a►~ce; enforceability, ~Yistence, states, validity, priority ar perfectinii rsf a~iy
security iz~tei`est, Iicn or ct~llaterat or ~Iae perfc3rti~ai~ce of a~~y cciltateral:

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nn ti~ity t~ supetvise; i~-~vest gate ~r monitor, the ~cti€~ns or ami~sic~ns t~faE~y t~tlter I~e~~Qn, i~~cludit~g
the BeiTeficiaxics, in c~nneetion ~~ritl7 this A~reeczieiit or Qfit~er~~~is~, a~~d'cxcept as expressly set fartl~
in tlrticic III of this Agreeii~~i~t, lie 'I rttsiec zn~jr assuin ~t~rfortnance b}r all:s~,~cl I'e~~so~~s of their
respective ~biiIIa~i4ns.

                            (ci)      lit ~fs~; co-c~3t t~iat ~i)'the Triistec is un5uf~~;'as to tla~ a~aAlieatian or
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#o tl~c course of action that tEie -I"rusie~ is regk2irci~ cir p~rnaitted tt~ take ~~it~ respect ta, a }i~rticutar
set,of facts, or {iii} more ~l~~n one rnettinde~lc~~}J can be us~~i to ~~~~ke any determination tc~ he
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iz3 ~oc~d fa~tl~ iii accorda~~cc with any s«ct~ «bitten i~-tstruction,:thc Trustee sl ail not be ~~crss~nally
Ii~bt~ tc~ any I'crst~i-~. If the Tn{spec si1~~l~ nvr iz~~vc r~ceivcd s~icI~ ~vri~ten instr~ictiaiz ~~rithin'tc~~ ~ t ~}
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'~`rt~~fec may rac~~~c~t: Grace a~,i-ces teat if requested by tt~c 'I'n~stee. Grace ~t~ill p~-t~vide copies of
its ~ovcnzin~ .ciciciii~~e~ats G~nt~ any ~tizer dciciir~ientatic:~il rcc~uestcd E.~y tl~~:'Tr~i~t~e to ~terify ttie
irtfarrn~l ~n:prou tied ~~~ Appe3~~ii;c II. Grace «i~derst~nds, I~ati~+ev~r, ti~at ttie'Tr~tsfee. assumes ~~o
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is cam~teke ~~.tl conre~t, Grace a~~thorizes tt~e Tr~~stec ~o share tI~e-ittfc~miatit~n prc~vid~d in the
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authariied to c~pe~~ or update t~~e Ttirst Accaurit.




                                                          1~ -
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                         {t~)     "I'l~e Trustee shall tt~v~ ~~~ ~l~ticc ~f; s1iall a~ot be snbje~;t tt~; and shill
nc3t be rec~uir~d to ca~n~~Iy Uvith, arzy otlYer agreenl~nt iinEe~s the "I`nistee in any ca~iacity is a ~~a~-t},
tlieret~'ancl-has executed the s~~i~~e, even tl~i~tzgh reference thereto ii~ay he nia~Ie li~reiri.

                              (r~      ~~Ihe~ie~~er t~~e Tz`tistee {a} r~~e~~es at~y ae~~oiuits; tli~c ap~iicatiot~ or
t~ispr~siYic~i~ cif ~~lhicl~ is i~at clearly address~r~ liereu~ider, ~i~) deteri~iiiies that ii is uncertain al~aut
hc~ti~ to dist3-ibtzte any ~maustts which it i~as reLeiveci, or ~c) determines that tticrc is Tiny t3ispute
a~~loi~~ t ie F#e3~eficiaries ht;r~:tc~ abvitt hc~«t s~~ch amciuiits sliot~Id be distribi~ted~ the Tn~stee inay
;chr~r~se: Co defer dis[ril~utiozi of the a«lounts ~cvhich arc. tt~e subject of-stitch tinccrtainty: or dispute.
Ift1~e Tnastee:iri ~oc~d faith belieifes that tl~e uzicertainty crr d`isp~itc will ~~o~ be prate pity resc~lv~~,
Yl7e ~3eneficiaries ~~re~ t}7~t - the Tnist~e shall l~av~ the r ~l~t, at zts option, to clepo~it t3~it1~, or
~omnie~~ce an i~iter~iteader procecdi~~g in respect s~~; s~rch amounts in Ci e Cac~rt for a dcternzin~t on
by tl~c ~~i~rt a5 to the correct a~plic~lioi~ ot~ such amounts Ilercui~der-

                            ~s)      Each of the $enc~~ciaries Hereby agrees that (Y~ the Tr~istee ~A.}
except a~ rsth~r~visc expressly sc.t fartli herein, has nod ~iroviclect nc~r ~~itl it provide in t11e future;.
any aduice, cc~ut~sel ~r npiiiion regarcliug ti~is Agreci~ie~~~ or the tcan~aetiot~s ctinteiiiplate~ }~ere~sy,
ii~clutf n~ ~~riti~ respcct to the tax, fii~anc at, invest~i~nt se~uri#ins la~v or insurance ifnpticatii~i~s.
a~~d ~onsec~u~nc~s of tfie consucnn~atio~i, fi~tiding and ongoing acitt~inistration o~'fi1~is A~reetne~t:~r
the ii~iti~t atzd ac~gciii~g setecticin ~ii~ci n3b~zitt~rir~,~ cif financing arrati~eine~ats; (B) h€is nt~t n acie a31~•
 nvest Batson as to the accuracy car ca~~~pt~te~~ess fl~ any represetttati~ns ~~rarrantics car other
obli~at c~n~ of-a~iy Person i~zicie~- t}~is t~.~reei~lent car env Qt~er dacurnent nr nStru~i~~nt {cagier tl~aia
the Trustc~'s rc~rc~enfa~io~~s and ~varra~~ties, if any, e~pressly. set forth i~~ this A~x~~:ment~ and
shad nest.l~ave any IiaEiiiity iii cc~niiectic~n tt~cree pith anti {~) zfs nc~t ~re~~areci ar verified, iitir sEiall
it be resp~rtisiiale tir liable fbr, ~~~y iz~fon~~at can, discidsure ar otltcr sta~em~nt in waxy c~i~ctostire nr
c~fferi~~~ d~ciinz.nt ~elivereci in cc~nnecti~an ~vitl~ t1~is Agreen~e~it, a.i~d (z) it will; rz~a~~ its a~vn
~teci~ior~~ reg~rciriig its rights slid ~ro[ccfions ai d will gnat rely on they Trs~stee regardf~ig such
dcci~iaizs:

                             (t)       AlE ~rrittc:n directii~n~ given by a~~~ Be~~e~ciary to ti}e T~.istee
r~lat z~~; tc~: the Trost f~ssets ~ni~st b~ iii z~rifin~; signed- by a re~r~s~iitative o~ s{tc13 Beneficiary
idcnti~ed cii~ Appe~idix I l~~;retq (gin "~1.utYic~rized T'er~on") and delivered to tltc T~~istee, as such.
Appendix ~ r~~ay ~e a~ne~ided' fcc~n~ tir~~e t~ ti~~3~ try a gene ci~ry by notice to t~r~ Tn~stee delivered
in acccirdance ~~aith ~l~is A~re~i~~ei~t. Directions rilay be delivered tca tIi~ "I'xuste~ in pexs~ti or by
U_S. Malt, av~rnigl~t courier, facsin~iie car etr~ail. Email direct ans will be dc~~a~e~ ~utll~riz~d arit~
signed by an:Aitthorized Persfl~~ if'seizt frc~~~ an e~iiail address pi•nvideci iii Appendix I ~A~~t}~orize~i
Pcr~~ii3 ;} attaeilerl tai tips A,greenlcrit; as tlic same nzay be: u~ciated ,from tiia~e tea tine by the
Bene~ciarics arid: dclive;rec~ t~ the ~'~~usi~e (".~ttctZor zed Persons L'sst°'}, iviti~ visible electronic
cc~raies icy al3 c~tljer taut~iorize;ci Perso~is. TI~c Trustee will have no liability ultder this Agceei~lent
far relyzng on ~z~d acting upon a~iy firm cif directia~~s ~.r~~icli it t~elte~jes tc~ be ~eizi~iiie. ~f iii
t1~it}iorizeci Person uses ct~laiI to sc rx~ ~iirectian:s tt~ title Truckee, the>applicabl~ Ber~efciary vili
ca~is~ all t1.~.;tllorizec3 Persons to seed et;~~ils f'r~n3 thy; en~air ~irlclres~ provided iti file ~uthcirized
Pcrs~ns I.~ist. `The Trustee ufill assume that all en~ails seni frar~~ ~ ~esignatecl,~rz~ai~ adcl~e~s have
been autl~ar zed af3c~ se~lt by an fluthc~ra:reci P~rst~n, until either Beneficiary no#ifies the Trustee by
cietiv~r}~ UF~n updated A~itlior zecl Pe~~sc~ns List that the eF~Yail ~deir~s$ is nt~ ton er valid: All em~ils
sent by clue 'I'rt~stee to a~~ 1luthorizec~ Person's designated ei~nail address ~viii be deemed delivereii
~vhe~i seiikE~y tile Trustee; liol~;~ever, ~c~tt~siti~ in this Section slia3l ret3tice the Trustee's ab#igations
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t~ prc~vi~ie certain ~~otices by €Weans ~t1~er tl~ati epnail ilk acccrrdanee svit~i Sectic~i~ 6.~7, t~~ th respect-
tea rxc~Tice ftii~ ~vhici~ tiniy emait is rec~~tire~i ~urstaant fia this tl~rcernei~t; eac}i £i~~iefic a~-y tivaives all
claims r~~Liltin~ from an Authc~ricet~ Person's ~'ailt~rc to receive sent e~l~~ils. Tlie "Trustee will be
de~~ned to liay.c rccei~~ed and acc~pteii direction s {and obli~ateci. Eo pct can ti~e.rlireetic~n~) o~iiy when
tl~e'T'rust~e I~as received aa~d had a ~easc~nable tines t~kin~; intq a~cotrnt tl~e ~~3~~Ine~~ and nature of
tt~e directions, to rGvie~~j the ciirecti~ix~ -and ~csn~rm to flte ap}ilicablc I~ei~eficiary fh~t the direLtic~tis
lave bcc~i accepted by the T't~~stec. t7Yider no eirci~n~stances ~v 11 telepY~on~,. ic;tephosie voice
nzessagi~l~ a~~d other fc~r~ns of telepl~v~~ic, Oral c~mi~itnicat ~n., text, s;c}j~e: or .otl3~r for~~s cif
instant n~essagin~ constitute valid an~i ef~'~ciizr~ t~i~~ectiaa~s i;~xder tl~zs ~1gt~crnen~. Tlie Trc~st~e's
executio~l of any directions ~~et~uires a coi ~r~iercially reasonabic }~erioct ~f-titiic fnr processing and
~s ~t~bject tc~ the Trustees i~~teriial ~aolicies and pr~~~dures,.~ust~niary prc~c:es~irz~ ~t~ir~ctsn~s at~cl'
securities eteadlines, r~~utual fund Gonlpany pracessizxg deadlines, anti a~piie~ble market closiii~s.

                            (~~)     Tl~c T~.istee sl~~ll aicst be li~bie fc~r ~aitirig to cQm~ly i~r tti its
obi fat arcs i~zicler t(ais ~.~reeri~e~~t car ai3y. related do~urnci~t iT~ sa far as ~li~ performa~~ce; of suc11:
obligations is de~efac~ei~t upon the timely reeci~~ cif clirectio~~s ~i}cUor c~th~r infQrniatirsn Pram art~~
Ben~;fici~fy ~~rl~i~cl} are ~~o~ receiijecl or not ~~e~eiv~d ~t~ tl~e tirr~c r~c~irireci; Tti~ Tni~te~ s~~~ilt nc~t
have siny ccs~7~nsibility far tE~e ~cc~.~racy of ~;~~y iiYforn ~ition ~irat~iticd tc~ any:other Pcrscan that lies
Cecil obtained fra~~~, car prt~vidcd to the Tr~~stce hy, any Beaaeficiary:

          ~.7       Excuipatii~~i aild Tndeirini~~acioi : T1ie Trustee- sl~~ll riot tie p~rsc~n~lly liaiilc Cnir at}y
cia n~,-cause c~~ actio~~, or c;tl~er assertion:cif` liar 3ity. ar sine out ofor in r~tat ~n to tt~e discharge.of
the pavers artci dt~~ies ~c~tifcrred upon t~~ 'Trc~sT ~~~~far Trustee tiy~ ~ttze Se~tienief~t A~recincnt or
t(~is A~rec~ncnr ui~Icss #1~e Cak~1~, try a final Dreier that is not` reversed on.appeal, ~~~~is that tl~e
T~~~ste~ comiriitted act~.~at fraud, bad fa tdi, cvilifigt rizisci~nduc~, or gi~~iss ire ligei~.ce ter n~aCerially
I~reaclaecl its c~btigatio~~s €.xnder this ~~reen~e~~t ~a relation to tla~sc ~c~~,~uers car dciti~s. There small be
eta rrc~itttable presui~3}~tic~n t}i1t ax~y a~tican taken gar not takci~ with #1i~ express approval of the
Coiit-t dc3es. ~~at ~constit~~te air act cif aet~ial fra~~d; bad. faitl~,,ti~riltful misconcluez, ter gross r~e~ligc;ticc
car a ~~iater a( bread of this Agreeiiie~it. E~ce~t as sit ~artl~ in tlzc prec~ctii~~ seiite~ice, t13e Ti-i~stee
shad have ria liability fc~~~ tiny aataon t~icen, car errt~rs iii judgtii~~~t tnadc, ids ,~oocl f~iith ~iy it car ai}y
flf its'c~fficcrs; er~~plciye~s c~i~~ ~~ei~t~. No~l~ i~~ in t1~is A~rcenient shaEl ~~ coristruec~ to cYciit~aie the.
Tnsstee fi~t~rti any liability res~~ltin~ Fran ~ ~t1y itct or ~imissiotl ~oristiktifii~~ actual fi~aucl; willful
n7isc~nc~~~e[, or gross ~~e~,li~e3~ce ~~r a naatet~ial k~reacl~ of't11is A~recmene (in each case: as dct~r~nin~el
try ~ final; nc~tx-a~~pc~la~iic c~r~I~r froi3i a ct~~.~rt cif campetcnt juriscticti~~~);

~'o tli~: firtlest exte~it ~~cr~~~ittcd ley ta~~r: and t~rit~ic~ut prejudice to air}~ separate 3~reen~~i~t r~latit~g tc~
i~deirir~ificZtioi~ €~f -the Trustee, Crrace. shall. intlerr►n fy, protect, ci~fe~jti aiid t~sald 3~artiltess the
Trustee (in its ca~aacity as such ai d in - its i~~d victt~a! capacit~j), its a~~liates and tli~ir;respccti~Je
directors; c~f~cers, c~nt~~lc~yacs; sharek~ot~iers; representatives; trustee$, ~"raiitor•s, ~ieuefici~ries,
certi~c~ite l;citcle~•s, n~cnibers, age~lts, attc~~~t3cya, accout~t~nts and their heirs, successors and
perniitteii assi~~is {e~cl~, a.~~ "Indemnified Pei•so~~"} fram and'ag~in~t ~~~y and alt fees; ~xpef~ses,
darrr~ges, Iass~s, claims, liabiE ties; ~enaltics, causes: '~f action, dcr~iands, judgii~ents, taxes
{c~elud n~ ai y taxes cat ti~~ Trustee on or n-~easitreci liy, coinpcnsat on received by: the ~'r~istee},
suits Qr costs. (i1~. ~:ael~ case i~~cl~rdin reasonable a#tc~r~~e}rs' fees a~lci ~xpens~s, court costs ~.~ld costs
of investigation) of any ki~~d or nature ~v~~atsoeve~~: arising out t~f car in coa3necti~in exritla this
Agre~zt-i~t~t that may be irtip~scci ctp~a~, in~urrecl bye nt• asserted against si3ch Indcmni~ed Person,
incliidi~lg its co~i~~ectian ~~~itI~ (i} the exercise ar performance of any of the Trustee's rights; ~~o~~+ers


                                                         -15-
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or duties 1~ea•eunder, a~i~i (ii) hn}t c~~fflrceineait {iricludii;~ an}y dispute, actinii; claim car suit brotigl~k}
by the Tn~stee of any- inde~~~~iifica~ion ar c~tlYer obligation of Grace (eaeli` of tl~c fore~oiti~,
„C1ain~"}; ~vi~ie_d,
               rt          ttiaf ~racc s1r~t1 ri~at be re~jLrired ~t~ ia~denrinify azi li~demni~ed Person for any .
Claim resulting frc~in such Inr3ei~~rzifed P~rso~}'s actual #~racid, grass negligence, bid fai#Iz or ~.tillfi~I
n~isc~nci~Gt car material breach of This Ag~cerrieiit (in each case, as cietern~iiied 1~y a final; i1an-
apse{~I~ble nrd~r trna~i a ca~irt of co~x~~~ctenr j~tri~dictir~a 1. ~ot3~+ittisr~ztc~ir~g tlye ~'oregtiin~; unless
anct until a find, non-appealable oz~der ~f a c~ii~rt of c~irnpetent j~:irisdic€ion determines that an
Indemnified Pcrs~ir acted ~u cli: gross n~: ~ig:.n~e, bail :faith, ter ~villfiil miscoi~riuci or fnat~r ~lty.
I~z~ea~tied this A~r~~r3lei~t, Grad sl~~i1 adva~~~e or r~itn(~urse, as reasc~z7atil}t cieterl~~i~iable by the
'~ruste,,, ~n}~ a~~ci all ~in~a~ii~~s due to such'ind~nini~eii Person pursuant tt~ t1~e foregoing i~demzaity.

          4:8       I ern~inatiori t Resi~,natian: of the Tnsstee The ciutyes, respQnsibilifies, ai3d po~~rers
Qrti~e Ti_ustce ~.viil iermir~ate air the date the Trust ~s term tzated in accordance ~~ittt:tl~is Agreement,
t~i~ by ari c~z~der of tl~e Coi2rt: Further, t13e "Trustee may resign at a»y dine by diving at least thirty
{3t}} days ~ri~~- ~~rrittei~ notice thereof tc~ tt~e Beneficiaries anti any ~o-Tru~fiee•, end tl~e r~signati~F~
shall become effeeeive u~~on the delivery of ~IYe'Tri~st Assets to the succe5s~r Trtastee appraintecf
un~tez~ 4.i0. Sections 4:5 thrt~u~;l~ 4.7 aboue sha11 sur~+~ ve Elie t~rmi~~a~ion ter assignment oftliis
A~r~~e~~~cz~t end the re~i~~ati~n flr xen~c~vat of tl~~ 'i'nrste~;

          4.9       Re~~lacent~ric. '~'h~ Tnastee n~~~~: be r~ia~oved; with Qr vritl~aut cause; ai~cl repl~ceii
upon thirty {30) days't~1ritterY ~Z~itice y:~ j~i~it 3~rittert tleterti inatiQii off` the Be~ieficiaries. T'hc
r~~riciv~t sh~rll bee~me effective upon the - deli~c=cry of the Tru~fi Assets tc~ ttie sticcesso • 'l""rctst~e
~~~Spttiitted aincle;r ~i.10.

           4.It} Appointment ~afSuccessar -Tn~sf~e. T~`, aI ally ti~7~~ a successor Tn~s~ee is required
 for finy ze~~sc~n, sc~clt successar shall be jc~iY~tly app~iilted in ~vrzting by Eh~ Beneficiaries. ~~iy
successor Tri3stce appoi~~ted hcreu#~t~~r `shall execute an .instrument accepciii~ such appoultiner~t
l~ereuncier anti sl~ali file s~~cl~ acseptanc~ with the Parties. The~•eupt~n, s~ich successor Trustee stall;
ti~it}~out any 1~.~rther act, hecciine 1~estec~ jvith alt t~~c properties, rig~~ts, pa~~vers; tnt~ts~ az~d dtttses of
_its. prectecessci3- iii t7ie Tt~st ~vitti like ~ff~t as ik~"originally nan~~cl 1~erean~ ~i~c~ .a removed or
t`u~agiiizig Trustee shall, ~~t~ci3 requested in writing by the sticsess~r Tri~st~e; execute aliri rieliver
air instrLcn~enf ~r instruments convc}ritr~ aid #rans~'er~~ing;t~ such s~iccessar Trusle~ ~inc~er the'Czt~st
III tt~e Trust assets i€~ the cl~st~dy of such ~reElecessciz` 1'rtistee. A s~~ccessnr Tn~stee appointed
under t~7is ~€. t0 shall tie a a~~tianal t~~n~cing t~s;~c~ciation `sir bank a trust ~oai3~~any cl~a~~tere~i iii~c~er
tl~e ~~~~=s of Pen~~sy~dvania; f~avrng a capital and sur~itus of ~t bast ~2(1~,~00 DOtl. If iici st~ccessnr
Tnistee is timely aPpainted, 'and shall l~aue lit~Yet.y acce~3ted s~cl~ a~~~i~i~~ttaient, tI~~~i the Tiirstee
may, at tl~~ sole expense cif-Grace including ~vitl~ respect to attorney's fees and expenses}, petition
the ~o~~rt far tl~e ~ppcii~~i~n~i~i of a s~tecess~ar Trustee.

        ~.1. I Na Bt~nd. Not~~iithstattd ng._any state t~~~ to the ~t~ntra.ry, the Trustee; inclt~din~ any
succ;e~sor "Cn~stee, slz~ll be ~xe~i~pt from giving any bcii~d or atl~er security in any juri~diceioi~<

                                         ~,:i~TICLE '4~
                                TRUST RE~O~S, TAK R~.~'C}RT~I~G

        S:1      Accaunti~~~, TI~~. Tn~stee will }~ravirle quarterly statements fa t~i~ ~3e~~eficiaries t1,at
i~iclude a listing of alt transactions, rec~i~~ts, and ctishursem~iils iic~ring tl~c }~reccding quarter,


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tc~~etller ~viti~ a c~irrent listing t~f' tlxe `I~nist t~.~sets: ~Zeld in t}ie Trost t~ccc~t~nt ("A~cc~~►nt
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request fi°om Tn~stee a rnc~re tictaile~ traxlsactio~~ ~-cpc~rt z~rliac~~ niay be `I'r~istc:e's fc~r~~~ flf
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                                              ARTICLE ~I
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          6.l      A~taet~dn~ei~ts aril ~laivees. Aii},l prbvisi~iz~ ~ftliis`A~r~ement may be a~ixe~ided or
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t~f GFace, ~~+hc~ ~~ree to separatcty ui~c~ and pay such expet~se(s~:

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jurisdiction, or ve~~cue, nr waive a~3y jury rights that i3~~y cxi~t in coainectiot~ ti~v~tl~ any proceeding
nc~t solely ~~ertait~ing tc} tl~e constnictior~ flf tl~e Tn~st ~1~rcenient or the ac~an~i~isiratioa~ c~ttt}c Tr«st..

           6.5     Sites. The initial sites of tiae Trust sl~afl be €tie State of I'enz7sylva~~:i~~ V~itl~ the
~vritte~a conse~it of the Beneficiaries, the 'l'rctstee ~liall leave the paver to re~zt~~ie aii or part cif the
Trust Assets or tc~ chaiig~ flee sites of administration cif tl~e Trust from c~nc jurisdiction to another
~~rithin the ct~i~tiiienta! LJnite~i States, a~~d to elect, by a separate acki~otvledged insti-~~n~ent feted
~ciitll tl~e Tnist records, t}zat, noi~~ritl~st~ndin~ Seciiox~ b,4, ctl~ iativ of st~cl~ other j►.~rts~iictic~n s1~111
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jt~risdi~tioti other than the jurisdicEion in ~~~~zich ti~~; Tn~sfi is tlleii ~€ii~~inistered.

         6,b      ~everability, If' any provision of t3iis A~r~en~ent, or application tlaerec~f to any
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t~3a 1 and first cl~~s ~Sostag~ prepaid; in a post office or te~tea~ fox addressed to tl~e persn~z fox z~vitnt~x
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                            Alleged Izij~t~-~~ ai~~i Exantplcs ~fRestot•atiai~ C?~tions
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 the risk assessme~~ts vas tc~ detei•~nii3~ the patentiai ~'c~r currenf or fti~ure u~~accept~ble risk to
 ecotogic~I receptas~s (~.~-, fish, aquatic: invertebrates, te~•~•~strial plants, terrestrial inverteki~Yates,
 birds. ar~d n~a~-ttin~als) ti~Jitt~in (?L13. EPA puE~4ished ttvg BERAs that there th~:cul:tie:ration ofth~:
 e~oiogical st~id~es. Tt~c first evad~~ated eccr(csgical risks' potentially sssciciated ~,viti~ non-asbestos
 h~ardaus sc~~sfa~~c~s, such as i~t~r~;anics ( Pon-Asbestas BER~~ {USEI'!~. 2Q13}. Tl~~ second
 eaani ~~ecl eci~fogical risk ~c~tentially assaciateti ~aritl~ I.,A (AsE~estt~~ SERA} (t,ISEPA ?(}14}. A
 summary of ~It~ risk assess~Yiei~ts is presented in the fii~a] RI report {I~t1~~i~ ZQ1 b}. ~~•ac~ and:t}3e
 State consicterecl the data cditected for tlxe BERAs ~itd IZI, as e el} as adc~it"r~ir►a! inf~rm~tia~~, in
 their respect ~Je evaluations c~f~~~otenzial natural rest t~rce it~jt~ri~s acid s~.ry ce tosses in and:.
 relats~i~ to ~U3. Some of the data ~~ld a~-talyses are clisctissecl its greater detail in s~~bseq~ieKzt



 Pale ~ cif 17
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sections oftliis doc~ime►~t. T1~e State does F~c~t abree with all analyses ~t~d cc~ncli~sic~ns presented
iii tfzese rej~~rts.

         ~3.      C3li3 ~~bit~ts

4~U3 provides a range of habitats fcir aq~i~tic anti upland species. c;~eei:s az~~ fh~ii~ associated
ri~~ariar~ zr~~}es, ponds, ~vetla~ic#s, and ciplar~c~ i~abitats.

                  1,       c~.t~uatic habitats

'I:he pri~naryf surface ~,~~aters iii Ot13 that ire itZost fil~e4y;tca l~~ve rc:ceiverl asEiestc~s anti c~tf~er icon-
~is~esfc~s (~aiardous substap~ees t-z4ea~ed as. a res[~}t of r~sYiiiit~g acti~rities arz tiyiinin the Rainy Creed
~~+~tersfieii {-~-L#6.l kr~~) and incl~~d~ R3i«y Creek;, Fleet~voc~cl Greek, ~~cr~~}, 'Gi~e~k, pc~~t atts of
tli~ ~iiie Tailings I~#ipokand~rae~it ~FTI}, thL:Mi11 Pond, acid potentially-the Kootenai River, itaitay
Creek is divined it~ta tapper Rai~~y Creek (nc~~-~l~ t~f the ~~ii~~e area} and I:.c~r~~rer:l~.ainy Creed.. R~in~
Creed floes i~ tc~ tiie Kaatei~ai Ri~rer a~pr~xirtzatiety 3.9 ktn soirEh of#h~ nlirie area.

Fleet~ve~ad Creek fl~a~vs east tc~ ~~~est on t.~~e nartl~ern b~rcler t~~t~a~ ~a~ine ar~~ end ~ha•~ti~h a
ptir#ion of the;~o~rse tea lit~gs pile pa~icrr to disc~~rgii~g tea tl~e ~Tt. Carney Creed. lies sotat~i of tlae
nine aria aiid f7c~tius along the tore cif ih~ 'Vest WasEe Rock Pi1e'bei~ore j~iiniti~ L~ti~Jer Ma ny
Green j~is~ ciol~rtistr~a~n c f the it~(i!! Paxid. Rai~~y creek ~~tti pnrtii~ns of E ot~~ ti`ib~;taiy sr~eks ate
per~nniaf {tJSEP~: X013) ~n~ ~rc~vicle hatii4~t far ~ssh end ac~i~a#ic inve~'tel~rat~ con~r~iliniti~s
~~I~rVi-i 2t}16}. Ri~iarian areas accur alo►~g fine cree~.s any€ ~arc~vide ecological tieaie~ts such ~s
~:1lanne~ stability, shade fir tine streaa~7~ erosiat~ coniral, energy ~(ot~, nutr ~r~t cycti~ig, wa#er
C~'GI1I1~.;? Hydrological f~inction, and plant and animal:}~abitat (~1~~JA I.~9~i).


In adclitioii tQ the creeks, tlierc arc goncied areas ii1 t3U3, is~ctuding Carney i'atid I`ieet~i~aad
£'arid, acid t}ie Ivt It Pflrict. The F"I'T includes a pernded area that varies in size depen~iis~g on
~.~reci~it~ficsr}.. The F'I`I ~~7{} acres} «ras establisl~~d its 1972. to r~c~iv~ a~~d settle r3~ii~e taiti3xgs,
tlirougl constr~~c~io~i of the Kc~~tenaE Development Impoiandenent Dane {KL~ID} across Rainy
creek. 1~'l~~ter etYEer~ tt~e ~T'I f'rnn~ Upgea- ~ain~ Creek, ~'leet~~~aod creek, surface rrinoff, anci
~r~t~ndi~ater. The Mill Panci, ~vt~ic}i is taeated iii #h~ Rainy Creek clia~ iiel dci vnstrea~i~ (soil#1~~ of
the k.DID a~~ci jest nort~i of tP~u enti#~uence t~f Carney L eek, eras eoiistrtictecl to supply eater far
sriinin~ ~ peratit~ns al~d diseli~r~es into Ka ny ~re~k. ~VetEartcis-are ~iresent on atic~ a~Ejaue3~t to tl~e
FTI and ~ortiai~s of The other waterways, and prc~~xidc siii~tilar cct~to~ical taezicfit~ and.sez-trices a~
those provided by ripari~ra I~abitat~.

t~~ aciciition to #lie physical impacts cif i~3i~aing r~}~er~ti~rs~s, physical alter~tiotis €~f tl~e C)L:~3 habitats
I~~ve ciccurreci aver tt~e }~~:<~~•s clue to a variety ~f~#f~~r activities; inc~~td n~ tis~bez•i~~~ aper~t ons,
cl~ani~e4izatian far ~~Qad construction. ~I}CI ~T~~G~ITI~iI~ 17~ CLl{Y~C~S ~i1tl II1l~JOLItit{I21~IttS ~USDI~
~~Q~~.


                  2.       Terrestrial ~Iabitafs

Upiarid habitats within OUP consist ~ari~~~arily a~ti~e forrn~~- mined area az~d sura•ofi~ldi~}~ faeests.


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Tl~e area dist~~rbecl b}r mizii~~~ {inclL~diii~ t(~e`fc~rlt~es~ mitae~i a~'ea and f<iriiiee tailings
impc~ui~cir~~ei~t~ c~ye~~s approximately l; l00 acres cif OU3 {MWI-I 20I6}. This area is
chara~teri-r..~d by natil~e t~c~ck, soils aticf ve~,etati~n, as l~~lt as tivaste rock a~ad tailings resuiti;lg
~rc~rn past n~i~iii~g ac~iviti~,s. Durinb t}ie ~~erior3 o~'min~ aperatic~t~, hits az~~a dvas I~r;ely
iit~veg~t~~teii. Iv1in'sn~ activities nat cent}~ invol~3e pltiysi~al disturbance by liia* y rr~achiriery arici
excr~v~tint~, but also iF~elucle remav~f of to~st~il and ~Iacet;len#.af tivaste rock, ~~tllc}~ cljatts~es tl~e
~l~ysicai ctinr~itons t~t`tl~e soi! e~iviroiii~zea3t (e.g: Si~eorata et al. 2~1{} ~ai~ 1992):

IVl ned areas ~~ere r~clai~l-~ed as n~ii ii~b in those. areas ties p13~s~cl ~~:ifi:. Tulare extei siv~e
rec(asnatian eI'for-ts at the fc~rrner ~nine:~iegar~ in 1991 after arsine ~.Ir~sure.'I'ilese efforts inc[Licie~l
hydt•ose~ditYg at~d ref~t-esr~tit~rt:~~~itl~ zinc ~~id decidur~us trees::~ther ~•ecla~~~atic~~~ efforts i~xcludeei
tctrading; tret~cl~in~, ~t~~d other pliysicat itieasures to stabilize tfie ~~~iiie sxirtaec;:

,t'~t present, a=~~etative conli~ii~nities of the farmer rtiiF~e~i area incl~.tde fc~t~~sts ste}ip~ s~irt3b, and
   rasstai~d habitat, t~°stl~ grassland ar~d.sfiep~e sE~ru~ prciv di~Yg:tlie preciorriin~nf cgitei', Sane baee
sail ~ireas exist, prirt~araly c~~i ste~~~ly slop~ci ~~aste ~~t~ck piles and atl~er steep stapes.

(3~.~tsiEic~ of tlt~ ~'or~ner tni~~ed area; t1~e QiT3 terrestrial li~bif~~s.~onsist o~Cet~Z~erate n~c~ntane
forests, portions ofiv}rich have been tiistarically lc~~ged. T)ottg[as ftc as t#~e ro ost ~org~~ncr;i tree
t}rpe, p~-es~~t at ~~t~r~i~[ 35°l~ cif the Fcirested 13U3: aria, follo~~Jed b~~ I~cigepole pi~1~ (17~/~} a~3d
sp~•iic~-fir {l'7"/g}, ~i~ith western larch fo~~~.st oc~ about l i%o flf t13e forested [~nct area: TI C
r~m3inin~ area is ~o~t~[ate~i ~vit~i ~r~~~io~.~s eiecidi~nu~ species ~c~mmon in ~~at•Yh~ve~t ivl~anta,sla
(1~~~,~1H 2O16j. T`h~ t~U3 forest outside of I~DGlGrace c~~vnersti ~~ i~ part of tlic Kootenai National
Fnrest.

         C.       H.~7ar~3ous Substances Associ~~t~ct ~v►t~~ 1~.tlegett IV~tttral Resources injuries

Uiie fa ~a~~c~:~imit~t to tEie x~~i~7e al7d ass4ciat~d access roads, the agt~ati~ at~c~ ter •c.st~~ia1 habitats of
ttie Rainy Creek ~vatet-s#ieti have beer] ex~osecl tci LA alit[ outer. too»-a~E~estt~s constituents
released f~~an~ t4~e miii~ dr~a, i~iti3c~~►g3~ sc~zi~e ~~~ii~ediatiai~ has Qccurred, a ~~~al re1~~~edy leas ilc~t
l~eer~ selected for C?U ~,1~id reti~ediatiarz of ttie entire forested s~raters~~ed area ~uithi~~ ~JU3 has not
~icci►r~ed and nx~y got c~~crax~. Tl~er~~'ore,'surface ~f~ters: ~+ifiiYin the .a ny G'~•eek ~'~aterstiecl iri
t~U3 ren~~i~l e~pflsed to LA fi6e~'s anc! c~tiier zi~n-asbesta~ contai~ai~~azits. L3epending a~~ i~ieir
cartccnt~•atio~}s and other circili~ti~ia~3ces; these cat~stitu~~~t~ ha~re t(te p~te~~t a( to adversei~j a~f~ct
t(ie aq~~ati~, riparian, a~ui tez~rest~'ial s~3ecies that reside cs~• frsr~ge in these l~ai~'ttats~ ~rict tlierel~y
res~~lt in natural cesaurce inji~ey, Natural resnti~~c~ iiijt~ry ~~~~sed ~y the ri;tease of a hazardous
sut~stance could be tiie source of r~aturai resource daE~na~es? as defiraeci wider. C ,RCI:.t1, GCGRA,
aiid related uidance.

'T~}t~ ri'c~n-A~k~est~s B~R,~, {US~I'A 2Q13~; Asi~estc~s BEtiA US~PA °?t)14}, anal ~tI t-epor
(M~'UH 2f316~ iciE~itiCed a ~y~.~nat~er of haza~•dous subste Yces releaser! frazt~ ttie site mit~it3g ar~~l
E~zillir~~ activities an t present ~~rit~~i~z C7EJ3 at conce~xtr~itirans that c~tiict. pose rs'stc to ecr~io ical
receptors a~~d/ar exceed Circu(af• DEQ-7 IVl~ntatta l)Iunzeric Water C~~ia}ity Sta~lciarcls {I?EQ-7
Stac~d~~•cls) or EZcsicientia! Regional Screet3i~ig Levels ([~SI.s}. These substa~~ceS i~3cILEc3e



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      •    f~~t1121121Fil~1,
      •    B~riuin,
      •    ~hr~miuin,
           CQb~lt,
           ~~~p~~-,
      •    ~C~I1.


     •     ~~c~i7~:°3I1~S~,


     •     ~G~~l1ltli1l a
           ~c~.t11t~31tt11,
     •     Gross alpha, anc~
     •     I:,r~.'

Itl addition, screeninb4level toxicity tiencl~s~~arks ~ver~ exc~e~ted i~~ cin~ ar n~t~re Site t3zecii~ f sciil
anti ~editnent} fc3r

     •    Aa~tiinon}~,
          I3enzo(b}#'tuat~i3tllene,
          8~~~7~(k)fluvranthene,
          C~dn~it}m,
     *    ~~Iuaride,
     •    Mercury,
     •    Nap3~tl7~lene,
     •    Nl~i"Oa~tl i3S 17ItCltC;
          T~~alliixni; ~ncl
          t'~sla~st~s.

Site i~~v~stigatio~as conc~~tcted ~s part ofitts: RI aii~i BCFtAs }~rere crse~ b}r EPA t~ ~ss~ss ttYe
de~re~ tv which these canstituc;nts were presetii iii f)U~ and pcaseti ecological risk. I'he RI ~atxt~
E3~:RAs provide date ivitl~ ~vl~icli to assess tl~e range t~f pci~siiale riatura! ~-esc~urcc d~ima~es in
~U3.'F~f►e data coll~c~~d fir €lxese studies arc; ief~rertcect b~l~~v i3~-the context c~fpc~tential fiypes
of natura4 resaut•ce inj~~eies end ~ervic~ lasses.-

          I1.        Per Se Injuries

EJnder the 17pT NRT3A regt~lati~ans, tiat~~ral resoc~rc~ injury is defined to exist ~~,~l3eg~
~o~zcent►-atioi~s of hazardous substaiic~s are in ex~~ss of certain t~tifality st~tidards ustc3e~~ the



'- ate ardless of F~~hetlt~r there is a r~le~tan# sta~~darcl'fc~r LA cn~icentrat ails in tl~c st~ri'acc ~~~4er; For pur~os~s of this
cegc~rt, riXeasurer! unncentrafio~s of L~ in surface ~v~t~r are compared to I7CC?-7 stantlar~ls and maximum
erirtart~i~~~nt tenets biased on ef#'ec#s froay~ cxpasure tt~ chrysc~tile ~sb~stas. I~EQ-7 daes a-~oi provide an aquatic life
standard.

Fade ~ of i 7
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circi~n~stat~ces specified in tl~e re;~.ilatit~~~s (see ~3 ~:~',It. ~ ~ 1.~2), this is sora~etinres rr;ferrecl to
as "pc:i~ sc" i~ajttry,

A i-evi~r~~ cif tie avaital~le data callecfie~l as dart of the RI defno~zst~•ates the ~~ate~~tial ~~r s~
iriji~ri~s t~escrit~e~i belcit~s7.



Il.s ~a~~t t~f its screening aJ~alysis~ the Npn-tlshestvs BER~1 idei~t'sfecl tlYe potential fog• z~islefi~
agiFatic r~cep#ors fresit~ barium in sEtr~'~ce ~tifater (LlSE~?l~: 2013). In additini~, ~ox~centrati~ns above
cl~►~oi~ic DES-7 Standards for ar~it€tt~c Iife foriotal l~a~ and icstal ii-r~~~ ~ue~e oliserv~d 'sai stirfac~
~v~ter sar~i~les fro3~~ I'feet~~caot~ I't~nd (~t'4~I-~ 2016 . I7iSscilv~d ~Iz~F~~int~~~si ~~as detecter3 its cane
see~7 s{~tttpi.e (coin the Bike ~t ~ 1~ve1 of l 1 t~ u~fL < All other dissc~lti~eci aiui~iintafn results 1~rere nt~i~-
detects.~

S~iz~Face ~vat~r w~~s sa~npleti in tl~e A~l~estas ~3E~t~t {t1SEPA 2t?i~} fc~r LA, Rest3tts -for ~e~ater at•e
[yj}FC~~~~ ~1:~3I'~SS~C~ 1S TT1tI~iOt1 ~IE}~TS ~I~i" Ir~~€' ~i~/I~L~: "I`4io~.rg1~ there is »~ specific su~~facz ~i~afer
c~~~ality stat~ciard fog° LA, fnt• ~Surpos~s of this re~3c~t~t, fire resuii~ ~v~€e con~par~t~ ~~vit~i EPA's.
maxiint~in conta~~inant 4e~re~ (~GI:~~ antl tl~e ~EQ-i Standard for surface water for= asbestos
fi~e~•s of7 .~iIFL.`' All afthe fatl~~~in~ r~sL~lts ~re,frc~~3i tEie ftI (see, e,g.. T`~ble S-17~}
     • In Upper Rai~~y Creek, 48 samples ti~rere ~c~1l~cticc~ fira three ta~atio~is, ~,A vas E~eln~v the
          7 Rif EL critet~iot~ ii1'ail samples; tlic~ia~;l~.I,A tv~s ~etect~d in ti~vo Ic~eatiQris,
     • I~ F~eetr~ar~i~d Greek and I=1eet~v~od Pond; ~6 sur#ace wafer samples were cflll~c[ed at
          tt~~ee stations; conc~ntratiot#s of L~. >It} µin a•~sn~;ed from 0 ~tFL> to 28~ MI~I.,.~ Six
          stiri~pies were ~l~~ve 7 4~~~F~ iii Fleec~vo~id Creek. acid Fl~ettivt~c~d Patel (# 3% of tlae
          sa~z~~~(es}.
     • I~~ Cai-~~e}= C'.reek atad ~ai~~ey Po~id, ?2 surf~ez t~ate~` sa1~~~les ~~ere cc~l tested at ~,~~
          statio3~s coi~cer~tt'a#inns of LA.>:~ 0 ~t~ii ~•a~yged from t~ ~F'L to 26 M~`~.~ Tf~r~e san~pl~s
          ti~~ere ai~~~rc `7 MFL i~~ Carney Creek and ~~ane iii Caraie}r 1'oncl {~°fa cif t[ie s~mpies}. A~~
          additiari~l 2i samples lver~ colleted frat~} s~veii seep. Iocat'tc~r~s t~ea~• Carney ~r•eek;
          cancentr~tiUa~s of L,~ ~ l ~ ~~~~ x~at~ged frot~~ U to ~z iViFI:.
     • to Lt~tivc;r Rainy ~rc;~~, Zfs3 s~rrtpl~s were c~tl~:cted a# I 1 stations; cc~t~ceiitratior~s ~f LA
             1(} ~ ~~~ t-anged frc~~n A MFI,, to b6 IviFL,, 'i'ti~aetaty-five sat~l~les were abr~ue 7 i'i~FL in
          L~i~er ~iai~~yj ~rcek (IQ% of #Ei~ satnples~.

Ttie results teiidecl tc~ r~flectseasanal v~riatiaet. ~an~~ntrations were ~;enerall~ }~ gE~est dtiritt~
11i~t~ fl~ius siEc}i as spriri~ r~.iiioff.

   "3'he regoriin~=limit for dissatvecI aliin~in«Yt~ in s~~rface tivater was 90 ~egli,, evliich is above the I~~C~-7 aqustic life
chronic ~ta~3darcl for~dissolw~i a3untii~;i~fn of 87 }t~/i;,
'' TE~e 7 h'IFL ctiteriaii nppiics ani} tu~#'ibers ~reatet` tlia,i 10 fneci-ons (iQ }ern} in IengEl~.
~ "F`€~e contractor reported filar tE~e s~~npie risult of 289 N1FI:. in FEe~h~ood Fend {~ncl iiuplic~tc sample resuli of 219
~•iFL) is stis~ect, as ~t is a~~ order crf ~na~riiiude ~1~i~ticr tl~~n tine <iex~ I~ighe~st satnpte cif 2S i~rf~L aY that lacat~ns~ ai~rl
~i~as collected tl~re~~s~h a tnefliod lost (nigh[ lave in~rn~tucrc3 higher sedini~nz conce~itr•atioi~siii the sample:
6 Res~ntpling folfativina itae 26 }vlFi, rest~tt, at ~}ae sane location 7t>out G weeks titer, #lad a 0 iv1FL cEsult. 'lac nest
}~i~l~est sanipte at that (acaiion was ?:5 sVF~'L.

Page6nfl?
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 Same of the above c~nditiaiis; tf all critec`ia ~a~~dcr tYi~ D(3I re~tilatiot~s ~~rere i~~et~ ~vc~ut~ be
 de:fit~ed as su~~f~~e eater i~~Ju~y. This i~ep~z-t c#nes ~ic~t dete~•t~~iite ~~~l~etfyer an}f a~'thes~ enntlitio~~s
 satisfy t~~e DPI regtt~afiory ciefin ticin, ba.~t this infc~rtn~tion ~~as tiseci in ev~t tat ng tiie scope crf
 ~otcntial injuries.

 Conc~titratici~3s of LA in reference pcinc~s and creeks in anc~ arca~~nd ~tJ3 tended to be below
 t3~tectic~i~ car very t~~v. 'Thy Asbestos ~~R~,, reports ti~at LA fibers is~ tlie' TCooter~ai I2iv~r ~~~e~e
 lo~v and ztat difF~rent k~eti~re~i-~ ~an~~les frtit~ ~i~~str~am acid doi~~►gstream of'tiie ion ~~enee rif
 Rait~v creek:

                      2..        G~-~uncicvate~-

L~ was analyzed iii grc~u~ d4~+ater sarnpies a~ part of'th~ RI {IvIWH Zt~I6). Grountli~1ate~- sainplit~~
ivas ~t~t~ducted in 8 sh~tloty t~yells and G bedr~ctc G~eils, ea~stl~ r~7~stwells ~a«~~aled 2 to 3 iit7r~:s fc~r
a total cif 2(} st~allc~vv wolf s~rri~i#es anti I4 bedrock s~ra~p~es. T~~o samples frcim ~lze sliallci~v:
gi~o~i«d~~ater Eve11s shaived i...A ~~Ficer~tratiot~s above 7: MIL. The ty~fo results above 7 IvIFL ~i-~ay
reflect sa~~iplin~ anoiii~i es~ and sar#~plin issues ai►c[ det~c.titii~s in ecjliip~ite~it rinse blanks lecl tci
~~rljt~sttncnt cif ~I~e grciund~,~aat~r ~esiilis (A ~e~idix I fa t1-~e ICI j~1~~'H 2t?16]~; fuc°then sa~~3pi~s }~erc
not collected:

Fe~v~~• samples weF•e collec~~d for non-asbestos corlt~~xiinarits. Sai~~ples far nc~l~-asbestos
contaminants sho~veci soti~e ~:le4~at~tS ct~aiceiitr~tirins Qfsitc confi~min~nts ccin~tpar~c~ to screeni~~g
lc~rels estat~lisl~ed far ass~ss~~ient of potential tliit~l+~ing ~a~at~r exposures iii pecapte, Iriin and
manganese R~siriet~ttiai It.SLs For tai rvafer'(nan-regc€la~c~ry c~ite~ia j ~~ere e~cee~l~d in
~rai~nd~vater samples (USEPA 2013 , ~~d the DEC, -`7 ~tanciarcl and E~?A i~1CL fQz~ g~~ss alpha
«jas exceeded in arze ground~vate►' sar:~ple from a E~edroci~ ~~~~!! (US~~'A 2t?13; IVI1~'UH 2f3I6~.

Sa~~te of the above ccindit'sc~tls, if aEl ct•itaria tine r t~~e DQI re;ufatioris tivere cnet, ~.vc~iit~l be
defined as`~~out7d~~rater injury. Tizis eepart ~3oes not cleter~iun~ ti~Pltetla~c a~iy cif these ci~nditions.
s~#isfy the, L?OI regulator}r definition, Eitit this information vas used is~ t~valuatin the scope of
~o~en#iai 'tnji~ries:

                     3:         ,~eciin~e~~t Pure ~'4'ater

I,11 eras measured in instream sedit~ient ~t~re eater at Loever ~iair~~r Creed anti repo~-~ed itx ttte R:I
(Ivt'4V ~-I 2t} l t~}. I.,,~'i ~nncenfratiniis i3p tg ~i23 M~'L. were n~easttrer3 itt pQr~ tv~ter {~t~~~•s > t t} µni}.S
C~~~ aitera~e, LA coa~cerit~ati~~}s t~vere greater in pc~r~ z~v~ter saxl~ples tlia~~ iii ~~~rface wfater s~€npi~s
e~llected frcisi~ the swine Ioc~tions zn I.r~ti~ter Rainy Ci~ee1:. 'I:h~ cia#a indicate t}~at bic~tc~~ica~


  <`Ele~~aied LAA levels ai-e tliait~lit #cs ire reEaterl to siis~3et~cled seciiit~ent in thy: tvat~r 3t the tit~~e of sampling, g'sve~i
that the atlier sarzi~f~s eo3te~ted from botl~~ piewmeters load sigsii~ca~itt}' Eawer LA~I les~~is.1t~ addition, s~frtpjirrg
~~imp iss~+es ~~+er~ nr~teci dt~rii~g ehe Aptli ?4I5 satiiplinu..." (lYi4VH 2U1G,'I'able 5-166, p. 3!2)
4 Pnrc; iratee~ sarngle coneeEi~ratio~~s were variatale across repticake sain~ies and across satrapies collected during the
sample duratic~t~s {R41'4'~-t 2QIG}.

T3a~e "1 ~f 17
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reso2i►ces ~ovlcl be ~x~Qse~i to hi~laei~ levels of I~aza~-c3aus ~~~~stafices in dare ~w~xiter coii~pare~3 t~
SkiT~r~C~ S'4'c~~~Y.


S~tTll~^c1S~fS[OS GC111ti2311tT1311t& !i'LCG tlt}t 2T1~~}jZC'~ til S~CilIlZ~T1C }7qT~ ~Vi1~LE', 4V~11C~'1 t~l~' ~c11'tfCS f1aV~
Gt3T1SIS~~C~CI:


                        ~.           .~fCt~ii71@Jlf


 iii str~atii sediit~ent, cc~slc~~ teat~oEis-~b~a~~e ~c.re~;ning #e~~~ ecc~iaxicolo~ic~a1 t~i~rcli~t~ark r~li~es ~r~
 z~ot a per se injtit-y, E~ut indicate the potential for i~3ju~~}~ tc~ tl~e s~~r~'ac~ water in Mc~ntaiia as tl3e
 State's water quality ~ta~ici~rds ate basr:~ oti ct~c,asi;~-enaetits that i€3ulude t~ fracti~~1 cif suspe~7ded
s~dii~ients, Sedir~teait ti~as ~~-~alyz~cl in thc. Aslaestas 1~ERr~ by first sieving astc! ~t•i~idi~}~.sanl~iles
 tQ reduce particle: size tc~ ~Sfl ~~m end identifying L,A hers based can Qptieal c1~a►-acteristics
.using. ~~~iai•~ze.d li~,}it ~zai~roscopy. Vzsu~l ~re.a cstsmates are s~fbjective, aa~d ~•~sults are cc~nsic3ered
ser~ii-~u~ntifative; ~2estalts are ~sst~ciatec3 ~vitt~ bins t~f ~pp~•c~xi~~iaC~ rai~g~s 'i;i ~erce~~ta~es Bits .~
 represents t an-detect samples. ~3irY B i `is {0,~°,%a LA, B2 is Q.2"/o to <1 %r, ~A, ar~ac~ G is >_i'°fo ~.A.

5eciifnet~tt san~~ies frail Lc~t~~r R~i~iy Greek, I`leet~=~Tc~ad Creek, Garrey Creek, tli~ F"I'I and ttt
MiI1 Pon~-1 co«tained L~ fibers a~io~~e detection ~US~PA ~Cl t 4). Sar3~pie t•estx3ts r~vere i~ig}test in
Carney Creed ac~jacettt tc~ tie n~in~ area ~~d i~t ~ai~iy creek t~elcaw t3ie FTi. i~~e~sf samples fratri
U~p~r T~ait~y Czee~ ~~ere noi~-detect {33 ii A). A total oaf 62 sedi~~~e{~t ss~~npi~s collected i~z the
abciv~ areas 'a~~r~`ic~ Bits C ai d xan~ec~ frortr l°lo to iCl°10 LA fibers.

Sev~r~l rioi~-asbestos analyEes exceeded tl~t,~-eshold ~ff~ct concentrations (TECs~ ancit~r sedi e i~-
l~ased ti~~ilciiife tZe~~cl~in~r~€s in site sediinenis, as r~pocted 4~z the Noi~-Asbestos ~i~R.l~ ~tJSEPA
2~ 13) ai~c~ ~tamma~~izec3 iii Table I, belc~tiv. T1~e TEGs and other toxicity ber~cEif7~ark val~.ies ire
t}~~ica(ly a.~sec~ i~Y the scr~et~it~g s~a~e of ari ~c~ln~;ical risk assessment tt~ identify t ie ~ote~itial for
ecc~Ic~~ical ~•isk,

A Hazard quotient (Ht~~ is tdje ratio af`tiie laazardc~us sttbsta~t~e ~oncentr~tion fn tl~e e~g~cssed
media ~:oinp~red to,so~ne toxicity t~enc~~~x~ac•k or c~itality c~'iterion. ~~Q ~~a~c~es ~~epr~~ent the
maxinnt~~t t€~tecced ~oiic~ntcatint~ dividet~ ~.y the tci~.icit~~ bencti~i~ai•lc, sa a n~3xi~i3~~i~Y HQ val~~e.
greater ihari `l i~~dicates the ~ziaxinuni sedii~~ent conce~iti-atioi~ exceeded t1~e t4xici#y beti~l~mar~€.
Calc~~lated I-IQ values for C?tJ3 sed 3ne~it: ranked €'rozii <1.0 eo 5~ for sever~i non-asbestos
aria(}des. C?f t}~e anaiytcs ~~~itl~ HQ v~~lues greater t1i~i~i i 3 ~ItitlllllUTli, barium, ~hroi~iiiin~, cobalt,
copier, dead, i7aat~~anese, ~~"tcl el, ua.ria~ii~xtl, ~n~i zinc u~e~e also found tc~ exceed sedit~ient
cc~nceiitf~at~Qtis ine~sured ri t~ef~re~~c.e samples;

Itrla/~ 1, dlrtrcri-dLJuc>Ji~~rttistlir~~y`1rsr,lrrsitv'(cs'thcra~c.~acic'rCsS~~r/ittrcraiSct•~~e=~tiitg!'~tlr~z~s
                                                       11AIa:~inittrn H+C~ for TEC-                         I~Ta~imum ~IQ for Se~litnent-
  ~nalyte                                              Based Bezicl~n~ark                                  l3asecl Wil~ll~fe ~3enchn~ar~~
  ~,Iu~~int~m                                          1.6                                                 ~iG
  Arset~ie                                             f1,~72                                              ~:I
  Ba•i~~r~l                                            N~                                                  23
  Caztr~~iue~a                                         1.0                                                ~ ~. ~7

4'a~e & of I
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                                            E tV~axiia~uEn ~IQ foY• TEC-              t~Taxi~rt~aan H(j #'car Serlitnent-
  l~iil`sl~~'~C                             ~ BSt5r~t~ Ti~i~Clltll~2'Ii               5~5~[I WtICIII~B_ ~@IIC~11TtdY~£
  Clarotnitatn                               1G                                       9.~
  Ct~balt ~                                  I~1~'        --                          1.8                                   ----
                                                           .---.—                                                  _   __-
  Lead                                       2.3
                                             ~~:_..._    __~....._.              _ 3.3
                                                                                   ~~             --      — ----.-- --
  IVlan~anese
  h1~~cciry                                  4..~G          - -------- --3.2
                                                                         l.f __._-                       _—_~_~__ _ __
  Nick.!                                     fa,~
  5elenitat~~                                N~                                       1.7
                                                                                      ~~ ..,.__~.._e.      ~              _
                                             ~~
  ~~Ti~Clllf7l
                                                                                                                 -_
  i~~n~                                      f1 7c~                                   i.l                       -----
  Beta~o f~)fl~zc~rantlaeiie                 ~.~                                      ~: f111
  I3enza{k)fftrc~~~~t~tll~tYe                i:2                                      l}:Qo9=l
  ~a litt~alene                              1f~                                      0. (1i
Notes; ~3C)l.,i} W-sediniecit coiacentraticir~s ~xcee~ied to;~'scity be~icluiiar~: acid ~veF4 statisticatty greater than r~.fcrei3ce
sedi~riezit ca~~eeixtratiot~s; f3(3I;D ~nc~ sh~iiling} —.~e~litz~ei~f cflriceritrati~t~s exceeded toxicity benchni~r~ but ti~ere
s#atisficaliy ec~u~l tc~ or leis than i~~ference s~di€rient.cnne~ntratiozis; ftatics—sediment coi~c~~~tiataoias did riot exceed
t~xicitjr ~ienchm~ir~: {F-~C) < 17; ~-IQ —hazard q~~otieiit; hC ~- nbt caic4~tat~d, nn sereeiiiayg value; TEC — ifzreshcslct
effect cniicentration, .~~ta f'roYi~ i~oF~-~sbestas SARA (U5EPt12413).

`T'}i~ Nan-Asbestos:BERG. does nc~t evaluate ~titimony i►3 bite seciime~~~s, t1~ac~gl~ a►~tin~ca€~y vas
det~etcct iat bite ponds a1~d these data are re~arted ri the E3U RI: Anti~3lnny ccinc~ntra~~ans in
~~~c~ samptcs (cane t"rnrrt Garvey €'reel I'~r►d [~ tn~Ikg] and one frciin tl~e ITT Pend ~~ m~lkg~)
e~:ce~d~d tiie "I`E~C:{2;ntglk~} ~tid tl~e probal~I~ effect co►~ceneratic~rz {4 s~~g:'~~}:

~xpnsur~ to cc~2itan~ riated sedittlent pan affc~t tt~e gc~a~rTtl~ and st~r~'ival ofii~vertebr~tes and 1i~nit.
t~3e habitat available.~or cai~i~-~i;~atiat~. I~~ acIc3it t~~~, bic~l~~igical resoL►~~c~s ~ti~17~t~ its the food ~~eb
potentially coult~ be ~t risk fi~ca~n expcisure to ca~~ta~r~inat~ts fion~ eati~ifl canta~~~ina#c:~i
i~~verte~irates car from incidental `sn~e~tinri of ser~irr~~rit tivt~ile f~r~gi~7~. 'I'E~e etc{dies in t1~e SPA
BER~s; nrstad t~etri~~va ~vali~ated s~~cf~ ~ndpoi~its.

           E_.      E~'A Stuc~i~s ~'et•fornted to.valuate Ecalr~~icat P.isk

'I'}i~ Ast~est~as 13CRf1 ~tYd Cori-Askiestas B~Rr~ exaanined tli~ p~itential risks to a v~riet}r of
eci~(4gicai receptors from LA-and a~o►-~-as~estas i~azardc~us strbstai~ce cc~rycentrati~~~s ~i~ sc~ii: The.
 #c711c~~~rir~~ site-specific studies were cand~~cted as {part cif the BEF~As to evaluate tine e?cteni :to
tvl~icll hazards its s~~bstaaices in sttrf~ce tvat~r, se~iiinent, and sail n ay dose risk to ecological
rece~ic~rs ire OU3:

    •      L;aborat~ry,jtivez~ile trc~t~t toxicity'tests .(nac~-asE~estos cantaminat~ts)
    *      In situ ~uvet~ile ti~ot~t toxic~t~ tests
          in sit~.i eggl~te~,riz~ tr~~~t t~xicit~~ tests
    •     Resident irca~it lesion study
          Resident trout ~op~tiatic~i~ stticIy

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    •    ~. azteca {bcntliic i~~vertebrate} set~iE~ie►~t ta~icity tiest
    •    C. tentaris (hentl-~ic invertebrate} sedime~~t toxicity test
    •    Resittent i~enthic macroii~uertebrate pn~~uiatian sEudy
    •    L~barator~~ t~dpale sediliiei~t toxicity tests
    •    Ftesider►f fz~og Iesio~l study
    •    resident ~a~ot~se lesion study
    +    Literatu~~e-b~sec3 ev~ivatia~~s cif sensitivity of birds t~ I~~ relati~=e try si~aall maanit~als

The results of tf~ese strict es; aIc~ng ~vif1~ ~Pt~'s Habitat evataativns, ~~~igl~t of e~•ideiice evalu~tian,
~►~d ar3at~sis cif ~~neertainties, ~~'e 8etaileci iii the B~RAs:

         F'.       S~~mr►~~ry cif Potential Natural Resoui~ee ~~ijtaries ~nct Service Liss at ~r
                   reIi~tec~ to i~U3

Tlie data c~tiected as part. c~~'tl~e Ttt anc3 SERA investi~~tions indicate tl~atna#u~'~l re~otsrGes
~vithiti f~U3 are exposed fic~ I,A ~~~d ~z subset of other non-t~,~ ha~ardot~s subs#a~~ces. Fast, present,
end future itijt►r~d QUA ~~esaurces cfli~ld ~ncl~~de:

    •    SgnaIl, large, and ~q~3atic-ciepetident ~naintnals
         Bi~~tts
    •    I°isli
    •    Re~itil~~ aid arnpl~ibiart~s
    •    Aquatic i►iyertebrafes
    *    Terrestrial- invertebrates
         't'eri~estrial aild ~q~iati~ plants
         "4~~~tla~lci tit! u~~lant3 lal~tats.

Tt~ tl~e ext~►~t #:Iz~t injury crccctrredx the folla~ving categories of resource sere=ices, ~fne~ng t1~t~ets,
ctiiild tlxeoretic:ally Have been a~ed~~cec~:

    • I-ialait~7t secvsc~s fcir biological ~~c:sc~urces, sk~~h as habitat for feeding ai5d re~rc~~cictso~i
    • Fishing, particularly recreaEiaiiat ~s4zii~g belci~v t~1e c~rdir►ary l~i~lY-ti~j~ier marls ~~r
      PVic~tyt~ria s~Fe.~in access la~tirs {y2a- -3t31; MCA, cat s~~~.)
    • Driilkin~ e~ate~~ su~~pl}~ (to the e~te~~i rel~vaElt)
    ~ Nan-cc~ns~.~z~~ptive uses s~tcl~ as tivitel~if~ vier~~rii~~ ~t~d. pl~otc~~rai~hy aril r~il~er o~tkdaot~
      recreati~t~ actiefiti~es below the ordinary (~i~li-~~ra[er ~~~ark ~ez~ Mont~i~a stre~t~~ access la~~Js
      {~23-2-341, MCA, et serl.}
    • Pritt~at-yf acid secanc3~ry co~ttact eccreatioi~al activities such as ~t~in~~l~aiii~ and bt~~ting
      bel~~~~ tl~e ~rc3iX~ary hill-water t~ia~-k- per Pt~loi~t~na stream access laws (~'~3-2-~01; iVI~A,
      et sQq.}
    • Q~ition and ~xisteriee values.




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iI:       T'Y~'~S CJ~+` ~~5'1'ORA'I'IU~ PIt(3.TCCTS AIVI3 RESULT.~.i~T S~~'4~ICES:

T1i~. i~atiir~l resori~~ce cltt~lia~~s c~ii~po37ei~t, cif the ~~tElez~yer~t bet~veetr Gt~sice az~d tl~~ Mate i~as
s~e~;c~tiateci anal executed an a cash-aut basis, ~vitIY fi~ncls paid to tli~ State raver a peg vd of l
years. No particular ~i•oj~ct or ~i•oje~ts are ~~ec~~.iir~ed by tl~e Settt~mez3~, i~a particular prc~ject:9~as
been ir3eF~tified by the State ~t the ti~i~e of'th s Repox-e, a►~d the }irojects uEtin~ately iiripfez~3ei~ted
by t3ie Mate mayt r~ fFer fr~tn the e~a►iiples pravidcd f~elo~v, taut the State z~i~is!` use s~ttlet~~ent
fiaz~ds f'or restc~ratior~ prc~j~cts and s~j~a~~ax•t tl~e~~ef~t-, iixcluciinu ~osis for ~taf~ re~tort~t a~~ plan
devetopn~ez~t and it3lple~~~ei~taticin, and ~cliYiinist~~ative, prc~~rai3;, ~~~al; tecf~nieal and a!S ~ai~~er
~~elatecl casts, to tt~e exient la~~rfui t3~tde►-.~~I~CL~.or ~~CRA. T1~e Mate inte~~ds and anticipates
using Sett3enze~~t fufic~s in c~aciectioi~ i~~iitl~ prajects t(t~t p ~n~iide ~~a~ta~-~1 resau~'ce a►3d otl~~~~
benefits iii grid around ~U3.

The fa~Ila~~jing sections describe v~ric~c€s types of exenipta~y r~stoi•atioir p~ajects that ziiav iii
constructed #o benefit acid i€ri}~rc~ve ac~~i~ticantt terrestrial n~fura8 resources artd tli~ services they
~rt~vitte: Addition~il types of r~stflratian ~€~ojects ii~sayalso be cortsiderecl. t7tl~er restoratit~n
actin}ls sefectecl tc~ im~le~lient pr~~f..iat~s Mate NRT~ settleme~zts at c~thei~ sites can be fat~nd ~,~ithin
fiie restaratic~n plans ffl~• those sites, ~rfYich are availa~ale can NRDP's i:~r~€~site: Noth~n~ i~~ this
repent is izatericled tai bif~cE any pai-~}1 to a s~ieci~e ii-~jureel resi~urce bi° partictal~r _type cif {~xoject.

          rya;      :Aquatic Habitat Impz~fl~>ement Restoration Projects

Pt~tenti~ily injii~ed resources ader~tifi~~i at the bite include ash and oftier agisat.rc bit~~a. A variety
tsfresic~rat~t~n projects.cot~ic-1 b~ in~~ilenieiitec~ to: z•estc~z•e last sez-vi.ces; Below is a sui~i~~~~ry o~
f~~~~:s cif ~c~u~tic 3iat~itat it~~prove~i~erit projects that i~.~c~ti►1d restore ae~uati~ e~c~lt~~ical service.

I~~ addition to t}ie specific service benefits descri£~~d belc;vv; tits illustrative ~q~.ratic restoration
activities ail ~~ne~-a!!y provide in3proved ti~iater q~~alityY tizerebypit~uidin~ favot`abte l~af~it~t tc~
iiic~~~ase pa~iiilat oci~ cafiri-stream birita. l°laic shc~t~icl l~ene~l ~ipland pre~iatars'th~t rely can ~treain
faoti sc~urc~s; Restc~ratiU~~ crf aquatic ecol~bical ~•esources ~iltimalely E~~~ieftis ~i~e;et~t'sre act~sysfeixi
tl~rou E it~ct~easc:d ~~iiidiversity a~1cI results iii enhanced recreational opporfu~uties: ~1~~ny of tEie
restoration activifiies de~cribe~i bclo~~t Dave been implemented in prt~jects in tf~e K~flten~i and
~cijacerzt'~~ratersh~cls ~~ritll ~igzjificai~t sriccess:

Tf~e seiecti4i~ cif airy specific cree~.z`~stc~t~atio~~ activities ~ot~ld be geographic (to p~`ioritize a
sp~cifc ~xrat~rshed or.a specific creek segi~le€~t tc~ tie ~fei~tif ed, ~Sot~ntially inc$udir~~ ~~vii~~in OU3
C3T3CC I'~fTl~E~I~~iOil BIOS ~3~~C! CC}t17~~~1Ct~~ iTl ~CCQY'C~~EIC~ 4Y1~~'1 i~'1C CCiTNCir~ Q'lfTllil~f~ til ~C'.Cx1t7t't ~r~.


                    1,        Riparian Im~rovenaetit

R.iparia~~ impresvenient projects include; reveget~tian, reducing livestock ~iccess,
resnoviia~l~nll~~~ci~ig roads, strearnba~~~. stabi€iza~ie~n, f~~odplairl reseflratiar~, recar~structii~g
stream eha~lneI(s~, cc~nstruciiz~g flood}~[ain tivetlai-~d cells, Doody delil•is placenierit~
n~icratapagrraplig, creation, banl: treatment, scec~in~ and ~rsulcE~in~; ~~~d pia~~ti~~o. '~l~ese fYpe~ cif
prajecks carp prc~vsde a host of services. R.~v~getatt`ci~~ ~f tl~e ripaciasi area reduces contai~3in~tit
~i~oEiility by pr~ividii~~ fiitratic~n of c~efeclazici fl~i~v end reciu~es sedit7zer~tatit~n by provi~ii~zb soil

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st~~bilir~tic~n. Veg~t~tic~~l provides t~a~it~t cov~f frr both t~pl~ ~d acid i~~-st~-eatx~ species, a~~d !'tniits
surface i~~ate~~ tetz~pea~a~ur~ fluctuations by pr~vadiri; s3lac~e. Fic~~d~l~i~~ f~~storation ~jrcijecis,
incl~.~ding reecrn~Tecti~~~ ilie floodplain area and ccit3stz~ucted tvctlaa~ds, recitice ef~~sion and
su~Zsequeiit sedirne~~ta€icon try ~•et3i~cin~ flow velocities, anti provide ~,ppa~tun ties fcai- natural
stream c3~ant~el ch~nbes aver tstne. Road removal and strea~nbank slat~ilizatian projects; often
s~~pporte~I b}~ ~~~d cond~t~te~i in canj~►nctian ~~ieE~ rc~r~.getatio.n and tlond~slaic~ resttir~ition, recli~ce
sedi«lzntatinr~ ~1'o~cliti~~Y 2{~l ~) and ern lead t~ an overall irra~it~ovenie:it in }tabitat ctii~dit~oi3s,
~l~eceby ~:antribc~tzn~ to ~nQre robust and a~u~iclat~t yopuiat'r~l~s of ash att~ ~~ildlif~. ~ngit c~~~d
f~oQ~ipl~i«s ~r~d ~•ipa~•iar~ ~Iantii~~;s ~Iso cna~ improve ~z•Q~~nd~vater c~~iatit}s try ~i~avid ►~g filtraYic~~~
o#"rt~~iaffancl reclucii~g ove~~land flat, there#~.Y ~ncoura~in gr4und~vafer recl~arg~.

                 2.        'In-Stream Iiat~i~~t im~~-a~eztients atx~l C'Iya~jnel.lVl~r~li~cat o s

I~~-stt•ea~il l~al~itat irn~r€~~~e~~~e~~t and cti~nnei t~iodifcatioi~:activities ca~i ~tcate habitat fior t~i~ta h}r
prov~din~ vari~tblc; st~-coct~~res aiicl iinpri~~{~c! cl~~nnei fltir~v: Miaci~fyi~zg stc~eam ~noipliolt~g~~ ~iy
arld iig tx~ea~~rlers and cre~tiE~g ~faria~le pc~€~l-riffle:-ruEt IiaE~it~t directly i~~Ypraves 1~~bif~t for fish
(p~rtiuitE~rly ~t•~ut} and inver~et~~-ate~s. Insfaliin~ boulders, ~~sroody debris, arad atller ta~~~e
sti•ia~tur~s cre~t~s shelter and c~estir~~ areas foie ~s11 that t~nimi~ natural fe~tur~s in strea~~ns aiid
rivets, T'l~ese features al~c~ create co~rec a td reduce flc~~v velocity tQ provide taa~itat Erie
inaert~t~r~t~s {1~fcihi of al, 2tlI5J. `TE~~se k n~is of ltatiitat imprtivetT~enfs ~~rt~uld adva~~c~ anti
restc~r~ r~3ctr~ natural 1t~~draulic conditions and restore ia.at~fral ~~dir~ret~t transport prc~cess~~,
therefiy irripi•a~ritig Yvatc;~- q~~~3ity. The ir~~~ii•c~vei~e~it and addition ~ifliabita~ tlirc~~.~~Et st~~~arn
cl~a~~rzei ~n~d fcatio~~~ s}~ciul~ ~~esul~ in itzcreased fsh acid nve~-~ebrate ~~opulatinns; prc~vii~ii~~
both ecolagicaI-and recE-e~tionai b~r~e~ts.

                 3.        Fish P~ssa~c

Ct~~~c~~~«~l fish ~assa~e projects i~~elt~cic: resti~r1tia~~ activities suc~i as retiov~i Qf fisi~ pas~a~e
barriers in creeks andstrea.nts and additicit~ a£scre~ns to red~~ce fis~~ acc~s~ to actifci~~ l
divet•sia~~s. T1~es~ tiy~a~s c,f habitat in~pr4vetnerits +,t~octid berxefit a v~ricty of native a~td citl~er ~s17
species.

R~n~oval of barriers a~ici ent~ar~ceii~cnt of ~~assab~ stt•cict~~res sucks as cul~ferts acid fish ladders can
clire~tiy Eiesaefit ftst~ survival ~nct spa~v~~ii~~ by enabling ~slz tc~ rebafn access Ott divet~se ~~zb tats
~ncl additioitai food sources. Restored access tc~ sparvnin~ f~abitat sli~iulcl r~s~:ilt iii a direct
increase in fish «embers; cutiict~ ~v~LLICl ~~Il~'~t 1TTi~}~YiIGC~ 5~3t~leS ~t1CI lt2GI'~~5~ Y~Cl'2r7~tC7I1~tI ~lS~llila
~PPori~.~riites by `s ~}creasing fstt populations and ~:xp~ndiiig ac~essibl~ ftsltit~g a#~~~s. Liinitit~g
access fo u~~suitable Diabita# ~?y placing screens c~~~ r~•~~a~ior~ -and pnr~uer ~liversiai3s can a1sc~
encourage fall tc~ instead k~tifize a}~pri~~i•iate ha~i[ats for Isat`a~in~ anc{ s~aeuiiin~. "Phis s(iQiilt~
it}crease s~~rvivaE znd reprsad~~ction ~-~tes for fsh; especially trout ~Ygcl}~.~n~ Zt}1S),

         ~3.      T~i-restrial Nal~itat ~a~~pror~e~n~nt F~estor•atia~~ Project's




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~ctiviti~s caii t-se sn~ple~z~ez~ted to impro~~~ c~plansi terrestrial habitat anti be~left ecolo~i~a[
reso~~~°ces its t1~e s~~rr•t~ta~xcli~~~ ~re~~. Exa~~~~ie projects. include selective regii~val of nat~-ri~tive
plant species at~dlc~r pl~ntin,~ of native t~-ees anti v~ elation i~x OU3 anc~ st~~•rraunc~inb Forest areas.

                     L         t~iative Plating and Remc~tijai t~f ~t~n-Native Species

Plantsng native t~•ec;s ~i3d vegetation 11~s di~'ect I~etYefts fcsr rtvt only the i~i~t~Xediate area, €~ut>
~Io~ally as ~v~Ii. Pla7~ti7ig i~r bz~~-~ied, lagged; ar o~I~er den~ac~ed are~rs r~;stores f~abitat fog ~~i[citife,
  ivit~~ liir~3s; ~t~amtt~als; and re~tites i33~prnveci z~estingli~urro.~,ring} fora~in~,. anal ht~nii~z~
apportE~nities.:lnve~-tebrafes ~vil1 a3so ben~~t frc~ai~ ~rtcreased access to food and siyelfei~, a.s ~~~e11 as
i~~~~~rc~ver~ soil healil~. ~'re~s ais~ sequester• carbon, redt~ciii~ atmaspt~ei~ic cai-~rsi~ dioxide ~~veIs
that eantribc~te to global cliza~ate cf~a~~ge ~Du~t~r~ese et al. 2019),

Nati~i~ piaz~ti~ig ~i~d a•~~na~ra! oF~}on-dative species:activities in targeted_ areas ~~Qtild a•esult in
incce~rsed opp~rt~~3nicies f'ar sx°~i~lt ple re~~`e~ztiof~al lases in f°~res~ei~ areas: Forest planting also.
irriproves surface ~~rat~r ~~~al~ty and Itas tie potential to a~~~~r~a~~~ grt~u~tc{kvater c~~~~lity~ '#~3!'QL1~Il
i~~~r~ase~ sail sta~irli~at ors a~~d ~Itr~tit~x~ and reductio~i of eva~oratian from:soil,

          C.        ~ecreatinnal ~'shit~g

~ xe~alacern~nt reec~~~tioF~al :fishing project for poze~~tiat lost recreational use c~~ld irx~l~ade
acquisitia~~ of land aa~d cs~ilstructio~~ of a ~sl~i~~g;acc~ss sits o~• other ~~ec~~eationa[ access site iX~
I~ir►colz~ Ct~t~nty itj cc~op~ration with Mcintat~a Fish 1~li1i.11 fe, aril Parks or a local ~o~rerncn~ntal
entity, it 1vavlcl be cc~nst~~uctec~. ►t~ aecord~i~ce ~~itlz the~z-c~ia~~ent cn~istructicas~.and deign
req~sire~3ients fc~rfshtfTg access sites:

III.      CI~T~~tiA F(?I~ SEL~C'I`Ii~tG R~S'TC)T~:'~'~(~i~I PRC3~E~TS~

P~•ior to lase offunds, a,r~stora#ron plan ~vc,uld be d~~elo~ied a~ad adgpterl :6y the Gc~.r~;rnflr after
a€tegiaate public 37~tice a~~d ~pporturiity fc~t~ hea~~in~ ~iad ~attsit3er~tian a~'~I1 public coi~~itie~~t. 7'he
DC7I regula#ions, 43 C.~'.R. § I I.fiZfa~, pravicte that a reasonabEi i7~imber ~fpcassiE~Ie a(tertiatiyc
fir the restc~ratic~iz, rel~al~ilitatic~n, or replacezi~e~it a~'~}~e iiij«r~~i t~~tur~I resources be developed
arad consid~~-ed. TE7e a~jerall goal of t(~e restaratipil plan is tv ic~eti~ify'acfit~ns t~tat sinl}a ar in
C~tYlE?Iric~~ii)21 1'PS~02`E, rehabilitate; r~~iace, tir acquire t}~e etjeaiu~il~~~t csf i~jjuf•ed ~~ahiral ress~urc~s
or lost sei-vices such ~h~t ttie}j call provide tl~e #evc~3 ~f services available €i~~der baseE[ne
ct~nc3ikions, 3~estc~ratica~i an areas 3~rhe~~e remedial action ~~J~11 ~e ii:~~feniented typically follows
impl~inentatici3Y ~fthe re~rs~c~i~l action a~ld `€s intended to provide t•~str~ration beyond that
prctvicled by t11e ~~et~l~dial actions. Additional data cailectiot~ at~d at;al}rsis ii~ay b~. tieed~ti fri
eval~~ate t fie ~3riorit}i cif tt~e different restoeation acticii3s.

't~lte Nat~~ral R.~~oui•ce Damage Pragrari~ ~~iRL3P~~ iutiicli acts oil t~~:l~alfofti~e ~+~ve~~c~ar a~
trttskee, typically c~c~velc~ps a restoratic~~~ ~fa~i in const~ita#ior~ ~trith the ~+Iontana Departf~~e~~t of`

`' Tfae criteria clescri6ed i~~ this Sectia3i III are inier~ded tts pro~•ide ~t syrtQ~sis of the Sty#e's process for evalt~~kin~ and
selecting potential resfaeatio~i projects. 'T#fits Sectiaii -does ~5ot, haevever, fu11y define that ~Sracess air otherwise affect
in any tv~y the State ar the Ciodernar's auti7ority a~iti discr~tiatt established 6}r la~v.

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Fish, ~~'ilctlife ~z~d 1'ac~ks, tocai go~le~~iiiil~nt (e.g., Libby and l~ia~cc~ln Cc~~~rtty, ~E~e Eocal Water
~3~~aiity Protection District), tvatersl~ed groups and noi~-p~•c~~ts, ~tl~~t~ a~~ncies, anct-the f~k~btic. t1
recent example of this prc~cvss is o~tt(ined iti the ~~r~~ ~-I~l~~~n Ascrt•cn Srrrelter• ~'iryal ~Z~stor~rrtior~
Ptc~tr crf~c~.~flvit~ox~rrrerrtczl~Issessrract~t Clae~:klist {NRDP 2Q19), available ~t 11.~~:201~-~~si-
I-Ieiet~~-R.estc~rai~c~s~-1'€~~~-Si~~t~edpti~~~GaiJ:~cit~(dc~j~~zi.t.~ai~ . NRI~P ~vau(c~ fc~lfc~~~j a similar process
and Datlier restc~ratic~n action ideas froth ~Il ~~eleva~~t entities ~`ratn t#ie r ~Slannis~~ c~oc~z~n~~~ls,
Ytieetit~bs, at~cl a public salicitL~tit~i~ forpc•~ject ideas. Tl~e criteria ot~tlinecl bel€~~~r are taken fron3
tl~e ~crs! F~'e~etu~ ~sczt-co Str~ettet- Firr~rl R~sto~•cttiot~ I'Ica~~ and ~izi~i~•otzrtter~fal A.s,sessrrrer~t
t~ltecklist.

to cie~elci~sirtg possible altern~tr~res for t4ie ccstoratinii, repiacarn~nt, re}~abilifiat on, tit act~uiri~~~
the et~iiitTatet~t e~~'th~ it~jut•cd ~iaturaI resources or services, l~tR..D~' a~~ticipates evaluating the
alter€3ati~res E~~~der tlze.fQlto~vii~g cr'steria, ~~l~icli ttYeet tl~e ~~egc~i~•~r~et~ts of CERCLA algid GECRA,
a{ad tine ~ror~~isi~ns of ~3 C.Q.R. § 11.52 ~n addition, NRDP also aniicipates evafi~~tin~ the
~dciiticai~~l "policy critezr~" oti~lix~ed at tl-~e enct aftllis section. ~"Izese criteria l~av~ been devetol~e~
by t}~e State to ~aror~jot~ State of Nlantaria goats.

Tecltnicaf ~+easibitif~=: This ci•itet'i~n ev~iE~€ates ttie degt-ee tc~ ~vhic}~ a resforatic~tt aetian ~n~p~ays
tivetl-known a~~d ~cce~~tad t~cl~i3~iogies af3d tE;e liketil~oc~d that Elie ~ctiari ~~rill achieve its
o~jectiues. Actiosis tE~at ire techrioIcigicaity infeasible ~~ill be re~ect~c~. Ha~vever, ~ctic~azs that are
innovative or t}~at have some eles73ent c~f't~n~ertait~ty as to their results i7~ay Eye app~•oi~etf.
I}iffererit actions ti~~i11 use dif#ez`etit ra~ethad~stogies s~~itl~ varying degrees of feasibility.
Accordingly, applicatiQ~i c~ft.his criterion ~~ilt f~ccas a~} a~~ evaltaaticin t~fan action's a•eiative
teef~naiagicai feasibilii}~.

Relafiansi~ip ~f ~,xpecfed Cas#s #4 E~pecteci Benefits: "C"his crife~ior~ examines ~~JIt~~Il~[' ~I1~
costs of an actir~n to restore, rehabilitate, re~lace~ ~zid/oc acquire egL~i~i~ie~~t resc~~is-ces are
cai~~a~~e~~s~z~•ate_ ~vitt~ tE~e benefits pravicled. Iii daiai~ sa, the casts associated witlj a restorat o~i
action, iticiczdi~~~ casts other ti~~~i tease tl~ecteci simpt~j to implerneni the actic~z~r at~ci tE~e bet~e~its
that would result fia~t~ ~t~~ action, will be c~eteri~3€~1ed. Ap~ticati~n c~fthis criterion is hat ~ straight
cost-E~er~ef t analysis, Dior does it establish a ~.ost-b~nefi[ ratio tf~at is 6y defi~iit can ttnacec~~tabl~.
Qitat~tifying the b~~iefits of ~ project ruin solnetii~ies req~iire callectics~Y cif addiCionai data c,~~
information and additional a~~alysis.

Cast-effectivE~~ess: This criterion evaluates ~vhet~Yer a paf•ticul~r restQraiiott ac€ion ~►ccon~~~tisEzes
ids 4~a1 i~~ the lest costly t~~~ay passible. As ~utliri~ci in tile:naci~~•a1 rest~~~rc~ dattia~e rebulations,
post-effectiver~c:ss ►neat~~ that ~l~e~~ t~~a or mare activities provide t3~e same o~~ a si~~~ilar le~rel of
6ene~ts, the least cc~stl}~ activity providiz~~ that Ie~rel r~fbeni:~ts wi11 be selected (~3 C.Q.R.
y 1 I.14(j}). 't,o apply this criterion in a tneani~~gfiil fashic~i~, ~Il of the be~iefits a restoc-~tion action
tivouid produce T~iiist ~e cai~sidered, not~jt~st cost; otl~er~viser the fn~t►s uraulcl b~ Eoo narrow. Fake
tl~e example cif a ~'estQration ~etion that ~vaulc~ fu13y restore a liven resource in a stlort period of
dine ci~~ia~ared to atiotiier rest~raeian action that-would rest4a~e ~I~e sact~e resaurc~ at Tess cast but
aver a loner period of time. Cc~t~sidering ai l}r that the second actio~~ is less ex~ensivc than tl~e
first action ignores the benefits ~•est~itis~~ fro« a retativeEy shc~rtee rccae~ery period. In this


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exan~}~le, sir~c~ a~i ac~et~~•at~d ~•ecou~z-y tine is a benefit, it z~;i~z~ld ii~ecf to 1~~ factare~ i►~tca ~~
c~etef~n~ii~atic~t~ of cc~sf-effectiveness.

Results of Resp~r~se Actit~ns: T1iis criteirzt~n would ~a~lsider tIZ~ res{alts ~r anticipated resL~(ts off'
CERGL,~, respo~~se actions tii~cle~-~v~►y ar pl~ntiec~ in t)U3 after selection of the iit~al remedy by.
EPA. ~v~rl~tatiat~ of this critef~ion req~iires assessii}eni cif response actions at aE3 acieq~~ate Ievel of
detail iii order to t~iake pt•~ajectit~ns ~s t~ their effects tin nat~irat resciiarces aitd services. t~~r
r~sta~~atiar~ alternatives tvithan C?U3, this criterii~rx will in~lu~ie c~nsicieratior~ cif:

             «    '4~'t~ati nay b~ necessary in the ~vay t~f restarat[~n of resc~t~rc~s anc~ services in light
                  of tine otxgoi~ag and pI~n~iec3 respo~ise actia~~~.
             •    'T'he d~gre~ of cv~sist~ncy; ~et~ve~t~ a restara~ivt3 ac~zs~n ~~nci #11e respat~se actiaa-~(s).

A.d~~erse Envi~•oninentai Imp~ets: This criterion t~eigt~s ~=,rlt~ther, and tc~ ~~rl~at degree, a
restnrarion actic~i~ will result in adverse Human ar ph}~s cal en~riro~~mc:nt~nl impacts. ~pecificalEy~,
NC~DP will ev~Ec~aie signifrca~~t adirerse impacis that coi►lrt.arise ~'rotxi tt~e :-esforatic~ia action. sl~c~rt
term or lo~~g terrt3, direct cir ai~direct, ittcltjdin~ tltc~se ti3at iizvc~ltire resources flrat are riot the facii~
of ti c project. 7'c~ da so, the dynar~lics ofa cestaratiQz~ action at~d haw t:h~t ~ctian ~~ill interact
ltritl~ :the envirat~t~~t~nt must be understand,

Recovery I~eriod and Pc►teratial for I~~fctral Recovery=: T'hiscrit~tioi~ evaluates tine razerits of a
~-estoiatiai~ action in fight of u~h~ther tl~~ resc~c~ice is able to reec~tite~• naturally (i~e., ivitE~~c~t ~u~~~at~
iFiterve~~tiot~} ai d, if a resaurc~ ca~j recflver ilat~;rall~~, lr~~v long tli6~t ~~ l# iai e. Give~i that the ~riai
~•espc~iise acticii~ at C}U~ 1~as nc~t been detet~mineci, tl~e NR:QP iuil~ cc~i~sider~ fire recovery period
following response ~ctio~~s to evaluate p~t~ntial`resto~~tio►~ pro}ects in QU3, (Tl~~ term "~•ecavery
period" ~•efcrs fo a rc.tta~-ii tcs "basel~~~e,'> as bc~tt~ crf those ter~~as as•e defined iii 43 C.F.T . 1 l . l ~.~

H~am~n .~e~I#I~ end Safety*• This ceiteripn evaluates tf~e potential fai~ ~ restnratio~i aetic~n to Dave
adverse. effects eta ~t~n~~a~ health end safety. Such a ~•~vie~~ ivi11 b~ t~~3d~rt~ket~ ~~ot c~~tiy t~ ,judge a
particular actiof~ but also to deter~Y~ii~e if protective i~~easurzs si~nUld.be added is the restcii-atiQn
action tc~ ensure safety.

Fectct~~#, State, end ~`ril~xl 3"ol~cies, Rules and ~~ee~s: 'I`fYis criteri~~i co~isider~ #tie degree tee
~v}~icl; a restc~ratinn actic~i~ i~ consistent ~viih ap~licat~3e policies t~fthe State cif~~tcatatan~ and
applicable ~alicies taf file fetie •al ~avei-~~t~ie~~t aEid `1"rihes Ito the ext~tat the-State is a~~r~are of t}~ose
policies and b~licves thetai tc~ be applicable ;end mentor c~~~~~. In a~ic(ition, a restoratio~i action
itiust Eye irri~~le~nez~teci ire cc~3lipli~nce ti~ritt~ a~pficat~ie- laws azid rtties.

Paiicy Criteria
In €addition to the. above legal criteria 1'~RDP appties tl~e follt~~i~it~~; policy criteria z~~l~en
cc~nsiciecirig ~ros}~eetive t-estc~ratian prajeci.s:

        Normal ~overnn~eat T+'txnct on: 1`his criterion eval~~ates ~~l~ether a restaratian actic~z~
        i~-~values activati~s fc~r. kvhich a ~ove~i~r~ievital abencv ~~c~uld ti~rmally }~e i'es~}onsible ~r
        that cvc~t~id r~cei~le fiandit~g in the normal co~rrse of events a~1d ~~o~rtd be im~ale~~~et~ted if

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        reec~ver~ct ~zatuial aes~u~•ce dari3ages «=erg x~ot availat~le. Settlert~ent fu►~ds ►zX~y #~e «sed to
        a~t~;an~nt fi7ntis ~~jailable to ~,ayerniijeiit a~e~~e es, if s~ict~ past sl~~ring ivr~uld r4st►lt in the
        ir~~plementatio€~ of n resic~rafi~t~ aetio~i t[iai d~vaulc~ nc~t.otl~er~vise c~cct~r throu~;l~ noi-n}~!
        ~;oveen~~aent fitnctiun. Based strictly t~iZ this eriterioais a project irsvahlinD activiCies that
        ~ilo~ild fail. tvitE~it~ ~~t r►nal government re~~ansib Iities rnayt Eye ~•~ir~kecl Ivbver ti~~ti 1
        restoratic~i~ action t~iat dries ncat falt witi~i►i this category:

        1'~- ee; t~iTZ~3P ~~~i3[~ ~~~lti~a~~~vl~eiher tite Ianc~, ~.aser~~el~ts, r~v~ter ~`i~;lits, or ~it~er ~prc~perty-
        iaaterests ~rc3pos~d to tie acgctired are being offered fcir sale at or l~eiaw ~~it~ market v~1~.3e.
        Catisidera€ion of this critea•ion L~tilt li~;ely ret~tyi~-e ~t~DP to cc~i~dt~ct its otiyi~ appraisal of
        the property. [f the appc•aisal pr~iees~ fcsr ati acquisitii~n vas not subject to ii~itiai State
        review a~td ~~}~tcaval, NRD}? will; ~t ~ rz~init~~«i~i, condz~ct a revie~~ appraisal a~td may
        4"011t~tlCt c'i fLll~ 8~1~'DCe115i~~:


        Location: ~estciratiori a~trons a~'e:~en~~ally ~eograpliical3y r~stricteci. In thss case, tI.~e
        State has a~reecl to prioritize restoration actions vitl~tin LincoIi~ Cc~u~tty {in which QI13 is
        Icicateci); s~i~ject Cry i~IRI7P's rec~is red ad~z~inistrafiive decisio~~-making process,

Envit~onn~~ntal Review
Aal ~i}virbtirtiez~tal revie~~r. of ~h~ it~ipleri~~nt.ation of tiie restr~r~iti~~i plan is a[sci a-ec~iti~-~d #o
evaluate ii~3pae#s c~fproposed Stafe action c~t1 the ~l~ysca! at~d hu~~~ai~ ~nvit•Qt3n~ent ~~~rscaa~t tc~
t13~ requireniet~ts of the Mcinta{ia Envircinn~entat Policy Apt; §~ 7S-f -101, VIC.f1, et .sec, . ~sViEI'tl~.
~s dart c~~ its analysis t~f in-ap~cts to 1~t~~iat~ h~aith and safety; T~dRDP 1vi11 deter•~i~~ii~ if protective
Ene~stat-es stiouid bye ~cfded tta tine r~stora#io~~ ~lait_altei`~tatives to eiisctre safety.

Pia~alic Comment
t.l~aan a fit11 ~valu~tion cif the i~~for~i~~tian collzcted thr~at►gfl the a~i4v~ process ai d an e~rY~t~aati~i~t
of t3~e above criteria; iticludit;g .a coEY~parative at7a]y~rs, ~RDI'tivilt identify a preFerre~3
alteriiat:V~ a~~d put tl~e d~~aft restoratinii ~l~rt out for pzibtic ca~~iinent_ i~dt~I?P will cai~sicier t~tl
pktt~lic c~~~~n~~3~t laefa~•e ti~akii~g a, ~~~caii~~~l~n~fation to the C;c~ver~~oa° far the ~in~l r~star~ti~i~ plasl.
42 U.S.C. ~ 9b11 and ~ '75- t 0-7 ~ 3, i1~CA.

I~,      I2ESUU~ZZ.C~S

Said, ivt.N. 1992. Ai1t~.~f-~il rev ,~etsxtic~n cif coal mine spoils n :tile Rocky tvlcsi~«tains ~f Alberta
        ~nc~ its si~iii~canee fc~r species si;lectioi~ its lane( re~taratitin. rl~.fotr~atnirr Res. Dei~cl~}i.
        12{3);2~S-3t)0.

I~urnroesc, R,K., T~. Baflc~f~'ei, .l.'~'~', Groc~ett;1. r1. 5ta~lturf and L.~.. ~ia~re. 2019. E1 rlatic~i~a!
       approach to Ievera~e the benetits of'tree i~laiitin~ air p«blic lards. t~~ct4~ Forests, 5fl{I ~,
        l9.

Ml~'~~-i. ZOIb. Re~rie€~ial ia~vesti~ation i~epcirt, €~pet'aiale iat~it 3 st«dy area: I.ib}~y asbestos
         suE~e}-#iind site; Libby, Iviontaiia. ~ itYal report - Ft~~rision I . Pr~~~rccl Fr~r ~i~'.I2. Grace;


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         CU.-Cc~nri anc3 U.S. ~nviro~ztY~enta3 P1-t~tection Abc.ncy, Re;ic~n $, Denver, ~:(~. ~11~~I
         ~tn~;~€cas, I►~c., I~~~~t~~e~-, C~. Novernbet-. 1,934 pp.

NRDP (State of IVtonfnna N~t~jral Iiesaurce Dat~3age T'rogra~~~). 20I 9. East ~~Teiet~a ASr~RCt~
     Smelter I'i€jai Restoratiaz~ Plaxx a~c~ t~~ri.ranme~tat ~.ssesst~~e~~t Checl{list.

Sfic:oz•ar~, V., A.S. Sheorati, Intl P. Pcior3ia. 2010. Steil reclai»atian of abandoned ~ni~~e l~t~ci by
          reuegetation: A revie~v~ Ir~t. ,I. ~S`oit ~5~c~. ~Ycrte~~, 3(2):A~ticie I3.

USDA. -1996. Riparian areas ~r~virant~sent~l ~~taiqueness, fiinctiotY, and values. RCA Issue Brief
     ~#1l. Av~iiable at:
     i~it~~s;11~~~~;~lc~.~~rc~.tisclG~.~a~~f;~~~is#t~~rt~I1~~~~cs;~cletaillnatiar7sifltc:~l3i~ic7(/`?cici=~~~•cs{~~ 01~t9
     9. U.S. Depat•tmeizt of Agri~ttltt~t'e, Hatt}ral 3iesr~~.~rces Cot3servation Service. A~i~vst.

CISDA. 2~?00: Al~xa~ider ~'t~~•est Iie~Itl~ ~i~oject ei~vi~~o~~fi~~ntal ~ssessmer~t, Kaotenai National
      ~{ITCSI - LE~~:f~ R11]~;~F DI$tI'fG~, I.,iticoln ~c~tai{t}f, Mc~nta~ia. ll.S. Departr~ient of
      Aarict}pure ~'or~st Service, Libby, I~iT`. Ivfay. 151 p~-

LISEPI~.. X013. Baseline ecolo~ieal z~isk assessment fa~~ ~~o~~ ~~sE~estos cont~~ni~~ants. t~perable
       uni# 3,.~i~t~y ~sbest s siip~rftincl site,. LibE~y, tl~antan~. Final. Pre~are~i for U:S:
       Environme►~ta~ ~'rot~ctiott Agenc}r, Region ~, UesXver, CO. CDitrl Federal Programs
       Corporation, CJe~iv~r, ~Q, and SRC; Inc., Uenv~r, CC}. A~rit.

USEPl~. 201A~. bite-wide ~aselzne eetiiagic~~1 risk assessment, Libby asE~estgs superfi~nci site,_
      Libl~~r, Mantarza. Prepared fbr ~.~. Environn-~ental Protection ~gcncy, Re~ian $. SRS,
      Inc.; and CDtvt Federat Pri~~;r~tns C«rpor~tian. #.7eceinber.

1,'tfc~hi, E,, S.N. I,a~ie, ai d A,C. ~T~ilcc~x. 20l S. The s~iet~ce a~~d practice of river restoration. ~~'crter
           ResQart•ces Rc~scj~rr•e3z, S l {$}; 5974-597.

~'V. R. Grace S'c Ca. ~t al. 2(}~ 9. Gi~a~ater 11, Case ?~Io. (l1-~ I 1 ~9 (Ai'v~C~ {Jointl}~ adi~~iiiiste~-ed).
         Exhibit C. Declaf•ation csf Keith N, Cole i~~ reorganized d4btc~r`s request fc~r partial
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S.     Ttte ~i~t~tiiation s~}iedttted ia~ the ~Sfi~~arlt~Iinrr ~r~trP ~3~t~eec~ C~~'~ler r•c~ r~~i?clicrtiarr o~~.or7te~tecl

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       court are satisfied toy s~icti notice:

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1Q.       I~~ il~e eve~3t of any can#lict bet~+srcen t31e tei-~ns of this Qr~c~er, the Mt~tit~n, cir ttie Settlenie~~t.

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